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          Exhibit 1
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                                                                   Page 1
     1
     2           IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
     3                 CHARLOTTESVILLE DIVISION
     4
         ELIZABETH SINES, SETH      )
     5   WISPELWEY, MARISSA         )
         BLAIR, TYLER MAGILL,       )
     6   APRIL MUNIZ, HANNAH        )
         PEARCE, MARCUS MARTIN,     )
     7   NATALIE ROMERO, CHELSEA    )
         ALVARADO, AND JOHN DOE,    )
     8                              )
                       Plaintiffs, )
     9                              )   CIVIL ACTION FILE
                   vs.              )
    10                              )   NO: 3:17-CV-00072-NKM
         JASON KESSLER, RICHARD     )
    11   SPENCER, CHRISTOPHER       )
         CANTWELL, JAMES ALEX       )
    12   FIELDS, JR., VANGUARD      )
         AMERICA, ANDREW ANGLIN,    )
    13   MOONBASE HOLDINGS, LLC,    )
         ROBERT "AZZMADOR" RAY,     )
    14   NATHAN DAMIGO, ELLIOT      )
         KLINE A/K/A ELI MOSLEY,    )   DEPOSITION OF MICHAEL HEIMBACH
    15   IDENTITY EVROPA, MATTHEW   )
         HEIMBACH, MATTHEW PARROTT )    FRIDAY, AUGUST 9, 2019
    16   A/K/A DAVID MATTHEW        )
         PARROTT, TRADITIONALIST    )
    17   WORKER PARTY, MICHAEL      )
         HILL, MICHEL TUBBS,        )
    18   LEAGUE OF THE SOUTH, JEFF )
         SCHOEP, NATIONAL SOCIALIST )
    19   MOVEMENT, NATIONAL FRONT, )    Job No: 165619
         AUGUSTUS SOL INVICTUS,     )
    20   FRATERNAL ORDER OF THE     )
         ALT-KNIGHTS, MICHAEL       )
    21   "ENOCH" PEINOVICH, LOYAL   )
         WHITE KNIGHTS OF THE       )
    22   KU KLUX KLAN, AND EAST     )
         COAST KNIGHTS OF THE       )
    23   KU KLUX KLAN A/K/A         )
         EAST COAST KNIGHTS OF THE )
    24   TRUE INVISIBLE EMPIRE,     )
                                    )
    25                 Defendants. )
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                                                     Page 2                                                  Page 3
      1                                                            1
      2                                                            2            August 9, 2019
      3     VIDEOTAPED DEPOSITION OF MICHAEL HEIMBACH              3             8 35 a.m.
      4          KNOXVILLE, TENNESSEE                              4
      5         FRIDAY, AUGUST 9, 2019                             5        Videotaped deposition of
      6
                                                                   6   MICHAEL HEIMBACH, held at the offices
      7
                                                                   7   of Howard H. Baker, Jr. United States
      8
      9
                                                                   8   Courthouse, 800 Market Street, Knoxville,
     10
                                                                   9   Tennessee before Tanya L. Verhoven-Page,
     11
                                                                  10   Certified Court Reporter and Notary Public of
     12
                                                                  11   the State of Tennessee.
                                                                  12
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     22                                                           21
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     23   REPORTED BY: TANYA L. VERHOVEN-PAGE,
                                                                  23
               CCR-B-1790
     24                                                           24
     25   FILE NO. 165619                                         25


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      1                                                            1
      2            APPEARANCES OF COUNSEL                          2            APPEARANCES OF COUNSEL
      3                                                            3
          On behalf of the Plaintiffs:                             4   On Behalf of Defendant Richard Spencer
      4                                                            5      LAW OFFICE OF JOHN A. DINUCCI
              KAPLAN HECKER & FINK                                        8180 Greensboro Drive
      5       350 Fifth Avenue                                     6      McLean, Virginia 22102
      6       New York, New York 10118                             7
      7       BY: MICHAEL BLOCH, ESQ.
      8       BY: ALEXANDRA CONLON, ESQ.                                  BY JOHN DINUCCI, ESQ.
      9
                                                                   8
                                                                   9
          ALSO PRESENT: John Hylton
                                                                  10
     10         Courtnay Roberts
     11                                                           11   On behalf of Defendant James A. Fields, Jr.
     12                                                           12      DUANE, HAUCK, DAVIS & GRAVATT
     13                                                                   100 West Franklin Street
     14   On behalf of the Defendants Matthew Parrott, Robert     13      Richmond, Virginia 23220
          Ray, Traditionalist Worker Party, Jason Kessler,        14      BY DAVID CAMPBELL, ESQ.
     15   Nathan Damigo, Identity Europa, Inc., and Christopher   15
          Cantwell:                                                          (By Telephone)
     16                                                           16
              LAW OFFICE OF JAMES E. KOLENICH                     17
     17       9435 Waterstone Boulevard                           18   THE VIDEOGRAPHER Robin Greenwood
     18       Cincinnati, Ohio 45249                              19
     19       BY: JAMES KOLENICH, ESQ.
     20          (By Telephone)
                                                                  20               - - -
     21
                                                                  21
     22                                                           22
     23                                                           23
     24                                                           24
     25                                                           25




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      2                  EXHIBITS:
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     13                                                            15   3:17-CV-00072-NKM.
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     14                listing different
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                       levels of membership 410                    17   Howard Baker Jr. U.S. -- United States
     15
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     16                                                            19   Tennessee 37902 on August 9th, 2019. The
     17
     18
                                                                   20   time is 8:35 a m.
     19                                                            21       My name is Robin Greenwood. I'm
     20
     21
                                                                   22   the legal video specialist from TSG
     22                                                            23   Reporting, Inc., headquartered at 747 3rd
     23
     24
                                                                   24   Avenue, New York. The court reporter is
     25                                                            25   Tanya Page, in association with TSG


                                                     Page 12                                                        Page 13
      1                   M. HEIMBACH                               1                  M. HEIMBACH
      2         Reporting.                                          2       A Good morning, Mr. Bloch. How are you?
      3             Will counsel please introduce                   3       Q I'm good. Thanks. How are you?
      4         yourselves.                                         4       A Another day in paradise.
      5             MR. BLOCH Yes. For the                          5       Q Mr. Heimbach, as you know, my name is
      6         Plaintiffs, this is Michael Bloch from              6   Michael Bloch. I represent the plaintiffs in Sines
      7         Kaplan, Hecker & Fink.                              7   versus Kessler. Before we start, I just want to go
      8             MR. KOLENICH For Defendant Jason                8   over a few ground rules.
      9         Kessler and several others, this is Jim             9           First is, as you know, Tanya, is a court
     10         Kolenich, Kolenich Law Office,                     10   reporter. She's transcribing everything that's being
     11         Cincinnati, Ohio.                                  11   said. So that we have a clean record, if you could
     12             MR. CAMPBELL For Defendant James               12   just wait until I finish my questions before you
     13         Fields, this is Dave Campbell, Duane,              13   answer so that she can get everything down.
     14         Hauck.                                             14       A Okay.
     15             THE VIDEOGRAPHER Would the court               15       Q If you don't understand a question, just
     16         reporter please swear the witness.                 16   let me know. I'm happy to rephrase it. There may be
     17                                                            17   objections from counsel here today on the phone.
     18       Thereupon --                                         18   Those objections are for the record. You're still
     19                 MATTHEW HEIMBACH,                          19   obligated to answer the question regardless of the
     20       called as a witness, having been first duly sworn,   20   objection.
     21       was examined and testified as follows                21           Do you understand?
     22                                                            22       A Yup.
     23              EXAMINATION                                   23       Q If you need a break at any time, let me
     24     BY MR. BLOCH                                           24   know. If there's a question pending, I would just
     25       Q Good morning, Mr. Heimbach.                        25   ask that you answer the question before we take the



                                                                                                                           4
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                                                   Page 14                                                    Page 15
      1                M. HEIMBACH                                 1                 M. HEIMBACH
      2   break.                                                   2       A Twenty-eight.
      3            You understand that you've sworn to tell        3       Q And what is your educational background?
      4   the truth today?                                         4       A I have a Bachelor's degree in history and
      5       A Yup.                                               5   I minored in education.
      6       Q Are you under the influence of any                 6       Q From where?
      7   medication or drugs that would impair your ability to    7       A Towson University.
      8   testify truthfully and accurately?                       8       Q Are you currently employed?
      9       A No.                                                9       A Yes.
     10       Q And is there any other reason you may not         10       Q What do you do?
     11   be able to testify truthfully and accurately?           11       A I'm self-employed.
     12       A No.                                               12       Q Doing what?
     13       Q Could you state your name, your full name         13       A I'm a delivery driver. I'm a courier.
     14   for the record?                                         14       Q And in addition to your educational
     15       A Matthew Warren Heimbach.                          15   background, do you have any vocational training?
     16       Q Have you ever gone by any other names?            16       A No.
     17       A No.                                               17       Q Prior to being self-employed, have you
     18       Q Have you ever gone by the name Matthew            18   done any other work?
     19   John Heimbach?                                          19       A Yeah. I sold closet organization systems
     20       A Well, John is my baptismal Christian              20   door to door. I sold health insurance. I worked at
     21   name.                                                   21   Barnes and Noble. I bagged groceries for my local
     22       Q Okay. So what name is on your birth               22   market when I was 14.
     23   certificate?                                            23           That's about all I can think of off the
     24       A Matthew Warren Heimbach.                          24   top of my head.
     25       Q How old are you?                                  25       Q Great. Let me just pause for a second.

                                                   Page 16                                                    Page 17
      1                 M. HEIMBACH                                1                 M. HEIMBACH
      2           MR. BLOCH Did someone just join                  2       A I don't know. February or March, I
      3       us on the phone?                                     3   think.
      4           MR. DINUCCI Yes. This is John                    4       Q Of?
      5       DiNucci for Richard Spencer.                         5       A Of 2019.
      6           MR. BLOCH Okay.                                  6       Q Have you published any articles?
      7   BY MR. BLOCH                                             7       A Like, ever?
      8       Q Okay. Are you currently married,                   8       Q Yeah.
      9   Mr. Heimbach?                                            9       A Yes.
     10       A Yes.                                              10       Q How many, approximately?
     11       Q And were you -- are you currently married         11       A Over a hundred, probably.
     12   to Brooke Heimbach?                                     12       Q And what publications have you published
     13       A No.                                               13   articles in?
     14       Q Were you previously married to Brooke             14       A I've published for the Traditionalist
     15   Heimbach?                                               15   Worker Party website; for our newspaper, Action.
     16       A Yes.                                              16   I've posted articles on -- let's see -- I did a
     17       Q And what's the status of your -- the              17   podcast back in 2013 with articles on Counter
     18   formal status of your relationship with Brooke          18   Currents.
     19   Heimbach?                                               19           When I was in college, I wrote for the
     20       A Divorced, but a positive co-parenting             20   Youth for Western Civilization blog. I've had
     21   relationship.                                           21   articles published in the Council of Conservative
     22       Q And when were you legally divorced?               22   Citizens newspaper and the League of the South
     23       A I don't know. Like, five months ago or            23   newspaper, the Free Magnolia. Off the top of my
     24   so. I don't know the exact date. I'd have to go --      24   head.
     25       Q Can you approximate a month?                      25       Q Do you get paid for your writing?



                                                                                                                        5
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                                                  Page 18                                                     Page 19
      1                  M. HEIMBACH                              1                 M. HEIMBACH
      2       A No. I wish.                                       2   out your filings for review -- I think you said?
      3       Q And do you get paid in connection with            3       A Uh-huh.
      4   any of your advocacy work for white nationalism?        4       Q -- who have you sent those filings to?
      5       A I also wish, but no.                              5       A Matt Parrott, who is a co-defendant, but
      6       Q Do you have any other sources of income           6   he's not a lawyer, so --
      7   other than your current occupation?                     7       Q I believe you said you sent it out to a
      8       A No.                                               8   bunch of different people?
      9       Q Have you ever had any legal training?             9       A Yeah, my wife, I shared it with her. I
     10       A No.                                              10   sent it to Matt Parrott. I discussed the content of
     11       Q And without telling me the substance of          11   it with Mr. Kolenich several weeks ago.
     12   the advice that you've been given, is somebody         12       Q And when you say your wife, do you mean
     13   currently giving you legal advice on any aspect of     13   your current wife?
     14   this case?                                             14       A Yes.
     15       A In terms of, like, actual legal advice?          15       Q And what's her name?
     16       Q Yes.                                             16       A Jessica.
     17       A No. I mean, I've sent out for a variety          17       Q Jessica what?
     18   of different people to look over my filings,           18       A Heimbach.
     19   including my wife, but in terms of legal advice from   19       Q Is Jessica Heimbach formerly Jessica
     20   attorneys, no.                                         20   Parrott?
     21            I spoke with Mr. Kolenich -- not as a         21       A Indeed.
     22   client, but just in terms of discussing defense        22       Q And when did you and Jessica Parrott get
     23   strategy -- probably about three weeks ago. So I       23   married?
     24   guess that would probably be the extent of it.         24       A That would have been early July of this
     25       Q So regarding -- when you said you sent           25   year.

                                                  Page 20                                                     Page 21
      1                  M. HEIMBACH                              1                  M. HEIMBACH
      2        Q Did you send documents to Mr. Kolenich --        2       A Essentially, that everyone was going to
      3   withdrawn.                                              3   comply with discovery, depositions and work towards
      4            The documents that you have submitted in       4   moving the process along as quickly as possible.
      5   this case in the last six weeks or so --                5       Q And in what format did you discuss that
      6        A No. I haven't sent him --                        6   with him? On the phone?
      7        Q Got it.                                          7       A On the phone.
      8        A Oh. Sorry.                                       8       Q And how long did you guys talk for?
      9        Q Let me just finish the question.                 9       A Maybe 20 minutes, 25 minutes.
     10            The documents that you have filed in this     10           You guys would know better, you have my
     11   case since June of 2019, did you send those to         11   phone records.
     12   Mr. Kolenich for review?                               12       Q How many times have you spoken to
     13        A No.                                             13   Mr. Kolenich in the last -- since June of 2019?
     14        Q Did you talk to Mr. Kolenich about those        14       A Off the top of my head, once, maybe
     15   filings?                                               15   twice, but I can only think of one time.
     16        A Not about the filings in terms of the           16       Q Have you e-mailed with Mr. Kolenich since
     17   specifics, but in terms of the overall defense         17   June of 2019?
     18   strategy, of which I was notifying him that I was      18       A No.
     19   going to be filing several motions.                    19       Q Has he e-mailed you?
     20        Q Who notified you of that?                       20       A I don't believe so. Oh, yes. To get
     21        A What do you mean? I said I notified him.        21   copies of interrogatories, because, since I was
     22        Q I see.                                          22   representing myself, I needed to get all of the
     23        A Yeah.                                           23   paperwork that he had filed on my behalf when he was
     24        Q And what did you and Mr. Kolenich discuss       24   my counsel. So he had e-mailed me copies of all
     25   about defense strategy in the last six weeks?          25   those filings.



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      1                 M. HEIMBACH                               1                 M. HEIMBACH
      2       Q Did you e-mail him first to request               2   personally count that as legal advice, but you spoke
      3   copies of those filings?                                3   with other attorneys about this case, right?
      4       A No, we spoke on the phone and I requested         4        A Yes.
      5   them.                                                   5        Q And who are they?
      6       Q I see.                                            6        A Augustus Invictus.
      7           MR. BLOCH Mr. Kolenich, I'm going               7        Q Who else?
      8       to just ask that you produce that                   8        A That would be it.
      9       document.                                           9        Q And did you e-mail with Mr. Augustus
     10   BY MR. BLOCH                                           10   Invictus?
     11       Q Other than Mr. Kolenich, have you spoken         11        A Yes. Which you guys also have a copy of.
     12   with any attorneys regarding your -- this case         12        Q We do?
     13   since -- withdrawn.                                    13        A Well, you have my gmail account, so you
     14           Other than Mr. Kolenich and Mr. Woodard,       14   would.
     15   have you spoken with any other attorneys about this    15        Q You're saying there is a copy of it in
     16   case?                                                  16   your gmail account?
     17       A Not in terms of asking for legal counsel.        17        A Yes.
     18   Friends, asking as friends, but not asking for legal   18        Q And if we were to search that, you
     19   advice.                                                19   believe that we would find it; is that what you're
     20       Q But for advice about this case?                  20   saying?
     21       A Not in terms of specifics or legal               21        A Yeah, the full exchange.
     22   advice.                                                22        Q You agree with me we don't actually have
     23       Q But you spoke about this case, right?            23   it right now?
     24       A Yes.                                             24        A Well --
     25       Q And you're saying you would not                  25        Q Question is, you agree with me we

                                                  Page 24                                                      Page 25
      1                 M. HEIMBACH                               1                M. HEIMBACH
      2   don't have it right now, which is what you said,        2       Q Regarding your conduct at a Trump rally,
      3   right?                                                  3   right?
      4       A Well, I'm not sure. That's based on a             4       A Yes.
      5   third-party vendor.                                     5       Q Were you represented -- sorry.
      6       Q Have you given us a copy of that e-mail?          6   Withdrawn.
      7   Have you provided that?                                 7           Other than the Nwanguma case and this
      8       A No, but I can.                                    8   case, have you been a defendant in any other lawsuit?
      9       Q But my question is Have you provided              9       A No.
     10   that e-mail?                                           10       Q Were you represented in the Nwanguma
     11       A No.                                              11   case?
     12           The e-mail itself or my e-mail address?        12       A No.
     13       Q That e-mail.                                     13       Q Is that case still going on?
     14       A No.                                              14       A I haven't gotten any updates about it in
     15       Q Other than this case, have you been a            15   over a year at this point.
     16   defendant in any other lawsuits?                       16       Q Did you provide any discovery in that
     17       A Not to my knowledge.                             17   case?
     18       Q You've never been a defendant in any             18       A I don't believe I -- any was ever
     19   other lawsuit?                                         19   requested.
     20       A Oh, in regards to a Donald Trump rally.          20           What I believe is after President
     21       Q And what's the name of that case?                21   Trump -- is judge had ruled against him being
     22       A I couldn't tell you. Not out of                  22   included, there was total radio silence coming
     23   abstinence, but I couldn't tell.                       23   forward.
     24       Q Is that the Nwanguma lawsuit?                    24       Q Okay. But my question was: Have you
     25       A Yes.                                             25   provided any discovery in that case?



                                                                                                                          7
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                                                   Page 26                                                      Page 27
      1                 M. HEIMBACH                                1                 M. HEIMBACH
      2       A No.                                                2   conversation?
      3       Q Have you ever been deposed before?                 3       A Essentially, just we both discussed what
      4       A Nope. First time.                                  4   had happened prior, and we agreed that being calm,
      5       Q Do you have any formal training in                 5   cool and collected was the way to go about it.
      6   information technology?                                  6       Q When you said you discussed what had
      7       A No.                                                7   happened prior, what do you mean by that?
      8       Q Did you do anything to prepare for                 8       A Oh, just in regards to, you know, the
      9   today's deposition?                                      9   planning of the event, the questions that you were
     10       A Just got a good night's sleep.                    10   probably going to ask.
     11       Q Did you speak with anybody in preparation         11       Q Have you spoken with any lawyers to
     12   for this deposition?                                    12   prepare for this deposition?
     13       A I spoke with Matt Parrott about it.               13       A No.
     14       Q When?                                             14       Q Have you ever spoken with Kyle Bristow?
     15       A Yesterday.                                        15       A As a friend, yes.
     16       Q How?                                              16       Q Have you spoken with Kyle Bristow since
     17       A On the phone.                                     17   August of 2017?
     18       Q How long did you speak?                           18       A Yes.
     19       A About this matter specifically or just in         19       Q Has Mr. Bristow provided you any advice
     20   general?                                                20   regarding this case?
     21       Q Let's start with in general.                      21       A No. He specifically told me that he
     22       A I don't know, 45 minutes.                         22   cannot provide any legal advice, so we only talked
     23       Q How long did you speak about this matter?         23   about things like our kids, social matters, goings-on
     24       A Five or ten minutes.                              24   within the white nationalist movement. But he
     25       Q And what was the substance of that                25   specifically has said that he cannot advise me in any

                                                   Page 28                                                      Page 29
      1                 M. HEIMBACH                                1                   M. HEIMBACH
      2   legal questions.                                         2        A No, I don't believe so.
      3       Q Have you e-mailed with Mr. Bristow about           3        Q Have you spoken to Eli Mosley in the past
      4   this case?                                               4   two months?
      5       A I can t recall, but I don't think so. I            5        A I reached -- I messaged him on what I
      6   could look.                                              6   thought was his old number just to see how he was
      7       Q Have you texted with Mr. Bristow about             7   doing, but I got no response. So I don't even know
      8   this case?                                               8   if that's his same number.
      9       A We've primarily spoken over the phone.             9            So no, we haven t spoken at all.
     10   We've spoken by text message, but in terms of the       10        Q And by Eli Mosley, you understand who I
     11   details of the case, anytime I've ever tried to         11   mean?
     12   contact him and, you know, I had a legal question, he   12        A Elliott Kline.
     13   specifically told me he couldn't answer.                13        Q Right.
     14       Q Okay. So my question is Have you                  14            And what phone number did you message
     15   texted with Mr. Bristow about this case?                15   Mr. Kline on?
     16       A I can t recall.                                   16        A Am I allowed to look at my phone?
     17       Q Would looking at your text messages               17        Q Sure.
     18   refresh your recollection about that?                   18        A That would be (610)406-2229.
     19       A Sure.                                             19        Q And you didn t receive a response?
     20       Q Okay. We'll come back to that.                    20        A No.
     21           Have you spoken with Mr. DiNucci at all         21        Q What did you text him?
     22   about this case?                                        22        A I asked him how he was doing.
     23       A I don't believe so.                               23        Q Can you read it?
     24       Q Have you spoken with Mr. Campbell at all          24        A No, because I don t have it.
     25   about this case?                                        25        Q Didn't you just look at it?



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                                                  Page 30                                                     Page 31
     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2        A No, I just looked up his account.                 2   delete.
     3        Q Didn't you just look at your phone to see         3       Q What format did you text him on?
     4    the text messages you sent Mr. Mosley?                  4       A You guys can probably tell me better.
     5        A No. I just looked up his account in the           5       Q Mr. Heimbach.
     6    telegram.                                               6       A Yes.
     7        Q On what format did you text him?                  7       Q What platform did you text Mr. Kline on
     8        A I can't recall.                                   8   within the last two months?
     9        Q Didn't you just look at it?                       9       A I can't recall.
    10        A No.                                              10       Q What did you just look at?
    11        Q You just looked at your phone, right?            11       A I looked at his contact, along with 500
    12        A Yes. To look up his contact information.         12   others that are there.
    13        Q And what did you look at to look at his          13       Q Do you have a text message stream with
    14    contact information?                                   14   Mr. Kline on your phone right now?
    15        A His contact profile.                             15       A I don t believe so.
    16        Q Didn't you earlier say that you sent him         16       Q Can you check?
    17    a text message?                                        17       A Sure. (Witness complies.)
    18        A Yes.                                             18           No, I do not.
    19        Q And you sent him a text message, right?          19       Q Have you spoken with Mr. Kline this week?
    20        A Yeah, I believe so.                              20       A No.
    21        Q Do you have the text message on your             21       Q Did you review any documents in
    22    phone that you sent him?                               22   preparation for this deposition?
    23        A No.                                              23       A Just what you guys sent me.
    24        Q Did you delete it?                               24       Q Did any of those documents refresh your
    25        A If it was in Signal, messages auto               25   recollection about the events in this case?

                                                  Page 32                                                     Page 33
     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2       A No.                                                2   aware of the idea of the Unite the Right event?
     3       Q And when you say just what we sent you,            3       A I can't recall.
     4   do you mean the documents that I attached in the         4       Q Approximately?
     5   July 7th e-mail to you of the case filings?              5       A I don't know. April, maybe, June. I
     6       A Yes.                                               6   really don't know.
     7       Q And you reviewed those in preparation for          7       Q But it was after May of 2017?
     8   your deposition today?                                   8       A Yes.
     9       A Yes.                                               9       Q And how did you become aware of it?
    10       Q Did you read Discord in preparation for           10       A I think Jason Kessler made a public post
    11   your deposition today?                                  11   of some kind discussing the event.
    12       A No, because Discord shut down my account,         12       Q When did you become aware that you were a
    13   so I have no access to any of the content on Discord.   13   defendant in this case?
    14   You guys would know better what happened on Discord     14       A I guess when it was front page news,
    15   than I would.                                           15   whenever it started.
    16       Q When did you first become aware of the            16       Q Well, if I represent to you that this
    17   idea of the Unite the Right event?                      17   lawsuit was filed on October 11th, 2017, in relation
    18       A It would have been after the -- the first         18   to that, when did you become aware you were a
    19   one, the first Charlottesville event. I don't know      19   defendant?
    20   exactly when.                                           20       A I can't recall exactly.
    21       Q Was the first Charlottesville event in            21       Q Was it the day after that this lawsuit
    22   May of 2017?                                            22   was filed?
    23       A Yes.                                              23       A I can't recall.
    24       Q And how long after the first                      24       Q Are you -- withdrawn.
    25   Charlottesville event in May of 2017 did you become     25            You have a podcast called the Daily



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                                                 Page 34                                                    Page 35
     1                 M. HEIMBACH                               1                  M. HEIMBACH
     2   Traditionalist, right?                                  2           (I need to bring you back to --)
     3        A Not anymore.                                     3   BY MR. BLOCH
     4        Q You did have a podcast called the Daily          4       Q I'm going to pause it right there. Is
     5   Traditionalist, right?                                  5   that your voice?
     6        A Yes.                                             6       A Yes.
     7        Q And that's a podcast where you discuss           7       Q And is that you on the Daily
     8   white nationalist concepts, right?                      8   Traditionalist podcast?
     9        A Sure. Yeah.                                      9       A Yes.
    10        Q And you had an episode on October 12th of       10           Podcast Recording Played
    11   2017, right?                                           11           (-- of the reality that we,
    12        A I guess.                                        12       unfortunately, have, but there has been a
    13        Q Isn't it true, Mr. Heimbach, that you           13       very interesting sort of development
    14   spoke about being a defendant in this lawsuit on the   14       today. Not one, but two lawsuits, is
    15   Daily Traditionalist podcast on October 12, 2017?      15       what I woke up to this morning,
    16        A I can't recall, but if you have the             16       pertaining to Charlottesville.
    17   recording, I assume so.                                17           And there's a lot of stuff to talk
    18            MR. BLOCH Okay. Can we mark                   18       about on this that I think is very
    19        that.                                             19       interesting. And if you're listening to
    20            (Heimbach Deposition Exhibit No. 1            20       this, I'm --)
    21        was marked for the record.)                       21   BY MR. BLOCH
    22   BY MR. BLOCH                                           22       Q Mr. Heimbach, does that refresh your
    23        Q Okay. I'm going to play Exhibit 1 which         23   recollection that you spoke about this lawsuit, the
    24   is a podcast. Just have a listen, sir.                 24   day after it was filed, on the Daily Traditionalist
    25            Podcast Recording Played                      25   podcast?

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     1                 M. HEIMBACH                               1                  M. HEIMBACH
     2       A I mean, not particularly, but I'm                 2   time of approximately October 12th, 2017?
     3   agreeing that that happened, probably.                  3       A I don't believe I had gone through all
     4       Q Well, probably or it happened?                    4   112 pages within a day.
     5       A Well I assume you're telling me the truth         5       Q Okay. Would you say you went through 112
     6   about what date it was aired, so --                     6   pages at all?
     7       Q You agree that that's your voice on the           7       A As of now, yes.
     8   podcast talking about this lawsuit, right?              8       Q Okay. And would you say you did that
     9       A Yes.                                              9   within, say, a month of learning of the lawsuit?
    10       Q You're just saying that you are not sure,        10       A No, I can't really recall.
    11   as you sit here right now, whether that was on --      11       Q Okay. But you understood at that time
    12       A October 12th.                                    12   that you were the subject matter of a suit that
    13       Q -- October 12th?                                 13   concerned -- withdrawn.
    14           Did you review the complaint in this case      14           You understood that you were a defendant
    15   before that podcast?                                   15   in a suit that concerned your participation in the
    16       A I can't recall.                                  16   Unite the Right rally, right?
    17       Q Did you review the complaint in this             17       A Yes.
    18   case?                                                  18       Q And in November of 2017, you were served
    19       A Yes.                                             19   with the complaint at your home, right?
    20       Q And did you review the complaint at or           20       A Yes.
    21   about the time that you heard about the lawsuit?       21       Q And I'm going to show you --
    22       A I guess. I can't recall specifics, but I         22           (Heimbach Deposition Exhibit No. 2
    23   assume so.                                             23       was marked for the record.)
    24       Q So would it be fair to say that you              24   BY MR. BLOCH:
    25   reviewed the complaint in this case at or around the   25       Q I'm showing you, Mr. Heimbach, what's



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     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2    been marked as Exhibit 2.                               2   for you?
     3            Do you recognize that?                          3        A I can't recall.
     4        A It looks like the complaint.                      4        Q By the way, when you say back end stuff,
     5        Q Okay. And you read that, right?                   5   you mean for Traditionalist Worker Party?
     6        A Over the last two years, yes.                     6        A Yes.
     7        Q Sometime after you were sued, you hired           7        Q Which you are the chairman of, right?
     8    attorneys, right?                                       8        A Yes.
     9        A Yes.                                              9        Q Would it be fair to say that you had
    10        Q And who are they?                                10   hired Mr. Kolenich and Mr. Woodard by December 1st,
    11        A Mr. Kolenich.                                    11   2017?
    12        Q Anyone else?                                     12        A I mean, I can't recall. I wasn't really
    13        A Oh, Mr. Woodard.                                 13   involved in it.
    14        Q And when did you hire Mr. Kolenich and           14           (Heimbach Deposition Exhibit No. 3
    15    Mr. Woodard?                                           15        was marked for the record.)
    16        A I don't recall. I didn't handle that.            16   BY MR. BLOCH:
    17        Q Who handled it?                                  17        Q Mr. Heimbach, I'm showing you -- oh,
    18        A That would have been Matt Parrott.               18   withdrawn.
    19        Q Why did Matt Parrott handle hiring a             19           Would you agree with me that,
    20    lawyer for you?                                        20   approximately, by the end of 2017, you were
    21        A Well, he handled all the back end stuff.         21   represented by Mr. Woodard and Mr. Kolenich?
    22        Q What does all the back end stuff mean?           22        A I mean, I'm going to assume so based on
    23        A Anything from IT stuff to logistics and          23   your line of questioning, but in terms of do I recall
    24    infrastructure.                                        24   if it was even in 2017, no, I don't.
    25        Q So when did Mr. Parrott hire an attorney         25        Q I don't want you to assume, Mr. Heimbach,


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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   so I'm going to show you what's marked Exhibit 3.        2   else.
     3           Have you seen that document before?              3       Q For whom?
     4       A Just now.                                          4       A Jake Goodwin.
     5       Q Okay. And is that a filing that                    5       Q When did you speak to Mr. Woodard about
     6   Mr. Kolenich made, representing to the court on          6   Jake Goodwin?
     7   December 1st, 2017, that he was representing you?        7       A Whenever he had a bail hearing, which I
     8       A It looks like.                                     8   can't recall when. I'm sure we can look it up.
     9       Q Well, is it?                                       9       Q And was that with respect to
    10       A Yes.                                              10   Mr. Goodwin's participation in the Unite the Right?
    11       Q And --                                            11       A Yes.
    12       A By the way, misspelled the name of the            12       Q And the event for which he was arrested?
    13   organization. Sad.                                      13       A Yes.
    14       Q Sorry about that.                                 14       Q And did you e-mail or text with
    15           Does that refresh your recollection that        15   Mr. Woodard about that?
    16   you were represented by Mr. Kolenich by December 1st,   16       A I don't believe so.
    17   2017?                                                   17       Q What did you speak to Mr. Woodard about,
    18       A Sure.                                             18   specifically, with respect to Mr. Goodwin?
    19       Q When you -- did you, I take it,                   19       A Trying to get Mr. Goodwin bail and a
    20   communicate with Mr. Kolenich and Mr. Woodard during    20   place to stay in Charlottesville as he awaited trial,
    21   the time that they represented you?                     21   but I didn't get to speak to him until after the
    22       A Yes -- well, not Mr. Woodard. I've only           22   hearing was already done, and that's the only time
    23   spoken to Mr. Woodard once, I believe, and that was     23   that I can recall that I ever contacted him.
    24   not in relation to this case. That was in relation      24       Q When you said you didn t get to speak to
    25   to a criminal matter he was handling for someone        25   him, you meant Mr. Woodard?



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                                                Page 42                                                     Page 43
     1                 M. HEIMBACH                              1                  M. HEIMBACH
     2       A Yes.                                             2        A I can't recall.
     3       Q And you were -- did you reach out to Mr.         3        Q Well, did you?
     4   Woodard?                                               4        A I mean, I talked to a lot of people. I
     5       A I just walked up to him.                         5   have absolutely no idea.
     6       Q But he didn't reach out to you for help          6        Q Well, do you recall -- you said you knew
     7   for Mr. Goodwin. You reached out to Mr. Woodard for    7   him -- withdrawn.
     8   help for Mr. Goodwin?                                  8            MR. BLOCH: Sorry. We're having
     9       A He didn't know me from Adam when I walked        9        technical issues.
    10   up to him.                                            10            (Brief pause.)
    11       Q So the answer to that question is yes?          11   BY MR. BLOCH:
    12       A Yes.                                            12        Q When I asked you if you knew Mr. Goodwin
    13       Q And you were offering to help out with          13   prior to Unite the Right, you said: On a first-name
    14   bail and a place to stay for Mr. Goodwin?             14   basis, no.
    15       A To connect with people that would be able       15            Right?
    16   to do that, yes. Not me personally.                   16        A Yes.
    17       Q When did you do that?                           17        Q Am I correct that you knew him in some
    18       A Whenever his case was.                          18   capacity prior to Unite the Right?
    19       Q And did you know Mr. Goodwin prior to           19        A Like we were at the same place together?
    20   Unite the Right?                                      20   Yes. He came to the rally in Pikeville, Kentucky,
    21       A On a first-name basis, no.                      21   which was in April of 2017. In terms of I don't know
    22       Q But you had interacted with him?                22   if I even spoke to him at that event, and -- so I
    23       A Yes.                                            23   mean, no, I guess.
    24       Q And you had communicated with him about         24            In terms of like knowing him or having
    25   Unite the Right prior to Unite the Right, right?      25   conversations, having a beer, no. We went to the

                                                Page 44                                                     Page 45
     1                 M. HEIMBACH                              1                  M. HEIMBACH
     2   same white nationalist event prior to Unite the        2   to him about, that's referring to the incident for
     3   Right.                                                 3   which he was arrested at Unite the Right, right?
     4       Q And you interacted with him at that event        4        A Yes.
     5   prior to Unite the Right, right?                       5        Q When you communicated with your
     6       A I can't recall an actual interaction with        6   attorneys -- withdrawn.
     7   him, but he was there at the same event along with     7            When you communicated with Mr. Kolenich,
     8   200 other people.                                      8   did you communicate with him by telephone?
     9       Q When did you become aware that he was at         9        A Primarily, yes.
    10   that event? At the event?                             10        Q Did you also communicate with him by
    11       A Well, after -- after you Unite the Right,       11   e-mail?
    12   to where I was able to put a name to a face.          12        A I can't remember a whole lot of times of
    13       Q Okay. Did you discuss the Unite the             13   e-mailing him. Again, usually Matt Parrott handled
    14   Right rally with Mr. Goodwin, ever?                   14   all the communications with the lawyers.
    15       A I don't know.                                   15        Q Okay. So I'm not asking the number of
    16       Q Is it possible?                                 16   times or who else communicated with him.
    17       A Other than when I visited him in jail,          17            I'm asking did you ever communicate with
    18   but that wasn't in regard -- that was in regards to   18   Mr. Kolenich over e-mail.
    19   say his case.                                         19        A Besides the time we already just talked
    20       Q And just to be clear, you talked to him         20   about, in regards to getting the interrogatories and
    21   about his case, right?                                21   such?
    22       A Yeah. I told him to keep his head up.           22        Q Yes.
    23       Q I'm sorry?                                      23        A I can't recall.
    24       A Told him to keep his head up.                   24        Q During the time that Mr. Kolenich
    25       Q And when you say the case that you talked       25   represented you, did you communicate with him over



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                                                Page 46                                                     Page 47
     1                M. HEIMBACH                               1                 M. HEIMBACH
     2   e-mail?                                                2       A I have too much debt, debt collections.
     3       A I can't recall.                                  3   I never answer numbers I don't know and don't check
     4       Q Did he send you documents over e-mail?           4   my voicemail.
     5       A I can't recall.                                  5       Q At some point, you fired Mr. Kolenich and
     6       Q Did Mr. Kolenich ever send you documents         6   Mr. Woodard, right?
     7   to review during the time that he represented you?     7       A Yes.
     8       A I can't recall.                                  8       Q And why did you do that?
     9       Q When you communicated with him by                9       A I couldn't afford to pay them.
    10   telephone, what was your phone number?                10       Q And when did you fire them?
    11       A Same number I've always had,                    11       A I can't recall.
    12   (301)525-1474.                                        12           (Heimbach Deposition Exhibit No. 4
    13       Q And what e-mail address did you have at         13       was marked for the record.)
    14   the time you were represented by Mr. Kolenich?        14   BY MR. BLOCH:
    15       A Matthew.w heimbach@gmail.com.                   15       Q Mr. Heimbach, I'm showing you Exhibit
    16       Q And do you have ability to send text            16   No. 4.
    17   messages on that phone?                               17           Is that an e-mail from Mr. Kolenich to
    18       A Yes.                                            18   Karen Dotson at the court?
    19       Q And can you get voicemails on that phone?       19       A Yes.
    20       A Yes.                                            20       Q And does it state: Mr. Heimbach fired me
    21       Q Do you check your voicemails?                   21   and forbid me to take any further action on his
    22       A No.                                             22   behalf?
    23       Q Never?                                          23       A Yes.
    24       A I have too much debt.                           24       Q And was that e-mail sent on
    25       Q I'm sorry?                                      25   December 17th, 2018?

                                                Page 48                                                     Page 49
     1                  M. HEIMBACH                             1                 M. HEIMBACH
     2       A Yes.                                             2       A I assume so.
     3       Q So does that refresh your recollection           3       Q Well, is that what it says?
     4   that that is around the time that you fired            4       A Yes.
     5   Mr. Kolenich?                                          5       Q And do you recall receiving these in 2018
     6       A Yes.                                             6   at any time?
     7            Let's make a pile.                            7       A I can t recall.
     8            (Heimbach Deposition Exhibit No. 5            8       Q Have you ever read that document prior to
     9       was marked for the record.)                        9   my sending it -- withdrawn.
    10   BY MR. BLOCH                                          10           Have you ever read that document?
    11       Q Mr. Heimbach, I'm showing you Exhibit 5.        11       A Since you sent to it to me? Yes.
    12            Do you recognize that document?              12       Q Have you read it at any time before my
    13       A No.                                             13   sending it to you?
    14       Q Just take a look through it.                    14       A I can t recall.
    15       A Yeah, I believe you and Mr. Bloch sent me       15       Q Do you understand what the document is?
    16   a copy of this at some point in the not too distant   16       A I believe so.
    17   past.                                                 17       Q What is it?
    18       Q Did you receive that prior to my having         18       A A request for maintaining discovery.
    19   sent it to you, at any point?                         19       Q Is it a request from Plaintiffs to you
    20       A I can't recall.                                 20   requesting documents from you?
    21       Q Did you ever discuss the contents of that       21       A That's my name.
    22   document with anybody?                                22       Q So is the answer yes?
    23       A I can't recall.                                 23       A Yes.
    24       Q Are those the requests for documents that       24       Q And you understand -- and you're saying
    25   Plaintiffs served on you?                             25   you have no recollection of having received this



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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   document prior to my sending it to you?                  2   documents and communications concerning the events
     3       A I can't recall.                                    3   including, without limitation, all documents and
     4       Q You don't know if Mr. Kolenich sent it to          4   communications, and then it lists eight categories,
     5   you, ever?                                               5   right?
     6       A I can't recall. He would have probably a           6       A Yes.
     7   better record than I do.                                 7       Q You understand, Mr. Heimbach, that this
     8       Q You don't recall having any discussions            8   document request is asking for any documents that
     9   about what documents you need to produce in this         9   concerned anything having to do with the Unite the
    10   case?                                                   10   Right event?
    11       A I can't recall.                                   11       A Yes.
    12       Q If you could turn to page three.                  12       Q The events leading up to the Unite the
    13           Do you see Paragraph 5 states Events            13   Right?
    14   means the occurrence and activities described in        14       A Yes.
    15   Paragraph 45 to 335 of the Amended Complaint?           15       Q Including the May 13th event in
    16       A Yes.                                              16   Charlottesville, right?
    17       Q And if you could turn to page -- sorry.           17       A I suppose so.
    18   If you could turn to page two. And you see the          18       Q Well, is that right?
    19   definition, Paragraph No. 3 for concerning?             19       A I mean, if that's what you requested,
    20       A I can see it. I'm reading it now. Yes.            20   then yes.
    21       Q You understand that's an extraordinarily          21       Q Is that what we requested?
    22   broad definition of the word concerning?                22       A I mean, I haven't seen anything in
    23       A Indeed.                                           23   regards to the first rally, but sure. Yes.
    24       Q And if you could turn to page eight.              24       Q Well, if you'd look at Request No. 2, it
    25           And you see that this requests all              25   asks for all documents, communications concerning


                                                  Page 52                                                      Page 53
     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   events, meetings, rallies, conferences or                2   Party?
     3   conversations held prior to the events that relate to    3       A Yes.
     4   the events in any way.                                   4       Q Do you understand this includes a request
     5           Do you see that?                                 5   for documents about violence on the basis of race,
     6       A Yes.                                               6   religion or ethnicity?
     7       Q And you'd agree that includes the                  7       A Yes.
     8   Charlottesville 1.0 event?                               8       Q This includes a request for documents
     9       A I mean, I would disagree. I think they             9   about your social media accounts?
    10   were completely separate events with separate           10       A Yup.
    11   purposes.                                               11       Q And it requests documents concerning your
    12       Q So you think Charlottesville 1.0 had              12   communications about or with other defendants, right?
    13   nothing to do with Charlottesville 2.0?                 13       A Yes.
    14       A No, it was more of a conference and               14       Q And you understand that when we request
    15   dinner sort of arrangement.                             15   documents, that includes videos, right?
    16       Q Wasn't there a torch light rally at               16       A Sure.
    17   Charlottesville, 1.0?                                   17       Q Does it?
    18       A Yes.                                              18       A Yes.
    19       Q Weren't there references in planning              19       Q You understand that, right?
    20   Charlottesville 2.0 to Charlottesville 1.0?             20       A Yes.
    21       A I suppose so.                                     21       Q Photographs?
    22       Q And you understand that this document             22       A Yes.
    23   requests all documents concerning -- I'm focused on     23       Q E-mails, right?
    24   Request No. 3 -- communications concerning or with a    24       A Yes.
    25   number of entities, including Traditionalist Worker     25       Q Text messages?



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                                                  Page 54                                                      Page 55
     1                 M. HEIMBACH                                1                M. HEIMBACH
     2       A Yes.                                               2      Q     Personal computers?
     3       Q Podcasts?                                          3      A     Yup.
     4       A Yes.                                               4      Q     Personal digital assistants?
     5       Q Social media content, right?                       5      A     Yes.
     6       A Yes.                                               6      Q     Handheld wireless device?
     7       Q And is it your testimony that you don't            7      A     Yes.
     8   have any recollection of reviewing that document or      8      Q     Mobile telephones, right?
     9   discussing that document in any way prior to my          9      A     Yes.
    10   sending it to you in June of 2019?                      10           (Heimbach Deposition Exhibit No. 6
    11       A I can t recall.                                   11       was marked for the record.)
    12       Q So is the answer to my question, yes, you         12   BY MR. BLOCH
    13   have no recollection of that?                           13       Q Mr. Heimbach I'm showing you what's been
    14       A I have no recollection.                           14   marked as Exhibit 6.
    15       Q If you could turn to page five.                   15           Do you recognize this?
    16           Do you understand, Mr. Heimbach, that the       16       A No.
    17   instructions in Paragraph G state that Whether or       17       Q Take a minute.
    18   not you object, you must preserve all documents and     18       A I think I get the gist.
    19   communications relevant to the lawsuit, including all   19       Q Are those Plaintiffs' First Set of
    20   documents and communications responsive to these        20   Interrogatories to All Defendants?
    21   requests?                                               21       A Yes.
    22       A Yes.                                              22       Q And you understand that All Defendants
    23       Q And that includes, for example, laptops,          23   includes you?
    24   right?                                                  24       A Yes.
    25       A Yes.                                              25       Q And do you recognize those documents --

                                                  Page 56                                                      Page 57
     1                M. HEIMBACH                                 1               M. HEIMBACH
     2   that document? Have you received it before?              2          Do you recognize that document?
     3       A I can't recall reading it prior to -- I            3       A   No.
     4   believe you sent this to me, as well.                    4       Q   Take a look through it.
     5       Q So you recall that I sent it to you?               5       A   Okay.
     6       A I believe so, yes.                                 6       Q   Do you recognize that document?
     7       Q And you've reviewed it since I sent it to          7       A   No.
     8   you?                                                     8       Q   Have you ever received that document
     9       A I'm reviewing it now.                              9   before?
    10       Q Prior to right now, have you reviewed             10       A I don't know. Given that it's an
    11   these ever?                                             11   interrogatory, I assume this is what Mr. Kolenich had
    12       A No, I don't believe so.                           12   sent me, but I haven't reviewed it.
    13       Q Do you recall receiving those anytime in          13       Q Didn't I send you that document last
    14   2018?                                                   14   week?
    15       A I don't recall.                                   15       A I don't believe I opened it.
    16       Q So you might have; you might not have?            16       Q Didn't you request me to send that to you
    17       A I don't recall one way or the other.              17   multiple times?
    18       Q You understand that that document                 18       A Yes.
    19   requests information about sources of documents?        19       Q And did you receive an e-mail from me
    20       A Yes.                                              20   last week with an attachment?
    21           (Heimbach Deposition Exhibit No. 7              21       A I assume so, yes. You sent me an e-mail
    22       was marked for the record.)                         22   with attachments.
    23   BY MR. BLOCH                                            23       Q And you didn't open it?
    24       Q And, Mr. Heimbach, I'm now showing you            24       A This is going to be upcoming the first
    25   what's been marked as Exhibit 7.                        25   weekend I've actually had off from work, where I was



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                                                   Page 58                                                     Page 59
     1                 M. HEIMBACH                                1                  M. HEIMBACH
     2   going to be digging through all the things I've          2   answers, right?
     3   received over the last month or so.                      3        A Yes.
     4       Q So is the answer to my question, no, you           4        Q And you can tell, by looking at it, which
     5   didn't open it?                                          5   are the questions and which are the answers, right?
     6       A No.                                                6        A Yes.
     7       Q If you could turn to the back page, is             7        Q And did you supply the information that
     8   that your signature, Mr. Heimbach?                       8   appears in the answers?
     9       A Yes.                                               9        A I believe I had a conversation with
    10       Q And you signed this on April 11th, 2018,          10   Mr. Kolenich, who had written this.
    11   right?                                                  11        Q And is it your understanding that he
    12       A Yes.                                              12   wrote those answers in response to the information
    13       Q And you signed it under an acknowledgment         13   that you gave to him?
    14   that states: Personally appeared before me, Matthew     14        A Yes.
    15   Heimbach, on April 11, 2018, and did swear that the     15        Q And you agree with me that, after that
    16   above responses to the interrogatories and requests     16   was done, you reviewed it and signed and swore that
    17   for production of documents are true and correct to     17   the responses are true and correct to the best of
    18   the best of his knowledge on that date listed in this   18   your knowledge on April 11, 2018?
    19   acknowledgment.                                         19        A Yes. I don't even recall doing this, but
    20            Right?                                         20   it's in front of me. So --
    21       A Yes.                                              21        Q You agree that that happened?
    22       Q And the notary who notarized that was             22        A Yes.
    23   Jessica Parrott, right?                                 23        Q Now, you agree, Mr. Heimbach -- I'm done
    24       A Yes.                                              24   with that for the time being. We'll come back to it.
    25       Q The document includes questions and               25             You agree that you've communicated with

                                                   Page 60                                                     Page 61
     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   other people about the events at issue in this case,     2       Q Do you -- did you send a text message on
     3   right?                                                   3   August 12, 2017 to anybody concerning Unite the
     4       A Yes.                                               4   Right?
     5       Q And just to be clear, when I say the               5       A I can't recall.
     6   events at issue in this case, I am referring to the      6       Q Do you agree with me that you generated
     7   definition in those documents requests.                  7   documents after the events on August 12th, 2017 that
     8       A Uh-huh.                                            8   concerned the events in this case, right?
     9       Q That we just went over, right?                     9       A Yes.
    10       A Right.                                            10       Q And you have sent and received text
    11       Q You agree that you generated documents            11   messages about the events at issue in this case?
    12   about the events at issue in this case, right?          12       A Yes.
    13       A Yes.                                              13       Q You have sent and received e-mails about
    14       Q You generated documents before                    14   it?
    15   August 12th, 2017, right?                               15       A Yes.
    16       A I can't recall.                                   16       Q You have posted about it on social media
    17       Q Did you send an e-mail or a text message          17   platforms, right?
    18   about Unite the Right prior to August 12th, 2017?       18       A I can't recall specifics.
    19       A To just other people?                             19       Q Do you agree with me that you have posted
    20       Q Yes.                                              20   about the events at issue in this case on any social
    21       A Yes.                                              21   media platform?
    22       Q Do you agree that you generated some form         22       A I can't recall any specific postings.
    23   of documents during the events on August 12th, 2017,    23       Q I'm not talking about the recollection of
    24   right?                                                  24   specific content of postings.
    25       A I can't recall.                                   25           Have you posted on any social media



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                                                Page 62                                                     Page 63
     1                  M. HEIMBACH                            1                 M. HEIMBACH
     2   platform about the events at issue in this case?      2   postings, but I can't recall what they were.
     3        A I can't recall.                                3       Q But you agree with me you've done some
     4        Q You don t recall if you had a Discord          4   posings, right?
     5   account?                                              5       A Sure.
     6        A I did have a Discord account.                  6       Q You've spoken about the events at issue
     7        Q Did you post on Discord about the events       7   in this case on podcasts, right?
     8   at issue in this case?                                8       A Yes.
     9        A After the event?                               9       Q You've written articles about it, right?
    10        Q At any time.                                  10       A I assume so.
    11        A I can't recall the specifics. You guys        11       Q You have spoken about it on videos,
    12   would have the transcripts of Discord.               12   right?
    13        Q I'm not asking you about specifics.           13       A Yes.
    14           My question is Did you post, at all, on      14       Q You have given speeches about Unite the
    15   Discord about the Unite the Right rally, ever?       15   Right, right?
    16        A I can't recall what my postings were.         16       A Yes.
    17        Q I'm not asking you what the postings          17       Q You have given media interviews about
    18   were, Mr. Heimbach.                                  18   Unite the Right, right?
    19        A Well, one kind of needs to know what the      19       A Yes.
    20   postings were as if they related.                    20       Q Have you communicated about the Unite the
    21        Q Is it your testimony that sitting here        21   Right rally or any of the events at issue in this
    22   today you do not recall whether or not you have      22   case in any other fashion?
    23   posted anything on any social media platform about   23       A Not that I can recall.
    24   the events at issue in this case?                    24       Q I'm now going to go through a list of
    25        A I almost -- I certainly have done some        25   people and ask if you've communicated with them about


                                                Page 64                                                     Page 65
     1                  M. HEIMBACH                            1                  M. HEIMBACH
     2   the events at issue in this case. Okay?               2        Q Is it possible you've received an e-mail
     3       A Okay.                                           3   from Matthew Parrott about the events at issue in
     4       Q Matthew Parrott?                                4   this case?
     5       A Yes.                                            5        A I don't know.
     6       Q How have you communicated in -- with            6        Q Tony Hovater?
     7   Matthew Parrott about the events at issue in this     7        A Yes.
     8   case, and by that I mean by what format?              8        Q By text?
     9       A I mean, most exclusively verbal.                9        A Meaning?
    10       Q Have you sent text messages to Matthew         10        Q Have you sent or received a text message
    11   Parrott about the events at issue in this case?      11   with Tony Hovater about the events at issue in this
    12       A Yes.                                           12   case at any time?
    13       Q E-mail?                                        13        A Yes.
    14       A I can't recall.                                14        Q E-mail?
    15       Q Possibly?                                      15        A I can't recall.
    16       A Honestly -- I mean, we live next door to       16        Q Social media platform?
    17   each other, so almost all our communication was      17        A I can't recall.
    18   verbal.                                              18        Q Ike Baker?
    19       Q I'm not asking about almost all of your        19        A Yes.
    20   communications.                                      20        Q Have you texted with him about the events
    21       A I don't know.                                  21   at issue in this case?
    22       Q I'm asking is it possible you have sent        22        A Ever?
    23   an e-mail to Matthew Parrott about the events at     23        Q Yes.
    24   issue in this case?                                  24        A Yes.
    25       A I don't know.                                  25        Q E-mail?



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                                                          Page 66                                                Page 67
     1                   M. HEIMBACH                                 1                 M. HEIMBACH
     2          A   I can't recall.                                  2   in this case?
     3          Q   In-person?                                       3       A Not particularly, but if I said it in
     4          A   Yes.                                             4   April of 2018, my memory was probably a little
     5          Q   Mike Peinovich?                                  5   fresher.
     6          A   I can't recall discussing it with him at         6       Q Jason Kessler?
     7   all.                                                        7       A Yes.
     8      Q You can't recall ever discussing with                  8       Q Text?
     9   Mike Peinovich the events at issue in this case?            9       A Yes.
    10      A No, Enoch's kind of part of a different               10       Q E-mail?
    11   subculture where there's not a whole lot of overlap.       11       A I can't recall.
    12      Q If you could go back to Exhibit 7?                    12       Q Social media?
    13      A Uh-huh.                                               13       A I can't recall that, either.
    14      Q And if you look at Discovery Request No.              14       Q Have you met in-person with Mr. Kessler
    15   3?                                                         15   about the events at issue in this case?
    16      A Yes.                                                  16       A I had lunch with him, but that was after
    17      Q And it says: Identify all persons with                17   the first Charlottesville event, or it might have
    18   whom you communicated concerning the events, whether       18   been before -- somewhere in there -- but we didn't
    19   before, during or after the events.                        19   discuss this matter. I can't recall meeting him any
    20           Right?                                             20   other time until, you know, August 12th.
    21      A Uh-huh.                                               21       Q On August 12th, did you meet with him and
    22      Q And you listed Mike Peinovich, right?                 22   discuss the events at issue in this case?
    23      A Yes.                                                  23       A I didn't see him, no.
    24      Q Does that refresh your recollection that              24       Q Didn't you just say you can't recall
    25   you communicated with him about the events at issue        25   meeting him until August 12th?

                                                          Page 68                                                Page 69
     1                  M. HEIMBACH                                  1                 M. HEIMBACH
     2        A Well, I mean we were at the same place.              2      Q E-mail?
     3        Q Did you see him?                                     3      A I don't believe -- I can't recall.
     4        A No, I didn't see him until -- we did                 4      Q In-person?
     5    text, however, on August 13th, I believe.                  5      A Yes.
     6        Q You specifically remember sending a text             6      Q Social media?
     7    message with Jason Kessler on August 13th?                 7      A I can't recall.
     8        A Yes.                                                 8      Q Have you spoken with Richard Spencer
     9        Q But you don't recall whether or not                  9   about the events at issue in this case?
    10    you've texted at all with Mike Peinovich?                 10           MR. DINUCCI Mike, I'd like --
    11        A About this event? No.                               11      this is John DiNucci. At this point, I'd
    12            The reason I remember that I texted               12      like to interject an objection just based
    13    Mr. Kessler is he had asked us to come with him to        13      on the Paragraph 4 of Judge Hoppe's order
    14    his press conference, which -- in which he was            14      of July 3rd. I'm --
    15    brutally assaulted.                                       15           MR. BLOCH Understood,
    16            So I declined that, and then saw it on            16      Mr. DiNucci.
    17    the news, so that kind of sticks in the old noggin.       17           MR. DINUCCI And I would ask if
    18        Q It's your testimony Mr. Kessler was                 18      you would agree that I have a continuing
    19    brutally assaulted at his press conference?               19      objection based on the language of
    20        A Yes.                                                20      Paragraph 4 of that order so I don't have
    21        Q Have you spoken with Jeff Schoep about              21      to keep interrupting you.
    22    this case?                                                22           MR. BLOCH You do have a
    23        A Yes.                                                23      continuing objection. I appreciate you
    24        Q By text?                                            24      not interrupting or anymore speaking
    25        A Yes.                                                25      objections.



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                                                  Page 70                                                      Page 71
     1                M. HEIMBACH                                 1                 M. HEIMBACH
     2           MR. DINUCCI Then we have an                      2   with him by text about this case?
     3       agreement. Thank you.                                3       A Yes.
     4           And so I object --                               4       Q And about the events at issue in this
     5           MR. BLOCH I'm sorry.                             5   case?
     6           MR. DINUCCI Go ahead.                            6       A Yes.
     7   BY MR. BLOCH                                             7       Q By e-mail?
     8       Q Richard Spencer, did you communicate with          8       A I can't recall.
     9   him by text about the events at issue in this case?      9       Q Do you recall sending or receiving an
    10       A I can t recall.                                   10   e-mail from anybody, ever, about this case?
    11       Q Have you ever texted with Richard                 11       A No.
    12   Spencer, ever?                                          12       Q Communicate in-person with Mr. Cantwell
    13       A Yes.                                              13   about the events at issue in this case?
    14       Q By e-mail?                                        14       A In relation to his specific case, not in
    15       A I can t recall.                                   15   relation to the civil lawsuit.
    16       Q Have you ever e-mailed with Mr. Spencer,          16       Q So you're saying you have spoken with
    17   ever?                                                   17   Mr. Cantwell about the case for which he was arrested
    18       A I can t recall.                                   18   at the Unite the Right rally, right?
    19       Q You can't recall whether you've sent or           19       A The night before the Unite the Right
    20   received an e-mail from Mr. Spencer?                    20   rally, but yes.
    21       A No.                                               21       Q Meaning on August 11th torch light march?
    22       Q Did you communicate with Mr. Spencer              22       A Yes.
    23   in-person about the events at issue in this case?       23       Q You've spoken with Mr. Cantwell about
    24       A I can t recall.                                   24   that?
    25       Q Chris Cantwell, have you communicated             25       A Yes.


                                                  Page 72                                                      Page 73
     1                  M. HEIMBACH                               1                M. HEIMBACH
     2       Q How about James Alex Fields, have you              2       Q About the events at issue?
     3   ever communicated with him in any way about the          3       A Yes.
     4   events at issue in this case?                            4       Q E-mail?
     5       A I don't believe so, no. I might have               5       A No -- well, I don't recall.
     6   sent a letter that didn't discuss the details, but I     6       Q Thomas Rousseau?
     7   can t recall.                                            7       A Not at all, I don t think, except for
     8       Q Okay. It's possible that the letter you            8   seeing him at the event, which is the only time I've
     9   sent might have discussed the events at issue in this    9   ever seen him.
    10   case, right?                                            10       Q Michael Hill?
    11       A Potentially.                                      11       A Yes.
    12       Q Did you ever communicate with Mr. Fields          12       Q Text?
    13   by text?                                                13       A I can't recall.
    14       A No.                                               14       Q Possible that you texted with him?
    15       Q E-mail?                                           15       A I can't recall.
    16       A No.                                               16       Q E-mail?
    17       Q Have you ever received a letter from              17       A I can't recall.
    18   Mr. Fields?                                             18       Q Michael Tubbs?
    19       A No.                                               19       A I can't recall.
    20       Q How about Dillon Hopper, ever discuss             20       Q You can't recall ever communicating with
    21   with him the events at issue in this case?              21   Michael Tubbs about the events at issue in this case?
    22       A Yes.                                              22       A No. I mean, besides seeing him there, in
    23       Q Texted with him?                                  23   person.
    24       A Primarily in-person, but yes, we have             24       Q Did you speak to him on August 12th?
    25   texted.                                                 25       A Yes.



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                                                Page 74                                                     Page 75
     1               M. HEIMBACH                                1                 M. HEIMBACH
     2      Q Did you speak to Michael Hill on                  2   Heimbach.
     3   August 12th?                                           3       Q Is the answer to the question, yes?
     4      A Yes.                                              4       A At one time that would have been his
     5      Q Did you speak to Thomas Rousseau on               5   position, yes -- well, no, actually. Because he was
     6   August 12th?                                           6   the party quartermaster.
     7      A Yes.                                              7           So I don t know about his social media
     8      Q Did you speak to James Fields on                  8   handles, but his actual position would have been
     9   August 12th?                                           9   quartermaster.
    10      A No.                                              10       Q But you texted with him about Unite the
    11      Q Did you speak to Mr. Cantwell on                 11   Right, right?
    12   August 12th?                                          12       A I can't recall.
    13      A I can't recall.                                  13       Q E-mail?
    14      Q How about Augustus -- withdrawn.                 14       A I can't recall.
    15          Did you speak to Eli Kline on                  15       Q Cesar Ortiz?
    16   August 12th?                                          16       A Yes.
    17      A I can't recall.                                  17       Q Communicate with him about the events at
    18      Q Augustus Sol Invictus, ever communicate          18   issue here?
    19   with him about this case?                             19       A Well, he was there, so we spoke on that
    20      A Yes.                                             20   day.
    21      Q Derek Davis?                                     21       Q That's the only time you've every spoken
    22      A Yes.                                             22   to Cesar Ortiz about the Unite the Right rally?
    23      Q Does Derek Davis also go by Commander            23       A I can't recall any other times.
    24   Davis?                                                24       Q Did you ever text with Cesar Ortiz?
    25      A I mean, only if I go by Chairman                 25       A I can't recall.

                                                Page 76                                                     Page 77
     1                  M. HEIMBACH                             1                  M. HEIMBACH
     2        Q Does Cesar Ortiz also go by Cesar Hess?         2   rally?
     3        A On social media.                                3        A Yes, I believe.
     4        Q Does Cesar Ortiz also go by Cesar Adolfo?       4        Q When was the Unite the Right rally?
     5        A I don't know.                                   5        A August of 2017.
     6        Q How long have you known Cesar Ortiz?            6        Q And did you create a Discord account
     7        A I don't know. Three years.                      7   prior to that?
     8        Q Have you ever e-mailed with him about the       8        A I believe so.
     9   events at issue in this case?                          9        Q How long prior to the Unite the Right
    10        A I can't recall.                                10   rally had you created your Discord account?
    11        Q Is there anyone else that you can recall,      11        A I can't recall.
    12   sitting here today, communicating with about the      12        Q Now, when you sign up for a Discord
    13   events at issue in this case, other than the people   13   account, you provide an e-mail address that's
    14   that I mentioned?                                     14   associated with the account, right?
    15        A No, I can't recall anyone.                     15        A I can't recall.
    16        Q You're familiar with Discord, right?           16        Q Is it your testimony, Mr. Heimbach,
    17        A Yes.                                           17   sitting here today, you can t recall whether there
    18        Q And you had an account on Discord, right?      18   was an e-mail address associated with your Discord
    19        A Yes.                                           19   account?
    20        Q When did you create your account on            20        A I can't remember the set-up process,
    21   Discord?                                              21   so -- if you're -- if you're telling me there's an
    22        A I can't recall.                                22   e-mail, then I'm willing to believe you, but I don't
    23        Q Was it prior to 2017?                          23   remember the set-up process.
    24        A I don't know.                                  24            The account was set up several years ago.
    25        Q Was it prior to the Unite the Right            25   I don't remember the set-up.



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                                                  Page 78                                                    Page 79
     1                 M. HEIMBACH                                1                  M. HEIMBACH
     2       Q I'm asking you, was there an e-mail                2      A      I can't recall.
     3   address associated with your Discord account?            3           (Heimbach Deposition Exhibit No. 8
     4       A Yes. I don't recall, however, if it was            4       was marked for the record.)
     5   part of the initial sign-up process.                     5   BY MR. BLOCH:
     6       Q That wasn't my question.                           6       Q I'm showing you Exhibit No. 8,
     7           What was the e-mail address associated           7   Mr. Heimbach, if you could take a look at that.
     8   with your Discord account?                               8           Do you see about halfway down the page
     9       A That would have been                               9   there's a screen shot of your Discord account?
    10   matthew.w heimbach@gmail.com.                           10       A Yes.
    11       Q So just to be clear, based on the                 11       Q And you agree that that's your Discord
    12   question that I just asked you, you do recall whether   12   account?
    13   or not you had an e-mail address associated with your   13       A Yes.
    14   Discord account, right?                                 14       Q And you agree that the handle associated
    15       A You said when I signed up.                        15   with the Discord account is MatthewHeimbach#4345?
    16       Q You do recall that there's an e-mail              16       A Yes.
    17   address associated with your Discord account,           17       Q And just to be clear, MatthewHeimbach is
    18   correct?                                                18   one word, right?
    19       A Yes, I'm just saying I don't recall if            19       A Yes.
    20   that was part of the initial set-up process.            20       Q With no space in between W and Heimbach,
    21       Q And there also was a four-digit number            21   correct?
    22   associated with your account, right?                    22       A Yes.
    23       A I can't recall.                                   23       Q Now, you were the only person that had
    24       Q Do you remember that the number 4345 was          24   access to your user name and password, right, to
    25   associated with your Discord account?                   25   Discord?


                                                  Page 80                                                    Page 81
     1               M. HEIMBACH                                  1               M. HEIMBACH
     2       A I believe so.                                      2          Did you also have the Discord app on your
     3       Q And so you would agree that the messages           3   phone?
     4   posted on Discord with the handle MatthewHeimbach,       4      A I don t recall.
     5   one word, were posted by you, right?                     5      Q Do you still have a Discord account?
     6       A I assume so.                                       6      A No.
     7       Q Well, isn't that true, Mr. Heimbach?               7      Q When did you stop using Discord?
     8       A I believe so, yes.                                 8      A When Discord shut my account down.
     9       Q Did you also send private messages on              9      Q And when was that?
    10   Discord?                                                10      A I can't recall.
    11       A Yes.                                              11      Q How did become aware that Discord had, in
    12       Q And other than MatthewHeimbach, one word,         12   your own words, shut your account down?
    13   did you have any other accounts on Discord?             13      A They had sent me an e-mail, I believe.
    14       A No.                                               14      Q And was that to your
    15       Q Did you use your phone or your commune --         15   matthew.w heimbach@gmail.com account?
    16   or your computer to communicate on Discord?             16      A Yes.
    17       A I don't believe so.                               17          (Heimbach Deposition Exhibit No. 9
    18       Q Well --                                           18      was marked for the record.)
    19       A Or in terms of the phone, on the                  19   BY MR. BLOCH
    20   computer.                                               20      Q I'm showing you, Mr. Heimbach, Exhibit
    21       Q You used your computer to communicate             21   No. 9.
    22   over Discord?                                           22          Mr. Heimbach, is that a shot of your --
    23       A Yes.                                              23   some postings you made on Discord?
    24       Q And did you also have an app --                   24      A It looks like.
    25   withdrawn.                                              25      Q And is -- referring to the top posting,



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                                                  Page 82                                                  Page 83
     1                 M. HEIMBACH                                1                  M. HEIMBACH
     2   that says MatthewHeimbach 2017-8-3 -- meaning            2       A I don't know.
     3   August 3rd, 2017 -- and the text says The helmets        3       Q Is it possible?
     4   have arrived.                                            4       A I don't know.
     5           And there's a photo underneath of a stack        5       Q Well, that's sort of a yes or no
     6   of helmets.                                              6   question.
     7       A Hard hats, but yes.                                7           Is it possible that he texted that to
     8       Q Hard hats. Thank you.                              8   you? It's either possible or it's not possible.
     9           You posted that on Discord, right?               9       A I guess.
    10       A Yes.                                              10       Q Is it possible he e-mailed it to you?
    11       Q And did you take that photo?                      11       A No. I can't recall ever e-mailing with
    12       A No.                                               12   Mr. Davis.
    13       Q Who took that photo?                              13       Q But you know for sure that you didn't
    14       A Derek Davis.                                      14   take that photo?
    15       Q And how did it get onto your Discord              15       A Yeah, it's not my house.
    16   account?                                                16           (Heimbach Deposition Exhibit No. 10
    17       A He sent it to me. I'm not sure where. I           17       was marked for the record.)
    18   assume probably over Discord.                           18   BY MR. BLOCH
    19       Q And then you uploaded it to your Discord          19       Q I'm going to show you Exhibit 10,
    20   account?                                                20   Mr. Heimbach.
    21       A Yes, I believe so.                                21           Mr. Heimbach, are those posts that were
    22       Q Do you know, how would Derek Davis have           22   made on Discord, including one of yours?
    23   sent you that photo over Discord?                       23       A It looks like.
    24       A Through private message, I assume.                24       Q And you see the fourth post down, there's
    25       Q Is it possible he texted it to you?               25   a post by someone named J-A-P-Z-Z-I, who writes

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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   Anywhere you can see pictures from the event.            2           So, at that point, I assumed the police
     3   Cheering you guys on.                                    3   were going to do their jobs.
     4            Do you see that?                                4       Q And did you also assume that somebody
     5        A Yes.                                              5   would be taking photographs on behalf of the
     6        Q And underneath that is a post by you,             6   Traditionalist Worker Party?
     7   right?                                                   7       A Yes.
     8        A Yes.                                              8       Q And who is that, that was going to be
     9        Q And you wrote on Discord: Quote, As soon          9   doing that?
    10   as it's happening, we'll have them.                     10       A That would be Jason Augustus.
    11            Right?                                         11       Q Okay. And Mr. Augustus took photographs
    12        A Yes.                                             12   of the Unite the Right rally?
    13        Q And you wrote that on August 9th, 2017,          13       A His camera was destroyed at the event, I
    14   right?                                                  14   believe. We didn't get any usable photographs or
    15        A Looks like.                                      15   video that I can recall.
    16        Q Well, isn't that true?                           16       Q But the plan was for Mr. Augustus to take
    17        A Yes.                                             17   pictures of the event, right?
    18        Q And why did you believe that there would         18       A Yes.
    19   be photographs from the event at that time?             19       Q And he did take pictures of the event,
    20        A Well, at that time, I thought the                20   right?
    21   Charlottesville Police Department, the state police,    21       A He got maced very early on. I don't know
    22   the National Guard and the FBI would do their jobs to   22   if he actually was even able to take any photos.
    23   allow a permitted rally, where we could peacefully      23       Q How do you know that Mr. Augustus's
    24   assemble, give speeches, take photographs, take         24   camera was broken?
    25   video, and then we could all go home.                   25       A Because he no longer had the camera after



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                                                 Page 86                                                      Page 87
     1                 M. HEIMBACH                               1                M. HEIMBACH
     2   the event.                                              2   11.
     3       Q Did he tell you that?                             3           Do you see that?
     4       A Not that I can recall, but we weren't             4       A Yes.
     5   able to film videos for an extended period of time      5       Q And do you see that you posted, at the
     6   until a new camera was purchased.                       6   top, on Discord on August 20th?
     7       Q Are you aware of any photographs that             7           You see that, right?
     8   were taken at the Unite the Right rally?                8       A Yes.
     9       A Just the ones, really, in the media.              9       Q And do you see that you wrote Hey,
    10       Q Why was Jason Augustus tasked with taking        10   crackers. I'm working on a big video, party-wide
    11   photographs for the Traditionalist Worker Party?       11   e-mail, et cetera. Just wanted to let everyone know
    12       A Because he had a camera.                         12   that I'm alive, LOL. How is everyone tonight?
    13       Q And that was his role in the                     13           Did you post that on Discord on August
    14   Traditionalist Worker Party to do that?                14   20th, 2017?
    15       A Yeah.                                            15       A Yes.
    16       Q When did you learn his camera was                16       Q And what is the big video that you were
    17   destroyed?                                             17   referring to?
    18       A When I asked him when we were going to be        18       A Well, it never got made, but we were
    19   uploading pictures and video and there was none.       19   planning on taking the various news reports and
    20       Q And what date was that, approximately?           20   cutting it into a video.
    21       A Not too long after the event.                    21       Q About Charlottesville?
    22           (Heimbach Deposition Exhibit No. 11            22       A Yeah.
    23       was marked for the record.)                        23       Q And don't you say in the post, I'm
    24   BY MR. BLOCH:                                          24   working on a big video?
    25       Q Mr. Heimbach, I'm showing you Exhibit No.        25       A Well, I never did any of the tech stuff.

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     1                 M. HEIMBACH                               1                 M. HEIMBACH
     2        Q But were you, in fact, in the process of         2   agencies, and we moved on to other projects.
     3   working on a video at the time you posted that?         3       Q Did Jason Augustus tell you that?
     4        A I wasn t, no.                                    4       A I can't recall an exact conversation.
     5        Q Didn t you say in the post, I'm working          5       Q How did you become aware of that
     6   on a big video?                                         6   conversation?
     7        A Yes, but that would have been Jason              7       A Well, it was never -- well, I looked up
     8   Augustus who was working on the video.                  8   what it would cost to license videos from journalists
     9        Q So when you said, I'm working on a big           9   who were there and it was cost prohibitive. If we
    10   video, was that true?                                  10   were to violate copyright, they would just pull it
    11        A Well, I was looking and overseeing a            11   down anyway.
    12   collection of news reports with footage available,     12       Q You also say in that message, party-wide
    13   and then working to try and provide that, see how we   13   e-mail, right?
    14   could gets things licensed and such.                   14       A Uh-huh.
    15        Q And Jason Augustus was tasked with that         15       Q What does that refer to?
    16   project?                                               16       A I assume I sent an e-mail.
    17        A Yes.                                            17       Q And where did you send that e-mail?
    18        Q And where is that video?                        18       A That would have been through Matt Parrott
    19        A It never got made, I don't believe.             19   and the infrastructure, back end of the party, which
    20        Q Do you know if it ever got made?                20   you guys should have a copy of.
    21        A It wasn't never posted. I don't believe         21       Q What e-mail address did you send that
    22   it ever got made.                                      22   from?
    23        Q Why didn t it get made?                         23       A Mr. Parrott, I would write things and
    24        A Because we couldn't get licensing,              24   then he would handle the distribution.
    25   primarily, for -- in terms of cost, from news          25       Q When you say you would write things, what



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                                                   Page 90                                                     Page 91
     1                 M. HEIMBACH                                1                  M. HEIMBACH
     2   device did you write those things on?                    2      Q       You do, right? You don't know?
     3       A Gmail and Google Docs.                             3      A       Not off the top of my head.
     4       Q So you wrote --                                    4            I can share on something real quick,
     5       A On my laptop.                                      5   though, and check.
     6       Q On your laptop. And you would write them           6        Q Maybe we ll do that on a break.
     7   in your --                                               7            When it was shared with Mr. Parrott, how
     8           And when you say gmail, do you mean your         8   would Mr. Parrott distribute it?
     9   matthew.w heimbach@gmail.com account?                    9        A He ran our e-mails.
    10       A Yes.                                              10        Q And when you say our e-mails, what do you
    11       Q And then you e-mailed that to                     11   mean?
    12   Mr. Parrott?                                            12        A The Traditionalist Worker Party.
    13       A Or, most likely, just shared him on the           13        Q And that is a domain address at
    14   document.                                               14   tradworker.org; is that right?
    15       Q And when you say shared him, what do you          15        A Yeah, there was a ticket system that he
    16   mean?                                                   16   designed, so that's how messages would be sent out,
    17       A When you hit the share button and you can         17   through the ticket system. So he would have handled
    18   choose other users who can view it. There's no point    18   all that distribution.
    19   in e-mailing it when you can just share it.             19            (Heimbach Deposition Exhibit No. 12
    20       Q On Google Docs?                                   20        was marked for the record.)
    21       A Yeah.                                             21   BY MR. BLOCH:
    22       Q When you share something on Google Docs,          22        Q Mr. Heimbach, I'm showing you Exhibit 12.
    23   do you get an e-mail alert that the document has been   23   Exhibit 12, is that a Discord post that you posted on
    24   shared?                                                 24   January 19th, 2018?
    25       A Maybe, I guess.                                   25        A Yes.

                                                   Page 92                                                     Page 93
     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2       Q And you wrote Quote, I wrote the POWs              2       A I believe so.
     3   today, did you, end quote.                               3       Q And -- and then after you took that
     4           Correct?                                         4   photo, you uploaded it to Discord, right?
     5       A Yes.                                               5       A Sounds about right.
     6       Q And then there's a photograph of five              6       Q Is that true?
     7   envelopes; isn t that true?                              7       A Yes.
     8       A That is accurate.                                  8       Q And the envelopes are -- it's a
     9       Q And then, below the envelopes, you wrote           9   photograph of five envelopes, correct?
    10   Quote, We all need to be sending letters, by the way.   10       A Yes.
    11           -- at 1 -- on January 19th, 2018, right?        11       Q And they are addressed to Jacob Goodwin,
    12       A Yup.                                              12   right?
    13       Q Did you take that photograph?                     13       A Uh-huh.
    14       A I assume so, yeah.                                14       Q Dylann Storm Roof, right?
    15       Q And on what device did you take that              15       A Yes.
    16   photograph?                                             16       Q James Fields, right?
    17       A The phone I had at the time.                      17       A Yes.
    18       Q And what phone was that?                          18       Q Alex Ramos?
    19       A The phone that was subsequently thrown            19       A Yup.
    20   out by my now ex-wife.                                  20       Q And Daniel Borden; isn't that true?
    21       Q Okay. What kind of phone was that?                21       A Yeah.
    22       A I can t recall. It was an Android.                22       Q What does POW mean, Mr. Heimbach?
    23       Q Did you list that phone on the                    23       A It means prisoner of war.
    24   certification that you filled out in this case on       24       Q Is that someone captured on the
    25   July 6th?                                               25   battlefield of war, in your view?



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                                                  Page 94                                                     Page 95
     1                 M. HEIMBACH                                1                  M. HEIMBACH
     2       A I mean, that can be a definition.                  2   allowed us to be attacked by mobs of antifascists,
     3       Q Is that the definition that you meant in           3   stood down through either incompetence or corruption
     4   this when you wrote POWs?                                4   and violated our First Amendment rights to assemble.
     5       A What I meant more is a political system            5            So a battle by the other side. We were
     6   much like Irish Republicans were persecuted for          6   trying to exercise our First Amendment rights.
     7   advocating for the best interests of their community,    7        Q So is the answer to my question, yes, you
     8   their culture and the future of their nation, that       8   would agree that Charlottesville was a battle?
     9   men were being held by an imperialist regime.            9        A More like a protest that was
    10       Q It would be fair to say that you believe          10   deliberately, by the regime, allowed to go sideways,
    11   these people in the five envelopes are POWs that        11   to incite violence against people like myself.
    12   fought on your side of a war?                           12        Q And what regime is that?
    13       A Not necessarily my side of a war, but in          13        A The Federal government.
    14   terms of they are being held by an antiwhite            14        Q Why were you sending these five people
    15   government.                                             15   letters?
    16       Q Would it be fair to say these are people          16        A Doesn't Jesus say that it's kind of a
    17   that share the same objectives as you?                  17   thing to comfort the prisoner while they were in
    18       A No, not necessarily.                              18   jail? Feed the hungry, clothe the naked?
    19       Q Well, what's the war you're referring to?         19        Q So were you trying to comfort these
    20       A The war that's being waged against the            20   prisoners.
    21   demographic, social, economic, political future of      21        A Fulfill my Christian duty.
    22   Europeans around the world.                             22        Q So is my question to my question, yes,
    23       Q And is it your view that Charlottesville          23   you were trying to comfort these prisoners?
    24   was a battle in that war?                               24        A Yes.
    25       A It was only a battle because the police           25        Q And why did you choose those particular


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     1                  M. HEIMBACH                               1                   M. HEIMBACH
     2   prisoners?                                               2   notwithstanding the fact that he was convicted, he
     3        A Those are prisoners that are probably not         3   is, in fact, innocent?
     4   getting a whole lot of letters.                          4        A Yes.
     5        Q Did you send any other prisoners letters          5        Q And who is Daniel Borden?
     6   that day?                                                6        A Same story.
     7        A No, I don't believe so.                           7        Q Was Daniel Borden convicted of
     8        Q Who is Jacob Goodwin?                             8   maliciously wounding DeAndre Harris at Unite the
     9        A A fellow from Arkansas who was arrested           9   Right?
    10   after Charlottesville.                                  10        A Falsely, yes.
    11        Q And was he also convicted of maliciously         11        Q And when you say falsely, is it your view
    12   wounding a black man named DeAndre Harris at the        12   that Daniel Borden is innocent of the charge for
    13   Unite the right event?                                  13   which he was convicted?
    14        A I think falsely, but yes.                        14        A Overwhelmingly, yes.
    15        Q And who's Alex Ramos?                            15        Q Overwhelmingly innocent?
    16        A Another gentleman in the same situation,         16        A Yes.
    17   still falsely convicted.                                17        Q Who is James Fields?
    18        Q But you agree with me he was convicted of        18        A James Fields was convicted of driving his
    19   maliciously wounding a black man named DeAndre Harris   19   car into a counter protesters on his way home.
    20   at Unite the Right?                                     20        Q Was he, in fact, convicted of murdering
    21        A Innocent people get convicted every day.         21   Heather Heyer at Unite the Right?
    22        Q So is the answer to my question, yes, he         22        A Yes.
    23   was convicted?                                          23        Q Do you think James Fields was innocent?
    24        A Yes.                                             24        A Innocent of first degree capital murder,
    25        Q And is it also your testimony that he --         25   yes, and I do believe that the guilt of the entire



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     1                   M. HEIMBACH                              1                  M. HEIMBACH
     2   situation rests with the Charlottesville Police          2        A No.
     3   Department, the state police, government officials.      3        Q And you sent each of these five people
     4            So, yeah, the charge he was convicted of,       4   letters, right?
     5   of capital murder, yes, I don't believe the evidence     5        A Yes.
     6   proves premeditated intent.                              6            For the record, I would like to state
     7        Q Do you believe Mr. Fields was guilty of           7   that, after Dylann Roof's shooting, at my own
     8   anything at Unite the Right?                             8   expense, I traveled to South Carolina to participate
     9        A I mean, I don't believe he got a fair             9   in a series of vigils in mourning for the loss of
    10   trial, so it's hard to tell.                            10   those who had their lives taken, and I do not endorse
    11        Q So you don't know, sitting here today,           11   Mr. Roof's actions. However, I do believe it's a
    12   whether you believe Mr. Fields was guilty of anything   12   Christian responsibility to comfort prisoners.
    13   at the Unite the Right rally, right?                    13        Q But only those five prisoners, right?
    14        A I believe if he was given a fair trial           14        A That day, yes.
    15   outside of Charlottesville, we would be allowed to      15        Q The letter that you sent to Mr. Fields,
    16   objectively look at the evidence and obtain a           16   what device did you type that on?
    17   legitimate verdict.                                     17        A I believe I handwrote it.
    18        Q Who is Dylann Roof?                              18        Q Or -- are you sure you handwrote it?
    19        A He was a shooter who killed folks in a           19        A No.
    20   church in South Carolina.                               20        Q You might have typed it?
    21        Q Did he, in fact, kill nine black people          21        A Possibly. I don't recall.
    22   in a church --                                          22        Q Did you type the other letters in Exhibit
    23        A Yeah, he did.                                    23   12?
    24        Q -- in South Carolina?                            24        A I really don't know.
    25            Was Dylann Roof innocent?                      25        Q So you're saying you may have typed them,

                                                Page 100                                                      Page 101
     1                  M. HEIMBACH                               1                  M. HEIMBACH
     2   you may have handwritten them?                           2        Q And how many letters did you write to the
     3        A I'm leaning towards handwriting, but it's         3   others?
     4   hypothetically possible.                                 4        A Mr. Roof, just one, because I hadn't
     5        Q What did your letter to James Fields say?         5   gotten a response from either of those.
     6        A Essentially not to despair, I believe. I          6            I believe several to the others, and I
     7   don't recall the specifics. But, you know, I assumed     7   had spoken on the phone with Mr. Borden several
     8   he was getting a lot of hate mail and he probably        8   times.
     9   felt very alone and scared. So just trying to            9        Q While Mr. Borden was in jail?
    10   provide some, you know, Christian comfort.              10        A Yes.
    11        Q And to be clear, you were providing --           11        Q Did you make any copies of any of these
    12   withdrawn.                                              12   letters that you wrote?
    13           You understood that Mr. Fields was              13        A No.
    14   imprisoned at the time for what he had done at          14        Q You also wrote on the Discord post, We
    15   Charlottesville, right?                                 15   all need to be sending letters, BTW, right?
    16        A Allegedly done, yes.                             16        A Yes.
    17        Q Still alleged to you?                            17        Q BTW is by the way?
    18        A I don't believe he got a fair trial.             18        A Yes.
    19        Q What did your letter to Mr. Goodwin say?         19        Q And would it be fair to say you were
    20        A I mean, essentially, all of them are             20   addressing that comment to your folks within
    21   going to say the same thing, to keep your spirits up,   21   Traditionalist Worker Party?
    22   I believe. Just trying to be positive.                  22        A Yes.
    23        Q How many letters did you write to                23        Q And why did you want other people to send
    24   Mr. Fields?                                             24   these guys letters?
    25        A Just the one, I believe.                         25        A Because I think it's your Christian duty



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                                                 Page 102                                                     Page 103
     1                 M. HEIMBACH                                1                  M. HEIMBACH
     2   to try and support prisoners.                            2   from Jake Goodwin?
     3        Q And to be clear, you believe it was your          3        A Yeah, she took an extended vacation to
     4   Christian duty to try to support these particular        4   Texas with my two children and told the neighbors
     5   prisoners, right?                                        5   that they could toss everything in the house to make
     6        A Yes.                                              6   it ready for new tenants, at which where I lost my
     7        Q Did you receive any communications from           7   Social Security card, birth certificate, college
     8   Mr. Fields since Unite the Right?                        8   transcripts. You know, basically all my stuff.
     9        A No.                                               9        Q Where was that letter that you received
    10        Q Did you ever receive a letter from               10   from Jacob Goodwin?
    11   Mr. Fields?                                             11        A I believe it was in a box that had all my
    12        A No.                                              12   other personal effects.
    13        Q Did you ever speak to him on the phone?          13        Q Was that the same box that you had your
    14        A No.                                              14   birth certificate and Social Security card?
    15        Q Did you ever receive any letters from            15        A Yes.
    16   Mr. Goodwin?                                            16        Q Did you ever receive a letter from
    17        A Yes.                                             17   Mr. Ramos?
    18        Q And that was in response to your letter?         18        A I can't recall on that one.
    19        A Yes.                                             19           (Heimbach Deposition Exhibit No. 13
    20        Q And where is that letter?                        20        was marked for the record.)
    21        A In a dumpster somewhere.                         21   BY MR. BLOCH
    22        Q You threw it away?                               22        Q Mr. Heimbach, I'm showing you Exhibit 13.
    23        A No. My ex-wife did.                              23           Is that a copy of posts that people made
    24        Q Can you describe the circumstances by            24   on Discord, including yourself?
    25   which your ex-wife threw away a letter you received     25        A Yes.

                                                 Page 104                                                     Page 105
     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2        Q And on February 4th, 2018, did you post           2       Q Why would you put that letter in a box?
     3   on Discord Quote, I just got responses from Borden       3       A I mean, I I'm not just going to throw it
     4   and Ramos?                                               4   out, right? Like, that's rude.
     5        A Yes.                                              5       Q So the reason why you put Mr. Goodwin's
     6        Q And is that because you had just gotten a         6   and Mr. Ramos and Mr. Borden's letter -- withdrawn.
     7   response from Mr. Ramos?                                 7           The reason you put Mr. Goodwin and
     8        A I assume so. I can't recall the letter,           8   Mr. Ramos's letters in a box because it would be rude
     9   but that would make sense.                               9   to throw it out?
    10        Q You believe based on that post you got a         10       A Well, and for the historical record.
    11   letter back from Mr. Ramos?                             11       Q What -- what do you mean, the historical
    12        A Yes.                                             12   record?
    13        Q Where is that letter?                            13       A When true history can be told of the
    14        A Same story.                                      14   events, I believe that those would have been
    15        Q What's the story?                                15   important historical documents.
    16        A It was kept with all my other personal           16       Q Did you receive a response from
    17   effects.                                                17   Mr. Borden?
    18        Q Is it your testimony that you don t              18       A Yes.
    19   receive -- you don't recall receiving a letter from     19       Q Where is that?
    20   Mr. Ramos, but you do recall the circumstances in       20       A Same thing.
    21   which it got destroyed?                                 21       Q You put that letter in a box that got
    22        A Well, if it was -- if I received the             22   thrown out by your neighbors?
    23   letter -- which I'm assuming based on this post that    23       A More of a tub, but yes.
    24   I did -- I would have put it in the same place that I   24       Q Can you describe the tub?
    25   put all my other personal effects.                      25       A Yeah, just one of the ones that's about



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     1                 M. HEIMBACH                              1                  M. HEIMBACH
     2   this big (indicating), plastic, you get at Walmart.    2       A Back in college, I think, like 2013 or
     3       Q Did it have a top on it?                         3   '14, maybe.
     4       A I didn't keep a top on it, but it came           4       Q And you still use that account, right?
     5   with a top.                                            5       A Yes.
     6       Q And what color was it?                           6       Q And did you send or receive e-mails from
     7       A Green or blue.                                   7   that e-mail address that concerned the events at
     8       Q So you put all of your personal effects,         8   issue in this case?
     9   your Social Security card, your birth certificate,     9       A Yes.
    10   and all the documents that you believed were          10       Q Have you had any other e-mail accounts in
    11   important for the true historical record in an        11   the last four years?
    12   open-top blue tub?                                    12       A I had an e-mail account that was set up
    13       A Yes.                                            13   by the National Socialist Movement when I joined that
    14       Q Did you ever receive a response from            14   organization, which, when I had resigned my position
    15   Mr. Roof?                                             15   in the group, I was locked out of.
    16       A No, I didn't.                                   16       Q And what was the e-mail address for that
    17       Q Did you ever talk to any of those five          17   account?
    18   people on the phone?                                  18       A I can't recall, but I'm sure the
    19       A Dan Borden.                                     19   Defendant NSM would be able to provide that.
    20       Q I'd like to talk about your e-mail              20       Q Who, personally, is the person that gave
    21   address.                                              21   you that account?
    22           You currently have an e-mail address          22       A Burt Colucci, who is currently the leader
    23   that's matthew.w heimbach@gmail.com, right?           23   of the National Socialist Movement.
    24       A Yes.                                            24       Q And you used that account to send
    25       Q When did you set up that account?               25   e-mails?


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     1                 M. HEIMBACH                              1                 M. HEIMBACH
     2       A For a very brief period, yes.                    2       A Yes.
     3       Q And those e-mails concerned, among other         3       Q Other than the gmail account and the NSM
     4   things, the Nationalist -- withdrawn.                  4   account, have you had any other e-mail accounts in
     5       A Nationalist Front, is that what you're           5   the last four years?
     6   looking for?                                           6       A I don t believe so.
     7       Q Well, part of what I'm looking for.              7            Hold that. For the internal ticket
     8           Those e-mails that you sent on your NSM        8   system, I believe an e-mail of some sort was set up
     9   e-mail address concerned the Nationalist Front?        9   by Mr. Parrott, but he would have all the information
    10       A No, because the Nationalist Front no            10   on that.
    11   longer existed at the time.                           11       Q An e-mail account for you?
    12       Q Did e-mails that you sent on the NSM            12       A Well, not so much an e-mail, as the way I
    13   e-mail account concern the NSM?                       13   understand it. More of just like -- in terms of the
    14       A Yes.                                            14   internal ticket system where you basically send
    15       Q And what is NSM?                                15   e-mails, but I don't know. That would be a tech
    16       A National Socialist Movement.                    16   question for Mr. Parrott. But he would have set that
    17       Q And was that created of after Unite the         17   up and had all the credentials.
    18   Right?                                                18       Q Did you send an e-mail over that ticket
    19       A Yes.                                            19   system?
    20       Q Other than -- withdrawn.                        20       A Yes.
    21           You believe Burt Colucci would know what      21       Q That concerned the events at issue in
    22   that e-mail address was?                              22   this case?
    23       A He set me up and he locked me out of it,        23       A Yes, I believe.
    24   so I assume so.                                       24       Q And how did you log onto the ticket
    25       Q And you had that in 2018?                       25   system?



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                                                 Page 110                                                    Page 111
     1                  M. HEIMBACH                               1                  M. HEIMBACH
     2       A Mr. Parrott had set up the password and            2   any e-mails you've sent or received concerning events
     3   the account, and he had auto logged me in on my          3   at issue in this case?
     4   laptop.                                                  4        A I don't believe so.
     5       Q So you could log in from your laptop to            5        Q Are you familiar with the social media
     6   the TradWorker ticket system, right?                     6   site called VK?
     7       A Yes.                                               7        A Yes.
     8       Q And you could send e-mails from that               8        Q What's VK?
     9   e-mail system, right?                                    9        A It's a Russian clone of Facebook.
    10       A Yes.                                              10        Q And users can send messages that are
    11       Q And what was -- did you have a domain             11   public, right?
    12   address?                                                12        A Yes.
    13       A I can't recall, but I know Mr. Parrott            13        Q And private?
    14   has all the information, which I think he's provided.   14        A Yes.
    15       Q So other than the gmail account, the NSM          15        Q And a user has friends on VK, right?
    16   e-mail account and the TradWorker ticket e-mail         16        A Yes.
    17   system to which you had access, were there any other    17        Q And friends are people that can see the
    18   e-mail accounts that you used to communicate about      18   messages that you post on your page, right?
    19   the events at issue in this case?                       19        A Yes.
    20       A I don't believe so.                               20        Q And you were friends on VK with people
    21       Q Have you deleted any e-mails that you             21   who went to Unite the right in Charlottesville?
    22   sent or received that concerned the events at issue     22        A I can't recall.
    23   in this case?                                           23        Q Were you friends on VK with some of the
    24       A I don't believe so.                               24   Defendants?
    25       Q Have you instructed anyone else to delete         25        A I can't recall.

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     1                 M. HEIMBACH                                1                M. HEIMBACH
     2       Q But you did have a VK account, right?              2       A No.
     3       A At one time, yes.                                  3       Q You don't know -- can you approximate a
     4       Q And the -- your user name on VK was                4   decade?
     5   MatthewHeimbach, one word, right?                        5       A Within the last ten years.
     6       A Sounds right.                                      6       Q Okay. Was it prior to Unite the Right?
     7       Q Well, is it right?                                 7       A I think so.
     8       A I'm assuming so, yes. Yes.                         8       Q And approximately how long prior to Unite
     9       Q And to sign up for VK, do you give a               9   the Right did you create the VK account?
    10   phone number?                                           10       A I don't recall.
    11       A Yes.                                              11       Q Well, to get into the VK account, you
    12       Q And what phone number did you give?               12   need a log in and a password, right?
    13       A I believe (301)525-1474.                          13       A Uh-huh.
    14       Q And do you give a phone number when you           14       Q And you were the only person with access
    15   sign up so you can retrieve your user name or           15   to those credentials, right?
    16   password when you lose it?                              16       A Well, no. I had all my passwords written
    17       A I believe so, yes.                                17   down on a piece of paper. So my wife, and my ex-wife
    18       Q They can text it to you, right?                   18   would have had access.
    19       A I believe so.                                     19       Q Okay. You're saying your wife or ex-wife
    20       Q And when did you create the VK account?           20   would have had access if they had seen the piece of
    21       A I can't recall.                                   21   paper that you had written your password on, right?
    22       Q Approximately?                                    22       A Yes.
    23       A I don't know. It was very rarely used,            23       Q Are you, as you sit here today, aware of
    24   so I don't recall.                                      24   them actually having seen your log-in and password?
    25       Q Can you give a year?                              25       A Yeah, both of them have seen it. I just



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                                                 Page 114                                                     Page 115
     1                  M. HEIMBACH                               1                  M. HEIMBACH
     2   keep it next to my computer.                             2        Q You have no idea?
     3       Q Well, as far as you're aware, you're the           3        A It was like two years ago.
     4   only person that posted content on the VK account,       4        Q So is the answer to my question, no, you
     5   right?                                                   5   have no idea?
     6       A That would be accurate, I believe.                 6        A No.
     7       Q And you posted content on your VK account          7           (Heimbach Deposition Exhibit No. 14
     8   about the events at issue in this case, right?           8        was marked for the record.)
     9       A I can't recall.                                    9   BY MR. BLOCH
    10       Q If I could direct you to Exhibit 7.               10        Q If I could show you Exhibit No. 14,
    11   Right? And on Exhibit 7, these are your                 11   Mr. Heimbach.
    12   interrogatory responses, right?                         12           Is this your VK account?
    13       A Yes.                                              13        A Yes.
    14       Q And the first -- on the first page,               14        Q And is this a post that you made on
    15   Paragraph 1, it says: Identify all means of             15   February 16, 2019 to your VK account?
    16   communication used by you to communicate concerning     16        A Yes.
    17   the events.                                             17        Q And in that post, do you say Reverend
    18       A Uh-huh.                                           18   James Hart Stern is now the president and director of
    19       Q Right?                                            19   the National Socialist Movement according to legal
    20           And your answer that you affirmed under         20   filings?
    21   oath is true, included VK, MatthewHeimbach, right?      21        A Yes.
    22       A Yup.                                              22        Q And what legal filings are you referring
    23       Q And what kind of content did you post             23   to?
    24   about Unite the Right on your VK account?               24        A Mr. Stern, I believe, had asserted that
    25       A I can't recall.                                   25   he had been given legal control of the board of

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     1                  M. HEIMBACH                               1                   M. HEIMBACH
     2   directors of the National Socialist Movement.            2            Isn't it true your VK account became
     3        Q And those are legal filings that                  3   deleted in April of this year?
     4   Mr. Stern made in this litigation, right?                4       A I believe so.
     5        A Yes.                                              5       Q And how did your VK account become
     6        Q And, in fact, he made those filings in            6   deleted?
     7   this litigation the day before you posted that on VK,    7       A My current wife and I had had an argument
     8   right?                                                   8   and she had deleted my social media account.
     9        A I believe so, yes.                                9       Q And is your current wife Jessica
    10        Q How did you become aware of Mr. Stern's          10   Heimbach?
    11   filing?                                                 11       A Heimbach, yes.
    12        A It was in the news. I mean, a black              12       Q And what was the argument about?
    13   civil rights activist taking over the NSM is            13       A I don't know. Taking out the trash. I
    14   newsworthy.                                             14   don't recall.
    15        Q Now, you deleted your VK account since           15       Q Okay. And explain how it is that the
    16   posting that message, right?                            16   argument went from taking out the trash to your wife
    17        A I did not delete my VK account, no.              17   deleting your VK account.
    18            No, it's deleted, but I didn't delete it.      18       A Oh, really simple. It's the same thing
    19        Q Okay. Your VK account is deleted, right?         19   she did with my Gab account, like, six or nine months
    20        A Yes.                                             20   earlier.
    21        Q Your VK account became deleted since you         21            You know, I invested a lot of time and
    22   posted that message in February 2019, right?            22   energy in social media and networking, and then, you
    23        A Yes.                                             23   know, why yell when you can really get back at your
    24        Q In fact, isn't it true that your VK, in          24   hubby. So yeah, that was a very frustrating day.
    25   your words, became deleted -- withdrawn.                25       Q Explain how it is that Ms. Heimbach, your



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     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2   wife, deleted your VK account.                           2       A In terms of any of the specifics or
     3       A I assume she just logged in and deleted            3   requirements, no.
     4   it.                                                      4       Q Well, the interrogatory response that she
     5       Q Did you assume that or do you know that?           5   notarized for you included your representation that
     6       A Well, I mean, she told me, so yeah.                6   VK was an account that you used to communicate about
     7       Q When did she tell you?                             7   Unite the Right; isn't that true?
     8       A The day after.                                     8       A I suppose.
     9       Q And did she tell you why she deleted your          9       Q And did you ever tell Ms. Parrott that
    10   VK account?                                             10   you had an obligation to preserve your social media
    11       A Because she was mad at me.                        11   accounts?
    12       Q Now, Jessica Heimbach is the same Jessica         12       A I don't believe so. I tried to not
    13   Parrott who notarized your interrogatory responses,     13   discuss these matters with, really, anyone.
    14   right?                                                  14       Q Do you mean other than asking her to
    15       A Yes, but we were not in a relationship at         15   notarize a document that you served in this case?
    16   that specific time.                                     16       A A year before.
    17       Q But Jessica Parrott is the same person --         17       Q What did you do when you learned the day
    18   withdrawn.                                              18   after that Ms. Heimbach, your current wife, deleted
    19           The person you claim deleted your VK            19   your VK account?
    20   account is the same person that notarized your          20       A We had an argument about it.
    21   interrogatory response, right?                          21       Q Did you tell anybody that that happened?
    22       A Yes.                                              22       A I don't recall.
    23       Q And you agree with me that Ms. Parrott            23       Q You don't recall doing so; is that your
    24   was aware that you were involved in litigation          24   testimony?
    25   concerning this case, right?                            25       A Yeah.


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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2        Q Did you notify Mr. Kolenich that your             2   recover it.
     3   wife had deleted documents that you were required to     3       Q Well, by that point, you had not
     4   preserve in this litigation?                             4   submitted your credentials to the third-party vendor,
     5        A I don't believe he was my attorney at the         5   right?
     6   time.                                                    6       A Yes.
     7        Q So is the answer to my question, no?              7       Q Did you make any efforts to recover any
     8        A I don't think I did.                              8   content from your VK account after your current wife
     9        Q Did you notify Plaintiffs that your               9   deleted it?
    10   current wife had deleted documents that you were        10       A No.
    11   required to preserve in this litigation?                11       Q Prior to your wife's deleting your VK
    12        A I didn't know I had to.                          12   account, did you make any effort to preserve any of
    13        Q Just listen to my question, Mr. Heimbach.        13   the content from your VK account?
    14        A Yes. And the answer would be no.                 14       A Well, I mean, I hadn't deleted it, so all
    15        Q Did you notify the court that your wife          15   the -- I mean, all the posts were public, and I
    16   had deleted documents that you are required to          16   hadn't deleted the account, so the private messages
    17   preserve in this litigation?                            17   would have existed.
    18        A No, because I didn't know that I was             18       Q The private messages would have existed?
    19   supposed to. I'm not a lawyer.                          19       A I believe so.
    20        Q Did you do anything other than speak to          20       Q So my question is: Prior to your wife
    21   your wife about the fact that your wife had deleted     21   having deleted your account, did you take any steps
    22   documents that you were required to preserve for this   22   to preserve the content of your VK account?
    23   litigation?                                             23       A No. I don't know how I would have done
    24        A No, because I believed in the discovery          24   that.
    25   process that the third-party vendor might be able to    25       Q Did you take any screen shots of anything



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                                                 Page 122                                                    Page 123
     1                 M. HEIMBACH                                1                  M. HEIMBACH
     2   you posted concerning Unite the Right on your VK         2      Q      Is that -- I see.
     3   account?                                                 3            And so is it your testimony that you had
     4       A No, but journalists and antifascists               4   a list of passwords near your computer sometime in
     5   have, which they've been publicly posted.                5   2019?
     6       Q Did you -- to be clear, you have not seen          6        A Yes.
     7   publicly posted anywhere the entire contents of your     7        Q And that included the password to your VK
     8   VK account, right?                                       8   account, right?
     9       A No.                                                9        A I believe so, yeah.
    10       Q And to be clear, you have not seen,               10        Q Did it include passwords to your Facebook
    11   anywhere, the content of private messages you sent      11   account?
    12   over VK anywhere, correct?                              12        A Yeah.
    13       A No.                                               13        Q Did it include a passwords to your Gab
    14       Q Did you take any steps to have the                14   account?
    15   contents of your VK account forensically imaged prior   15        A No.
    16   to the time that your wife deleted it in 2019?          16        Q What accounts were there passwords that
    17       A No.                                               17   you had listed on a list -- withdrawn.
    18       Q And you have made no efforts, ever, to            18            The list that you say was on your
    19   recover the contents from your VK account; isn't that   19   computer in 2019 that contained passwords and
    20   true?                                                   20   credentials to social media accounts --
    21       A Yeah, I guess.                                    21        A Yes.
    22       Q And how is it that your wife had access           22        Q -- what accounts were there credentials
    23   to your VK account?                                     23   to?
    24       A I just keep a list of all my passwords            24        A Gmail, Facebook, VK, Steam, the gaming
    25   near my computer.                                       25   platform. That's all I can recall off the top of my

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     1                M. HEIMBACH                                 1                M. HEIMBACH
     2   head.                                                    2       Q Twitter account?
     3           MR. BLOCH One moment.                            3       A Yes.
     4           THE WITNESS No problem.                          4       Q And did you say it did not include your
     5           MR. BLOCH I think we have a tape                 5   Gab account, credentials to your Gab account?
     6       change in three minutes.                             6       A I don't believe so.
     7           THE VIDEOGRAPHER This marks the                  7       Q Isn't it true, Mr. Heimbach, that you
     8       end of Media Number One in the deposition            8   represented to Plaintiffs and to the Court that that
     9       of Matthew Heimbach. The time is                     9   sheet of paper that had your log-in information to
    10       10 22 a.m.                                          10   Facebook and Twitter accounts was in that box that
    11                (Brief pause.)                             11   was destroyed in March of 2018?
    12           THE VIDEOGRAPHER This begins                    12       A Different sheets. I don't keep the same
    13       Video Two in the deposition of Matthew              13   passwords forever, especially for dead accounts.
    14       Heimbach. Time is 10 30 a.m.                        14   Like when you asked about Discord or, you know,
    15   BY MR. BLOCH                                            15   Facebook, which were deleted, there's no reason to
    16       Q Mr. Heimbach, we were talking when we             16   maintain those.
    17   broke about a sheet of paper that had your log-in       17           And it would have to be a really big
    18   information that was next to your computer in 2019,     18   sheet of paper to keep all the passwords I've ever
    19   right?                                                  19   had.
    20       A Yeah.                                             20       Q But isn't it true that you represented to
    21       Q And that sheet of paper that had the              21   the Court and Plaintiffs that the sheet of paper that
    22   log-in information that was next to your computer in    22   had your log-in information to your Facebook and
    23   2019 included credentials to your Facebook account,     23   Twitter accounts, in particular, was in that box that
    24   right?                                                  24   was thrown away in March of 2018?
    25       A Yeah.                                             25       A To the Facebook accounts in question



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                                                 Page 126                                                    Page 127
     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   involved to Unite the Right, yes.                        2       A Okay.
     3       Q So is the answer to my question, yes?              3       Q And did you also send that e-mail to the
     4       A We're talking about two different things           4   Court?
     5   here.                                                    5       A Yes.
     6       Q Listen to my question.                             6       Q And does that e-mail state -- and you
     7       A Right.                                             7   wrote this e-mail, right?
     8       Q Isn't it true that you represented to              8       A Uh-huh.
     9   Plaintiffs and the Court that there was a sheet of       9       Q And does it state, with respect to the
    10   paper that had your log-in information to your          10   box that was thrown away by your --
    11   Facebook and Twitter accounts that was in the box or    11       A Ex-wife.
    12   tub that was thrown away?                               12       Q -- ex-wife Quote, This would include a
    13       A We're talking about two different sheets.         13   sheet of paper that had my log-in information to my
    14   Different sets of accounts. I probably had -- I         14   Facebook and Twitter accounts in question.
    15   don't know -- three Facebooks that Facebook has shut    15           Did you write that?
    16   down.                                                   16       A Yes, because the one in relation to the
    17           (Heimbach Deposition Exhibit No. 15             17   accounts in question was thrown away.
    18       was marked for the record.)                         18       Q And is it your testimony that you created
    19   BY MR. BLOCH:                                           19   a new Facebook account?
    20       Q I'm showing you Exhibit 15.                       20       A After the one in question had been
    21           Is that an e-mail that you sent to me on        21   deleted, yes, but it also was shut down by Facebook.
    22   June 10th of this year?                                 22       Q And did you create a second Twitter
    23       A Yes. And again, we're talking about two           23   account?
    24   separate sheets.                                        24       A Yes.
    25       Q That's the only question.                         25       Q And didn't you send this to the Court as

                                                 Page 128                                                    Page 129
     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   a representation as to why you were not able to          2       Q Is it possible you posted anything
     3   access your Facebook and Twitter accounts?               3   concerning Traditionalist Worker Party on that
     4       A Yes. I'm not sure if I'm being clear,              4   account?
     5   but we're talking about different time periods.          5       A I can't recall.
     6           I'm poor, but I'm not too poor to not            6       Q Is it possible you posted anything
     7   have two pieces of paper to my name.                     7   concerning National Socialist Movement on that
     8       Q Did you -- what's the second Facebook              8   Facebook account?
     9   account you created?                                     9       A I can't recall.
    10       A That would have been after Unite the              10       Q Can you recall a single post that you
    11   Right. I think it was a similar log-in name with the    11   made on that second Facebook account after the tub
    12   e-mail.                                                 12   was thrown away?
    13       Q And did you post content about National           13       A No.
    14   Socialist Movement on that Facebook account?            14       Q When did -- was that account open?
    15       A I can't recall.                                   15       A I can't recall. But after the first one
    16       Q What did you post on that Facebook                16   was deleted.
    17   account?                                                17       Q Okay. So agree with me that sometime in
    18       A I can't recall.                                   18   the last year?
    19       Q Did you post anything related to white            19       A No. 2017. I mean, there was the fire
    20   nationalism on that Facebook account?                   20   storm that came down after Charlottesville, where
    21       A I can't recall.                                   21   basically everyone got banned from everything. So
    22       Q Is it possible that you posted anything           22   any things would have been post-Charlottesville, not
    23   concerning the Unite the Right rally on that Facebook   23   necessarily the last year. I don't know.
    24   account?                                                24       Q So you had two Facebook accounts prior to
    25       A I can't recall.                                   25   March of 2018?



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                                                 Page 130                                                   Page 131
     1                 M. HEIMBACH                                1                   M. HEIMBACH
     2        A Like, ever?                                       2   possible that both accounts could -- withdrawn.
     3        Q Yeah.                                             3            It's possible that both accounts included
     4        A Two active accounts, no.                          4   information concerning the events at issue in this
     5        Q What does that mean?                              5   case, right?
     6        A Because Facebook deleted the account, the         6        A No, not necessarily.
     7   primary account that I'd had since I was in high         7        Q Is it possible that both accounts
     8   school.                                                  8   included information concerning the events at issue
     9        Q What's the second account?                        9   in this case?
    10        A It was under the same name with the same         10        A I can't recall, so I can t be certain.
    11   e-mail, so when I requested from Facebook to provide    11        Q So the answer to my question is, yes,
    12   all information to Plaintiffs, that would have been     12   it's possible?
    13   covered.                                                13        A No, because I feel like that's a yes, and
    14        Q I'm sorry. Say that again?                       14   I really can't recall.
    15        A Well, when I requested from Facebook to          15        Q You're familiar with the social media
    16   provide you guys with all of the information in         16   platform Gab?
    17   relation to accounts that were tied to the same gmail   17        A Yeah.
    18   account that we've said a thousand times, that should   18        Q And users on Gab can send messages that
    19   have been --                                            19   are public, right?
    20        Q All the Facebook accounts that you had           20        A Yes.
    21   were tied to the same e-mail account?                   21        Q And messages that are private?
    22        A I believe so, yeah.                              22        A Yes.
    23        Q How many Facebook accounts did you have?         23        Q You had a Gab account?
    24        A I think two.                                     24        A Yes.
    25        Q And it's your testimony that it's                25        Q When did you create your Gab account?

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     1                 M. HEIMBACH                                1                M. HEIMBACH
     2       A I can't recall.                                    2       Q And what e-mail address did you use?
     3       Q It was prior to Unite the Right, correct?          3       A Matthew.w heimbach@gmail.com.
     4       A I don't recall.                                    4       Q And you had your own log-in and password
     5       Q Well, your user name on Gab was                    5   to your Gab account?
     6   @MatthewWHeimbach, right?                                6       A Yes.
     7       A I can't recall.                                    7       Q Other than @Matthew.W.Heimbach, did you
     8       Q Could you look at Exhibit 7.                       8   have any other Gab accounts?
     9       A Seven.                                             9       A I don't believe so.
    10       Q You agree, Mr. Heimbach, that on your             10       Q You've only ever had one Gab account in
    11   sworn interrogatory responses you stated that you had   11   your life?
    12   an account on Gab that you used to communicate about    12       A I think that was my user name. I don't
    13   the events at issue in this case?                       13   know. I might have had two. I don't recall.
    14       A Yes.                                              14       Q What sort of content did you post on Gab
    15       Q And that the user name was                        15   about Unite the Right?
    16   MatthewWHeimbach, right?                                16       A I don't recall.
    17       A Yup.                                              17       Q Could it have included planning about
    18       Q When you create a Gabin account --                18   Unite the Right?
    19   withdrawn.                                              19       A I don't recall.
    20          When you create a Gab account, do you            20       Q Is it possible you posted content on your
    21   associate it with an e-mail address?                    21   Gab account concerning how people should behave at
    22       A Yes.                                              22   Unite the Right?
    23       Q And that's to be able to retrieve your            23       A I don't recall.
    24   user name and password if you lose it?                  24       Q Did you send private messages on Gab?
    25       A Yes.                                              25       A I don't recall.



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                                                Page 134                                                      Page 135
     1                 M. HEIMBACH                                1                   M. HEIMBACH
     2       Q Were you in any groups on Gab?                     2   at that time?
     3       A I don't recall.                                    3        A Yes.
     4       Q Was there a group devoted to                       4        Q Who took that photo?
     5   Charlottesville?                                         5        A I don't know.
     6       A On Discord -- I don't know about Gab.              6        Q How did you get it to your Gab account?
     7       Q In 2017, you agree with me that you had            7        A I don't recall.
     8   hundreds of followers on Gab?                            8        Q Did you upload it?
     9       A I don't recall.                                    9        A Yes.
    10       Q Do you recall -- do you recall anything           10        Q From where?
    11   about your Gab account?                                 11        A I don't recall.
    12       A Not a whole lot.                                  12            (Heimbach Deposition Exhibit No. 17
    13          (Heimbach Deposition Exhibit No. 16              13        was marked for the record.)
    14       was marked for the record.)                         14   BY MR. BLOCH
    15   BY MR. BLOCH:                                           15        Q And I'm showing you Exhibit 17.
    16       Q Mr. Heimbach, I'm showing you Exhibit No.         16            Is this a screen shot of something you
    17   16.                                                     17   posted on Gab?
    18          Is this a screen shot of your Gab                18        A It looks like.
    19   account?                                                19        Q Is it?
    20       A Yup.                                              20        A Yes.
    21       Q And where was that photo taken?                   21        Q And you posted on Gab Quote,
    22       A Charlottesville.                                  22   Christopher Cantwell being denied bail over his
    23       Q At the Unite the Right rally?                     23   political briefs -- withdrawn.
    24       A Yes.                                              24            Christopher Cantwell being denied bail
    25       Q And you agree that you had 409 followers          25   over his political beliefs is proof that we live in

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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   Weimerica. Please support Chris and all the men          2   and I contacted Defendant Parrott to directly contact
     3   behind the wire.                                         3   Andrew Torba, the head of Gab, to try and recover the
     4           And then you wrote: You can write Chris          4   information.
     5   at Christopher Cantwell, Number 631424, 160 Peregory     5       Q So can you tell us how your Gab account
     6   Lane, Charlottesville, Virginia 22902.                   6   was deleted?
     7           And then you posted a link on YouTube.           7       A Yes, I mean, my now wife was, again, mad
     8   Correct?                                                 8   at me over a silly argument and she knew that I
     9       A Yes.                                               9   invested a lot of time in Gab, and she had deleted
    10       Q You posted that?                                  10   it.
    11       A Yes.                                              11       Q When you say you invested a lot of time
    12       Q Did you write Chris Cantwell letters              12   in Gab, what do you mean?
    13   while he was in jail?                                   13       A I spent a lot of time posting.
    14       A I can't recall.                                   14       Q And despite the fact that you invested a
    15       Q It's possible?                                    15   lot of time in Gab, you can't recall a single post
    16       A Possible.                                         16   you ever posted on Gab?
    17       Q Where are those letters?                          17       A Besides the ones you're showing me.
    18       A I don't know.                                     18       Q And when did this argument happen with
    19       Q Is your Gab account still active,                 19   your wife?
    20   Mr. Heimbach?                                           20       A I don't recall.
    21       A No.                                               21       Q And when you say your wife, who are you
    22       Q What happened to it?                              22   referring to?
    23       A Oddly enough -- and it's not the best --          23       A Jessica.
    24   but a similar argument situation broke out and my Gab   24       Q Well, approximately, when was your Gab
    25   account was deleted, which I did, however, e-mail Gab   25   account deleted?



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                                               Page 138                                                    Page 139
     1                M. HEIMBACH                               1                  M. HEIMBACH
     2       A Last -- I don t recall. You guys would           2        Q You agree with me that it happened in the
     3   probably know better than me.                          3   last year, right?
     4       Q Last what?                                       4        A Not necessarily.
     5       A I don't recall.                                  5        Q Well, you were arrested for domestic
     6       Q Was it in 2018?                                  6   violence against Brooke Heimbach in March of 2018,
     7       A Potentially.                                     7   right?
     8       Q Well, when did -- it was after Jessica           8        A Right.
     9   Parrott became your wife, right?                       9        Q And were you living with Jessica Parrott
    10       A No.                                             10   at the time?
    11       Q Well, didn't you say your wife deleted          11        A No.
    12   your account?                                         12        Q So you moved in with Jessica Parrott
    13       A Well, she's my wife now.                        13   sometime after March of 2018, right?
    14       Q Was it after you had separated from             14        A Right, which wouldn't -- it'd just be a
    15   Brooke Heimbach?                                      15   year.
    16       A Yes.                                            16        Q Okay. But it's your testimony that,
    17       Q And were you living with Jessica Parrott        17   despite the fact that you moved in with your current
    18   at the time?                                          18   wife sometime in the last year and about six months,
    19       A At that time, yes.                              19   you don't remember when that was?
    20       Q And so when did you move in with Jessica        20        A No. But I do remember her birthday, so I
    21   Parrott?                                              21   get points for that.
    22       A I don't recall.                                 22        Q So is the answer to my question, no?
    23       Q You don t recall when you moved in with         23        A No.
    24   your wife?                                            24        Q And so how long after you moved in with
    25       A No.                                             25   Jessica Parrott did she delete your Gab account?

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     1                 M. HEIMBACH                              1                M. HEIMBACH
     2         A   I don't recall.                              2       A It was a long time ago. Do you remember
     3         Q   Well, what was the argument that led to      3   every argument you've ever had with a spouse or when
     4   it?                                                    4   you guys moved in together?
     5       A I don't recall.                                  5       Q Did Jessica Parrott have access -- well,
     6       Q How do you recall -- do you recall               6   withdrawn.
     7   anything about this incident where your wife, you      7           How did Jessica Parrott have access to
     8   say, deleted your Gab account?                         8   your Gab credentials?
     9       A No.                                              9       A Well, I was auto logged in, so, I mean, I
    10       Q Are you even sure that that's how your          10   guess hypothetically, we had had numerous house
    11   Gab account got deleted?                              11   guests as well, so I mean --
    12       A I'm pretty sure.                                12       Q I'm not asking for hypotheticals,
    13       Q But not totally sure?                           13   Mr. Heimbach.
    14       A Pretty sure.                                    14       A You've asked a lot of hypotheticals.
    15       Q Can you say with certainty that Jessica         15       Q Did Ms. Parrott have access to your Gab
    16   Parrott deleted your Gab account?                     16   credentials?
    17       A Not with a hundred percent.                     17       A Anyone who entered my home would have had
    18       Q So it's fair to say you're not entirely         18   access, yeah, because it was logged in.
    19   sure how your Gab account got deleted, right?         19       Q I see. So you just left your computer
    20       A Yes.                                            20   open with your social media accounts open to anybody
    21       Q And yet, you claim to have some                 21   who happened to come in your house; is that your
    22   recollection of an argument that led to Ms. Parrott   22   testimony?
    23   deleting your Gab account?                            23       A I lived in a holler.
    24       A I believe so, yeah.                             24       Q I'm sorry?
    25       Q But you're not sure?                            25       A I lived in a holler. Not a whole lot of



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     1                  M. HEIMBACH                              1                 M. HEIMBACH
     2   people coming up there.                                 2   could get Andrew Torba to restore the account and
     3        Q So the answer to my question is, yes, you        3   retrieve the data.
     4   left your computer open and with the --                 4       Q And how did you contact Mr. Parrott?
     5        A Yes.                                             5       A I don't recall.
     6        Q -- social media account open to anybody          6       Q Did you ever contact -- well, was
     7   who wanted to come use it?                              7   Mr. Parrott or Mr. Torba able to restore your Gab
     8        A Yes.                                             8   account?
     9        Q And your testimony is that Jessica               9       A Mr. Torba was not.
    10   Parrott, in response to some argument, decided to      10       Q Did you speak to him?
    11   delete your Gab account, right?                        11       A No.
    12        A I believe so.                                   12       Q So how do you know he was not able to?
    13        Q But you don't know?                             13       A I believed Mr. Parrott.
    14        A Love's a messy thing.                           14       Q I see. So you spoke to Mr. Torba through
    15        Q At any time -- what did you do when you         15   Mr. Parrott?
    16   learned that your Gab account -- well, do you recall   16       A Well -- yes.
    17   learning that your Gab account was deleted?            17       Q Why didn't you contact Mr. Torba directly
    18        A Yeah, when I tried to go to it.                 18   or write to Gab and ask them to restore your account?
    19        Q And when was that?                              19       A I believe I might have sent an e-mail, in
    20        A After it was deleted.                           20   which point then I contacted Defendant Parrott to go
    21        Q And when was that?                              21   in the back end. And, you know, Mr. Torba is a
    22        A I don't recall.                                 22   fellow nerd and tech guy.
    23        Q And when you learned it was deleted, what       23       Q When did you contact Mr. Parrott about
    24   did you do?                                            24   this?
    25        A Contacted Defendant Parrott to see if he        25       A I don't recall exactly.

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     1                 M. HEIMBACH                               1                 M. HEIMBACH
     2      Q Was it in 2018?                                    2       A I mean, the CEO of the company in
     3      A Yes.                                               3   question, you know.
     4      Q Was it mid 2018?                                   4       Q You spoke personally with Mr. Torba?
     5      A I don't recall.                                    5       A Well, no, I'm saying I relayed a message
     6      Q Who is Andrew Torba?                               6   through Mr. Parrott. So --
     7      A The CEO of Gab.                                    7       Q Okay. So my question is Did you ever
     8      Q Do you know him personally?                        8   speak to anybody other than Mr. Parrott about the
     9      A No.                                                9   fact that your Gab account had been deleted?
    10      Q Does Mr. Parrott?                                 10       A I don't believe so.
    11      A To some extended degree, I believe.               11       Q Prior to your Gab account being deleted,
    12      Q But you were in communication with                12   did you ever take any screen shots of the content
    13   Mr. Parrott in 2018?                                   13   that concerned Unite the Right?
    14      A Yes.                                              14       A I didn t know I had to.
    15      Q Did you ever report to the Court that             15       Q Did you ever take screen shots of the
    16   your Gab account had been deleted?                     16   content that concerned Unite the Right?
    17      A I didn't know I had to.                           17       A No, because I didn't know I had to.
    18      Q Did you ever report to the Court that             18       Q You didn't know in 2018 that you had an
    19   your Gab account had been deleted?                     19   obligation to preserve the content of the documents
    20      A No, because I didn t know I had to.               20   that you created that concerned Charlottesville; is
    21      Q Did you ever report to Plaintiffs that            21   that your testimony?
    22   your Gab account had been deleted?                     22       A Well, no, but I'm saying I didn't know I
    23      A No, because I didn t know I had to.               23   had to take screen shots of all my posts. That seems
    24      Q Did you report to anybody, other than             24   like an arduous burden.
    25   Mr. Parrot, that your Gab account had been deleted?    25       Q Did you take any step at all to preserve



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                                                 Page 146                                                     Page 147
     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2   the content of your Gab account before it was            2       Q Did Mr. Kolenich ever tell you that you
     3   deleted?                                                 3   had to preserve documents?
     4       A Not that I can think of. I don't know              4       A I don t recall all of our conversations,
     5   what form that would exactly take.                       5   no.
     6       Q Do you -- withdrawn. Did you                       6       Q Mr. Heimbach, when you say -- well,
     7   understand -- withdrawn.                                 7   you -- you claim that you reached out to Mr. Torba
     8           Is it your testimony that you did not            8   through Mr. Parrott in 2018, right?
     9   understand, in 2018, that you had an obligation to       9       A I believe so, yes.
    10   preserve the content of your documents concerning       10       Q And was it your understanding, in 2018,
    11   Charlottesville?                                        11   that Mr. Torba was not able to recover the content of
    12       A I had not fully evaluated the -- if you           12   your Gab account?
    13   guys have it off the top of your head, what the         13       A That was my understanding.
    14   number was.                                             14       Q And you learned that sometime in 2018,
    15       Q Do you mean the requests for production?          15   right?
    16       A Indeed.                                           16       A Yes.
    17       Q And nobody told you prior to -- nobody            17       Q On July 7th, 2019, did you send me an
    18   told you at any time -- withdrawn.                      18   e-mail with a screen shot of a request to Gab?
    19           Did anybody tell you at any time that you       19       A I believe so.
    20   had an obligation to preserve your documents?           20       Q And that was a request that you made to
    21       A I don't recall.                                   21   Gab sometime in the last two months, right?
    22       Q You don t recall anybody ever telling you         22       A Yes.
    23   that you had an obligation to preserve documents in     23       Q And you sent Plaintiffs a screen shot of
    24   this case?                                              24   that request to Gab to show your efforts to recover
    25       A I don't recall.                                   25   your Gab account, right?

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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2       A Yeah.                                              2   at the time you recently sent Gab another e-mail?
     3       Q And isn't it true that at the time sent            3        A Well, again, things could change.
     4   that screen shot to Gab, you already knew that Gab       4        Q You're not going to answer that question?
     5   was not able to recover the content of your account?     5        A No, but I feel like you're not listening,
     6       A It's a constantly changing company. I              6   where it's always worth another try, isn't it? With
     7   thought it was worth another shot to be as               7   expanding infrastructure, the fund raising they've
     8   cooperating as possible with the process.                8   done.
     9       Q So when you sent the e-mail to Gab                 9        Q Is Mr. Torba still the CEO of Gab?
    10   recently, you had already learned from the CEO of the   10        A I don't know. I think so.
    11   company that your account was not recoverable, right?   11        Q Did you ever receive a response from your
    12       A I attempted to do it directly to show a           12   recent e-mail to Gab?
    13   good faith effort.                                      13        A Yes.
    14       Q I need you to answer my question.                 14        Q What was the response?
    15           When you sent the e-mail to Gab in the          15        A That it was not recoverable.
    16   last couple months to purportedly attempt to recover    16        Q When did you receive that?
    17   the content of your account, you had already heard      17        A Whenever I sent you the screen shot. I
    18   from the CEO of the company that the content was not    18   think it was the same day or within a close period.
    19   recoverable, right?                                     19        Q You have an e-mail in your gmail account
    20       A Well, I'm essentially a tech Luddite, so          20   right now from Gab that says the account is not
    21   I thought I would give it another shot. I didn't        21   recoverable?
    22   know, maybe things had changed.                         22        A I believe so.
    23       Q I need a yes or no to that question.              23        Q I'm going to ask that you produce that
    24           Did you understand from Mr. Torba that          24   e-mail.
    25   the content from your Gab account was not recoverable   25        A Okay.



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     1                 M. HEIMBACH                                1                  M. HEIMBACH
     2       Q Are you familiar with the Daily Stormer?           2       A Yes.
     3       A Unfortunately.                                     3       Q And is that a screen shot of a posting
     4       Q And why do you say unfortunately?                  4   that you made on Daily Stormer?
     5       A I mean, Andrew Anglin's part of my                 5       A Yeah. Very sad. I had a misspelling in
     6   language, but he's an asshole.                           6   this, so that's kind of embarrassing.
     7       Q And is the Daily Stormer a white                   7       Q And your account name on Daily Stormer
     8   nationalist message board?                               8   was MatthewHeimbach, one word, right?
     9       A No, I would more put that in the white             9       A Yes.
    10   supremacist category, which is very different.          10       Q And did anyone else have access to your
    11       Q And you can post comments to things that          11   account to post content on the Daily Stormer?
    12   are posted on the Daily Stormer, right?                 12       A I don't believe so.
    13       A Once upon a time, yes. They've changed            13       Q And you posted what we see in Exhibit
    14   their process, I believe.                               14   32 --
    15       Q Okay. Well, you had an account on Daily           15       A Yes.
    16   Stormer, right?                                         16       Q Sorry.
    17       A Yes.                                              17            You posted what we see in Exhibit 18,
    18       Q And your user name on that account was            18   right?
    19   MatthewHeimbach, right?                                 19       A Yes. You're getting ahead of yourself.
    20       A I guess. I don't know.                            20       Q I suspect we'll get there.
    21           (Heimbach Deposition Exhibit No. 18             21            And you agree with me that you posted
    22       was marked for the record.)                         22   content to the Daily Stormer that concerned Unite the
    23   BY MR. BLOCH                                            23   Right, right?
    24       Q Mr. Heimbach, I'm showing you Exhibit 18.         24       A I guess. I hadn't even remembered that I
    25           Do you see that?                                25   posted on the Stormer up until this moment. It's

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     1                 M. HEIMBACH                                1                  M. HEIMBACH
     2   kind of a blast from the past.                           2       Q Isn't that a fair inference from the
     3       Q Well, other than that -- well, that                3   post?
     4   particular post states that you were not the lead        4       A Well, yeah, but I'm not exactly sure of
     5   organizer, right?                                        5   the date, so --
     6       A That is true.                                      6       Q Do you still have access to your Daily
     7       Q And that's about Charlottesville, right?           7   Stormer account?
     8       A Yes.                                               8       A I don't believe so.
     9       Q And what else did you post in relation to          9       Q And when is the last time you logged on
    10   Charlottesville?                                        10   to Daily Stormer?
    11       A I don't know.                                     11       A It's been a long time. I don't recall.
    12       Q When did you open your account on Daily           12   I mean, I can try.
    13   Stormer?                                                13       Q Well, Daily Stormer requires credentials
    14       A I don't know.                                     14   to log into, right?
    15       Q And can you send private messages on              15       A Yeah, I think it's not -- I don't really
    16   Daily Stormer?                                          16   recall. It might be -- I think it's another -- well,
    17       A I don't know.                                     17   at the time, I believe it was a different service to
    18       Q You don't know?                                   18   make comments on news articles that they were using.
    19       A Uh-uh.                                            19   But they've changed formats several different times,
    20       Q You agree with me that you posted the --          20   so I can't really recall the set-up process.
    21   withdrawn.                                              21       Q When -- but do you know if you have
    22           You agree with me that you opened the           22   access to content on the Daily Stormer?
    23   account on Daily Stormer prior to the Unite the Right   23       A No.
    24   event?                                                  24       Q Is your -- withdrawn.
    25       A I assume so.                                      25            Is your Daily Stormer account active?



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     1                  M. HEIMBACH                              1                 M. HEIMBACH
     2       A I don't know.                                     2       Q Did you have a YouTube account?
     3       Q You didn't check your Daily Stormer               3       A Yes.
     4   account when you were asked to produce documents in     4       Q And you need credentials to get into your
     5   this case; is that true?                                5   YouTube account, right?
     6       A I didn't even remember that I had a Daily         6       A Yes.
     7   Stormer commenting account.                             7       Q Did anyone else have access to those
     8       Q So the answer to my question is, no, you          8   credentials?
     9   had never checked the Daily Stormer account to          9       A No.
    10   attempt to produce responsive content in this case?    10       Q When did you open your YouTube account?
    11       A No. I mean going back over a year, I             11       A I can't recall, but it's been a while.
    12   didn't even think about it.                            12       Q You had videos on your YouTube account,
    13       Q Mr. Heimbach, I'm going to need you to           13   right?
    14   answer my question. You can provide an explanation     14       A Yes.
    15   if you want.                                           15       Q You agree with me that you opened your
    16            Did you check the Daily Stormer account       16   YouTube account prior to Unite the Right, right?
    17   at any point to see if there was responsive content    17       A Yes.
    18   in relation to this case?                              18       Q And your YouTube account had videos that
    19       A No, but I'd be happy to do so going              19   concerned Unite the Right, right?
    20   forward, if it's still available.                      20       A No, I can't recall.
    21       Q Have you taken any steps at all to               21       Q Is it possible that your YouTube account
    22   preserve the content of what you posted on the Daily   22   had videos that concerned Unite the Right?
    23   Stormer about Unite the Right?                         23       A I really don't think so, given that the
    24       A No, because I had forgotten I even had a         24   Traditionalist Worker Party had a YouTube account
    25   commenting out there.                                  25   where content like that would have been posted.

                                                Page 156                                                    Page 157
     1                 M. HEIMBACH                               1                M. HEIMBACH
     2       Q So you had -- there were videos of you            2        A I can't recall.
     3   discussing Unite the Right on the Traditionalist        3        Q What videos were posted on your YouTube
     4   Worker Party YouTube account, right?                    4   account?
     5       A I can't recall specifics, but I never had         5        A I think there were a few of me talking.
     6   credentials, to the best of my knowledge, to said       6        Q About?
     7   YouTube account.                                        7        A White nationalism.
     8       Q You're saying you never had credentials           8        Q Any talking about Traditionalist Worker
     9   to the Traditionalist Worker YouTube account?           9   Party?
    10       A I don't believe so.                              10        A I can't recall. Primarily, because all
    11           (Heimbach Deposition Exhibit No. 19            11   of our content was going on the official
    12       was marked for the record.)                        12   Traditionalist Worker Party YouTube account.
    13   BY MR. BLOCH                                           13        Q Well, what videos did you post on your
    14       Q I'm showing you Exhibit 19.                      14   YouTube account that concerned white nationalism?
    15           Do you recognize that?                         15        A I gave a speech at the Council of
    16       A Yes.                                             16   Conservative Citizens in Maryland in 2014, maybe. I
    17       Q What is that?                                    17   gave a speech at Camp Camaraderie on behalf of the
    18       A It's a picture of me doing a video.              18   Traditionalist Youth Network, which is a separate
    19       Q And what's the video about?                      19   organization, back in 2014, I believe. Not a whole
    20       A Unite the Right.                                 20   lot.
    21       Q And where was that posted?                       21        Q Do you agree with me that you posted
    22       A The Traditionalist Worker Party YouTube,         22   videos that concern the National Socialist Movement?
    23   not mine.                                              23        A No. I don't recall any.
    24       Q Was that video also posted on your               24        Q Can you testify with any certainty that
    25   YouTube account?                                       25   there was never a video on your YouTube account that



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     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2   concerned the events at issue in this case?              2   So they're there, I believe. Another third-party
     3        A I can't recall. You'd probably know               3   vendor has the credentials through my Google account
     4   better than I would.                                     4   to access it.
     5        Q Prior to the videos being uploaded to             5       Q What does that mean, through your Google
     6   your YouTube account, where were they?                   6   account?
     7        A To my YouTube account? In different               7       A Well, because it's the same credentials
     8   formats. I had filmed a talk in Indiana University,      8   because they're the same company.
     9   in Bloomington, in 2014, which isn't even about white    9       Q Did you list your YouTube account on your
    10   nationalism. That was on a really cruddy camera that    10   certification you filled out in this case?
    11   I had that I ended up losing in Weinheim, Germany,      11       A No, because I don't believe there was
    12   which was pretty lame.                                  12   anything in relation to the subject at hand.
    13           But I can't recall in terms of my YouTube       13       Q Did you ever check the content of the
    14   account because we didn't really use it for party       14   videos on your YouTube account to see if there's
    15   business.                                               15   anything in relation to the subject at hand?
    16        Q Do you still have access to your YouTube         16       A When I have, I hadn't seen anything.
    17   account?                                                17       Q My question is: Did you ever check?
    18        A Yes.                                             18       A Yes.
    19        Q Are there still videos on your YouTube           19       Q When?
    20   account?                                                20       A I can't recall.
    21        A A lot of them got taken down, I believe,         21       Q Approximately?
    22   by YouTube.                                             22       A I don't know. In the last couple of
    23        Q When?                                            23   months.
    24        A I mean, over the last -- I don't know --         24       Q And you have access to your account right
    25   I think -- I never really uploaded very much to it.     25   now?


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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2       A Yeah.                                              2   Defendant Parrott's wheelhouse.
     3       Q And it still has videos on it?                     3       Q And you're in communication with him,
     4       A I believe so.                                      4   right?
     5       Q Any problem with us taking a look at it            5       A I could be, if you want me to be.
     6   during the break?                                        6       Q My question is: Are you in communication
     7       A No, that's fine.                                   7   with Defendant Parrott?
     8       Q Did you have credentials to the TWP                8       A On a regular basis, yes.
     9   YouTube account?                                         9       Q Did you ever ask him for Unite the Right
    10       A I don t believe so.                               10   related videos from the YouTube account in connection
    11       Q It's possible?                                    11   with your production efforts in this case?
    12       A Hypothetically.                                   12       A Considering it wasn't my account, no, I
    13       Q But you agree with me that that account           13   don't believe so, but I can't recall.
    14   had -- had -- withdrawn.                                14       Q What is therightstuff.biz?
    15           The Traditionalist Worker Party YouTube         15       A It's a website that hosts articles and
    16   account had content related to Unite the Right,         16   podcasts.
    17   right?                                                  17       Q And you had credentials to that website,
    18       A Yes, but I don't believe I ever had the           18   right?
    19   credentials for it.                                     19       A Once upon a time.
    20       Q So the answer to my question is, yes,             20       Q When?
    21   right?                                                  21       A Back when they had a forum, that they
    22       A Yes.                                              22   deleted.
    23       Q And do you know if that account still             23       Q When was that? I need a date.
    24   exists?                                                 24       A I can't recall.
    25       A I have no idea. That would be in                  25       Q Can you tell me a year when you had



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     1                 M. HEIMBACH                              1                  M. HEIMBACH
     2   access to therightstuff.biz?                           2       A Yeah, but I never posted them.
     3       A 2017, maybe.                                     3       Q And you agree that some of those podcasts
     4       Q And do you still have an account on              4   concerned the events at issue in this case, right?
     5   therightstuff.biz?                                     5       A Potentially.
     6       A They deleted their forum, so I don't             6       Q You don't recall, as you sit here today?
     7   believe anyone has any accounts.                       7       A I don't. It's been a minute.
     8       Q So do you still have an account on               8           (Heimbach Deposition Exhibit No. 20
     9   therightstuff.biz?                                     9       was marked for the record.)
    10       A I don't believe so because they deleted         10   BY MR. BLOCH
    11   their forum.                                          11       Q I'm showing you Exhibit 20.
    12       Q You agree with me that there is content         12           Is this a screen shot of
    13   on therightstuff -- withdrawn.                        13   therightstuff.biz?
    14           There's content on therightstuff.biz that     14       A Yes.
    15   you have access to -- withdrawn.                      15       Q And is there a -- and this was something
    16       A No.                                             16   you had access to at one point, right?
    17       Q Do you agree that there is content on           17       A I don't believe so.
    18   therightstuff.biz that you had access to that         18       Q This is a post from February 2018?
    19   concerned the Unite the Right event, right?           19       A Yeah -- well this isn't the forum. The
    20       A I can't recall.                                 20   forum was a separate thing.
    21       Q Did you post podcasts to                        21           Tony Hovater was the one who handled
    22   therightstuff.biz?                                    22   uploading all the files, and I believe he had
    23       A I never posted the podcasts.                    23   credentials. I don't recall ever having them.
    24       Q Did you do podcasts that got posted to          24       Q Well, this shows a podcast that you and
    25   therightstuff.biz?                                    25   Tony Hovater were in, correct?

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     1                  M. HEIMBACH                             1                  M. HEIMBACH
     2       A Yes.                                             2   recall.
     3       Q And that podcast discusses the events at         3        Q Okay. But you agree with me that you had
     4   issue in this case, at some level, right?              4   a -- log-in credentials to therightstuff.biz that
     5       A I don't recall.                                  5   allowed you to make comments that concerned the Unite
     6       Q Well, you agree that this podcast                6   the Right; isn't that true?
     7   discusses the lawyer that you had in this case?        7        A I suppose.
     8       A I assume so, based on the -- based on            8        Q Well, do you agree -- you see a -- on
     9   this. I don't recall the episode.                      9   page four, there's a post by you, right?
    10       Q Okay. And does this post from                   10        A Yeah. I don't wrote exactly know the
    11   therightstuff.biz also include, on the next page, a   11   specifics of what commenting required in terms of if
    12   message that says, Help Out Our POWs?                 12   it was a third-party service or if it was posted on
    13       A Yes.                                            13   hosted on the site. I can't recall.
    14       Q And the POWs are Alex Ramos, James              14        Q Did you have the account Heimbach on
    15   Fields, Jake Goodwin and Daniel Borden and William    15   therightstuff.biz?
    16   Planer, right?                                        16        A I don't recall, but I assume so based on
    17       A Yes.                                            17   this.
    18       Q And you agree that some of those folks          18        Q Well, nobody else had access to your
    19   are related to the Unite the Right event, right?      19   rightstuff.biz credentials, right?
    20       A Yes.                                            20        A I don't believe so.
    21       Q And are you saying that you didn't have         21        Q So do you agree with me that you posted
    22   access to make comments on this posting?              22   this comment that we see in Exhibit 20?
    23       A I don't recall. I assume there's going          23        A Sure. Yes.
    24   to be some. Oh, there we go.                          24        Q And you agree that this comment falls
    25           Yeah, I guess I did. I just don't             25   under a comment thread about an episode of the



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                                                Page 166                                                     Page 167
     1                 M. HEIMBACH                               1                 M. HEIMBACH
     2   podcast that, in some part, concerned Unite the         2   BY MR. BLOCH
     3   Right, correct?                                         3       Q Did you write the content on that post,
     4       A Sure.                                             4   Help Our -- Help Out Our POWs?
     5       Q Do you still have access to your                  5       A No, Tony Hovater did, because he was the
     6   rightstuff.biz account?                                 6   one who posted it, as you can see on page one.
     7       A I don't believe so, because the mobs of           7       Q And Tony Hovater was a member of
     8   therightstuff deleted all the Action podcasts, their    8   Traditionalist Worker Party, right?
     9   forum and associated accounts, I believe, but that      9       A Yes.
    10   would be, you know, on them.                           10       Q Did you take any steps to preserve the
    11       Q When did that happen?                            11   content of what was posted on therightstuff.biz,
    12       A Right after this episode aired, actually,        12   ever?
    13   in terms of deleting all the content off.              13       A Well, I didn't exactly plan on them
    14       Q And this -- how did you become aware that        14   deleting all the content out of hand, so no. I was
    15   that happened?                                         15   under the assumption that the content would remain
    16       A I don't recall.                                  16   where it was and continue to be expanded upon.
    17       Q Did you get an e-mail about it?                  17       Q Did you ever alert your attorney to
    18       A I don't recall.                                  18   content that was on rightstuff.biz that was
    19           MR. BLOCH Can somebody on the                  19   responsive to this case?
    20       phone go on mute? There's a lot of noise           20       A No, because I had forgotten that these
    21       coming through the speaker. So if                  21   even existed.
    22       somebody who is making all noise --                22       Q Are you aware of any steps taken by you
    23           MR. DINUCCI I was on mute. It                  23   or any counsel to preserve any of the content from
    24       wasn t me.                                         24   therightstuff.biz?
    25           MR. BLOCH Okay.                                25       A Well, considering I didn't post this, I

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     1                 M. HEIMBACH                               1                 M. HEIMBACH
     2   figured that would fall under Tony Hovater, so no, I    2       A No.
     3   didn't.                                                 3       Q Is that correct?
     4       Q Are you aware of whether Mr. Tony Hovater         4       A Yeah, I don't recall.
     5   took any such steps?                                    5       Q So it's possible that you posted content
     6       A No idea.                                          6   that concerned the events at issue in this case on
     7       Q What is Iron March?                               7   Iron March, right?
     8       A It is a former forum.                             8       A I don't recall.
     9       Q And it's a social media network, right?           9       Q Do you agree with me that you posted
    10       A Well, yeah, it was.                              10   content on Iron March concerning Traditionalist
    11       Q And you read Iron March?                         11   Worker Party?
    12       A Well, it doesn't exist anymore, so --            12       A I don't recall any of my posts.
    13       Q You have read Iron March?                        13       Q So it's possible that you posted content
    14       A Yes.                                             14   concerning Traditionalist Worker Party on Iron March,
    15       Q And you had an account on Iron March,            15   right?
    16   right?                                                 16       A I could have posted things about Big
    17       A Yes.                                             17   Foot, I suppose.
    18       Q And you posted content on Iron March,            18       Q In addition to things -- did you post
    19   right?                                                 19   things about Big Foot?
    20       A Yes.                                             20       A I can't recall.
    21       Q And you posted content that concerned the        21           (Heimbach Deposition Exhibit No. 21
    22   events at issue in this case, correct?                 22       was marked for the record.)
    23       A I can't recall.                                  23   BY MR. BLOCH:
    24       Q And that's because you don't recall any          24       Q I'm showing you Exhibit 21.
    25   of the content you posted on Iron March?               25           This is a shot of some posts from



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                                                Page 170                                                    Page 171
     1                 M. HEIMBACH                               1                 M. HEIMBACH
     2   Discord, including posts by you, correct?               2   you've made posts on Iron March that concern the
     3       A Let me take a look at it.                         3   Traditionalist Worker Party?
     4           It looks like.                                  4       A No.
     5       Q And the third post from the bottom is             5       Q Do you still have access to your Iron
     6   somebody named Estalia. And Estalia wrote on May        6   March account?
     7   23rd, 2017: Quote, The TWP does some really neat        7       A No, because the individual who created
     8   stuff and I've really enjoyed your posting on IM,       8   Iron March deleted everything and is off living his
     9   Matt. I'm glad to be here.                              9   best life somewhere in the Russian Federation.
    10           Do you see that?                               10       Q And who is that that created Iron March?
    11       A Yes.                                             11       A Slavaros.
    12       Q And then two posts down, you wrote, on           12       Q And are you -- do you know Slavaros?
    13   May 23rd, 2017, approximately 25 seconds later: Glad   13       A No.
    14   to have you here. Getting our Discord up and running   14       Q How do you spell Slavaros?
    15   and regional coordinators is going to make us much     15       A S-L-A-V-A-R-O-S.
    16   more effective on a national level.                    16       Q And when did Slavaros delete the content
    17           Right?                                         17   to Iron March?
    18       A Yup.                                             18       A I can't recall. I mean, it was in the
    19       Q And you believe that Estalia is                  19   news. I'm sure you can just look it up.
    20   referencing a post that you made on Iron March?        20       Q Can you give us a year?
    21       A I assume so.                                     21       A No.
    22       Q Because IM is, most likely, Iron March           22       Q Was it after Unite the Right?
    23   right?                                                 23       A I can't recall.
    24       A Most likely.                                     24       Q Did you take any steps at any time to
    25       Q Does that refresh your recollection that         25   preserve the content of what you posted on Iron

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     1                M. HEIMBACH                                1                 M. HEIMBACH
     2   March?                                                  2   keep you posted. Thank you, Comrade. P.S. Be sure
     3       A Well, I didn't really expect the fellow           3   to check your spam filter. My hatreon confirmation
     4   to have a nervous breakdown and delete everything.      4   ended up there.
     5   So the answer would be, no.                             5           Did you write that on Gab?
     6       Q Are you familiar with PayPal?                     6       A I believe so.
     7       A Yes.                                              7       Q Did you?
     8       Q What's PayPal?                                    8       A Yes.
     9       A It's a fund transferring site.                    9       Q And Cville means Charlottesville, right?
    10       Q And you had a PayPal account, right?             10       A Indeed.
    11       A Many moons ago.                                  11       Q And so, what were you referring to when
    12       Q Well, you had a PayPal account before            12   you said, After Cville my PayPal account was shut
    13   Unite the Right Charlottesville, right?                13   down sadly?
    14       A I can't recall.                                  14       A I don't remember if this was a 32 account
    15           (Heimbach Deposition Exhibit No. 22            15   or one that was related to the Traditionalist Worker
    16       was marked for the record.)                        16   Party. I can't recall.
    17   BY MR. BLOCH:                                          17       Q But you agree that you had a PayPal
    18       Q I'm showing you Exhibit 22. And that's a         18   account that was open before Charlottesville, right?
    19   Gab post that you made, right?                         19       A I can't recall but, based on this,
    20       A I guess, yeah.                                   20   I would assume so.
    21       Q Is it?                                           21       Q And did you raise money on PayPal for
    22       A Yes.                                             22   Unite the Right?
    23       Q And you wrote on Gab: After Cville, my           23       A I don't recall.
    24   PayPal account was shut down sadly. We are opening a   24       Q You don't recall that?
    25   new P.O. Box in the next few days actually, so I'll    25       A No.



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                                                Page 174                                                     Page 175
     1                 M. HEIMBACH                               1                  M. HEIMBACH
     2       Q Did you raise money on the Traditionalist         2        A I don't recall.
     3   Worker Party PayPal account for Unite the Right?        3        Q Do you agree that it's possible?
     4       A I don't recall.                                   4        A Anything is possible. This is America.
     5       Q Do you have any recollection as to how            5        Q Did you make any efforts to check whether
     6   you raised money for Unite the Right?                   6   your PayPal account had content concerning Unite the
     7       A No.                                               7   Right?
     8       Q Did you raise money for Unite the Right?          8        A The -- any of the PayPal accounts, I
     9       A I don't recall.                                   9   believe, were shut down by PayPal themselves, so I
    10       Q Do you recall anything about --                  10   don't believe there was an opportunity.
    11   withdrawn.                                             11        Q Did you reach out to PayPal and see if
    12       A However, based upon infrastructure, that         12   you could recover the content from your PayPal
    13   would probably be a question for Mr. Parrott.          13   account?
    14       Q Do you agree with me that on PayPal, when        14        A Well, until this moment, I had forgotten
    15   somebody sends funds, they can include messages with   15   a PayPal had even existed, but I would be happy to do
    16   the funds, right?                                      16   that.
    17       A I don't recall.                                  17        Q So is the answer to my question, no?
    18       Q Do you -- you don't recall how PayPal            18        A No, I hadn't even thought about PayPal in
    19   works?                                                 19   a very long time.
    20       A No.                                              20        Q Mr. Heimbach, when you filled out your
    21       Q Do you still have a PayPal account?              21   interrogatory response on Exhibit 7 that asked you to
    22       A No.                                              22   list the social media accounts that had responsive
    23       Q Do you recall if there were messages sent        23   content, what did you do to determine which social
    24   over your PayPal account that concern Unite the        24   media accounts you had used that include responsive
    25   Right?                                                 25   content?


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     1                 M. HEIMBACH                               1                  M. HEIMBACH
     2       A Oh, I just thought of it off the top of           2        A I believe so.
     3   my head.                                                3        Q And did you raise money on your GoyFundMe
     4       Q How long did you spend on it?                     4   account for Unite the Right?
     5       A Oh, ages. No. I don't know. I can't               5        A I don't recall.
     6   recall.                                                 6        Q And the GoyFundMe account includes a
     7       Q Seconds?                                          7   messaging function?
     8       A I can't recall. Time is a relative                8        A I don't recall.
     9   thing.                                                  9        Q Do you recall anything about GoyFundMe?
    10       Q Did you have a Hatreon account?                  10        A Only that it lasted a very short period
    11       A I believe so.                                    11   of time.
    12       Q Did you raise money on your Hatreon              12        Q Well, you agree with me that it was still
    13   account for Charlottesville?                           13   in existence -- withdrawn.
    14       A I don't recall.                                  14           The GoyFundMe account that you had access
    15       Q Was there a GoyFundMe account?                   15   to was still in existence in December of 2017, right?
    16       A Possibly.                                        16        A I don't recall.
    17       Q You don't recall whether there was a --          17           (Heimbach Deposition Exhibit No. 23
    18       A I believe I did, I just don't recall if          18        was marked for the record.)
    19   anything had actually been funded.                     19   BY MR. BLOCH:
    20           Both Hatreon and GoyFundMe, along with         20        Q I'm showing you Exhibit 23, and just take
    21   numerous other fund-raising platforms, were all shut   21   a look at that.
    22   down, had their credit card processing blocked, very   22        A Oh, now everybody is going to know I'm a
    23   flash in the pan sort of things. So, I don't recall.   23   Warhammer 40K nerd.
    24       Q You agree you did have a GoyFundMe               24        Q I'm sorry?
    25   account, correct?                                      25        A It's a picture of a tech priest from the



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                                               Page 178                                                   Page 179
     1                 M. HEIMBACH                              1                 M. HEIMBACH
     2   Warhammer 40K miniature gaming.                        2       Q Well, isn't that what you were referring
     3       Q You agree that these are -- this is a            3   to in that post?
     4   screen shot of posts that were made on Discord,        4       A No, no. The website itself. The website
     5   including some by you, right?                          5   was down.
     6       A Yes.                                             6       Q Now, you disclosed a Twitter account?
     7       Q And the first post is by somebody (H)            7       A Uh-huh.
     8   Sterie Ciumetti, on December 23rd, 2017, right?        8       Q In this case with the handle @MatthewW --
     9       A Yes.                                             9   withdrawn. Sorry.
    10       Q Do you know who that is?                        10           You disclose a Twitter account with the
    11       A Nope.                                           11   handle @MatthewHeimbach, right?
    12       Q And that person wrote What happened to          12       A Yes.
    13   GoyFundMe.                                            13       Q Is that the only Twitter account you've
    14           Right?                                        14   ever had?
    15       A Uh-huh.                                         15       A No. I had one at some point earlier this
    16       Q And then you wrote, approximately one           16   year. It didn't really get any traction. Then I
    17   minute later, on December 23rd, 2017 Temporarily      17   don't believe that I ever discussed anything
    18   down. It will be back up shortly.                     18   involving Unite the Right or the aftermath or the
    19           Right?                                        19   planning or anything.
    20       A Looks like, yeah.                               20       Q Okay. So let me unpack that.
    21       Q Does that refresh your recollection that        21           You agree with me that you had an
    22   your GoyFundMe account was still in existence as of   22   additional Twitter account to the @MatthewHeimbach,
    23   December 2017?                                        23   right?
    24       A The website existed. I don't recall             24       A Yes, which based upon the question, I do
    25   about my specific account, though.                    25   not believe had any content relation.


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     1                M. HEIMBACH                               1                M. HEIMBACH
     2      Q Okay. And what was the handle for --              2   shot of your Twitter account @HeimbachMatthew?
     3      A I think it was @MatthewHeimbach.                  3       A Yes.
     4      Q Did you have an account that was                  4       Q And is there a post by you at the bottom
     5   @HeimbachMatthew?                                      5   of the page?
     6      A It could have been that one, yeah.                6       A There is.
     7      Q When did you create that account?                 7       Q And does that post say Not abandoning
     8      A I don't recall.                                   8   the Cville POWs or my own guys that got caught in
     9      Q But you agree that it was active this             9   trouble?
    10   year, right?                                          10       A Uh-huh.
    11      A Yes.                                             11       Q PF has had like ten guys arrested in the
    12      Q And are you saying you did not use that          12   past year and it seems from all I've heard that
    13   account to discuss anything concerning                13   they've been left to the wolves.
    14   Charlottesville?                                      14           Right?
    15      A I don't believe so.                              15       A Uh-huh.
    16           (Heimbach Deposition Exhibit No. 24           16       Q And then it goes on?
    17      was marked for the record.)                        17       A Yeah. Sad situation.
    18   BY MR. BLOCH                                          18       Q And you posted that message on
    19      Q Mr. Heimbach, I'm showing you Exhibit            19   March 14th, 2019; isn t that true?
    20   No. 24. And is that --                                20       A Looks like.
    21           UNKNOWN SPEAKER I'm sorry?                    21       Q And -- well, is that true?
    22           MR. BLOCH Was there a comment on              22       A Based on this, yes.
    23      the phone?                                         23       Q And no one else had access to that
    24   BY MR. BLOCH                                          24   Twitter account, right?
    25      Q Okay. Mr. Heimbach, is that a screen             25       A No.



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                                                 Page 182                                                    Page 183
     1                 M. HEIMBACH                                1                  M. HEIMBACH
     2       Q And does Cville mean Charlottesville?              2       Q And is it your view that that Twitter
     3       A Yes.                                               3   account did not post any content -- withdrawn.
     4       Q And does POWs means prisoners of war?              4           Is it your view that you did not post any
     5       A It does.                                           5   content on that Twitter account that concerned
     6       Q And so who are these Cville POWs that              6   Charlottesville?
     7   you're referring to in --                                7       A Not in regards to what was outlined. And
     8       A The Ramos, Borden, Goodwin, Fields, whose          8   based on my understanding of what was required, it
     9   cases had concluded.                                     9   was not about the planning or anything like that, or
    10           (Heimbach Deposition Exhibit No. 25             10   communications about the ongoing litigation. It
    11       was marked for the record.)                         11   was -- this is a comment about Discord.
    12           THE WITNESS: Do you guys want to                12       Q Did the definition of concerning that we
    13       do like one more and I'll fill my the               13   read earlier include anything that referred to
    14       water bottle real quick? Is that okay?              14   Charlottesville?
    15   BY MR. BLOCH:                                           15       A Perhaps I misunderstood and, if so, that
    16       Q Exhibit 25 I'm showing you, and is that           16   was an oversight.
    17   something you posted on Twitter March 8th, 2019?        17       Q So you would agree with me that you have
    18       A Yeah, it looks like.                              18   content on your second Twitter account that concerned
    19       Q And did you write on Twitter: Everyone            19   Charlottesville, right?
    20   post Cville: Discord has publicly said that they are    20       A I really think that's more of a fishing
    21   helping the SPLC and will leave all chats. Let's        21   expedition, but we'll see where this goes.
    22   stop using Discord?                                     22       Q What's the answer to my question?
    23       A Yes.                                              23       A In regards to -- I mean, where I'd post a
    24       Q What does Cville mean?                            24   Blood Post or Yelp review based on the nice bistro in
    25       A Charlottesville.                                  25   Charlottesville, would that be considered part of


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     1                  M. HEIMBACH                               1                  M. HEIMBACH
     2   this?                                                    2   not in violation of any requirements by the court.
     3       Q Did you write, Charlottesville Prisoners           3       Q Is the answer to my question, yes?
     4   of War, referring to people that were arrested for       4       A Along with the addendum, but yes.
     5   violence that they were alleged to have committed at     5       Q And you did so after March of 2019,
     6   Charlottesville Unite the Right?                         6   right?
     7       A Yes.                                               7       A That would be accurate.
     8       Q Do you still have that Twitter account?            8           MR. BLOCH Should we take a
     9       A No, I do not.                                      9       five-minute break.
    10       Q And why not?                                      10           THE WITNESS That would be great.
    11       A I was being post banned where no one was          11           THE VIDEOGRAPHER We're going off
    12   seeing any of my comments, so it just really wasn t     12       the record. The time is 11 33 a m.
    13   worth the time.                                         13                 (Brief pause.)
    14       Q You agree with me that you deleted that           14           THE VIDEOGRAPHER We're back on
    15   Twitter account, right?                                 15       record in the deposition of Matthew
    16       A Yes, based on my understanding of the             16       Heimbach. The time is 11 40 a.m.
    17   Plaintiffs' request that I had -- by deleting it, I     17   BY MR. BLOCH
    18   was not violating any of the requests, because I did    18       Q Mr. Heimbach, you're aware that the Court
    19   not discuss the case, I did not discuss anything        19   recently ordered you to submit consent forms to give
    20   other than the thing on Discord or the guys that were   20   us access to your Twitter accounts, right?
    21   already sentenced and in prison that weren't even in    21       A Yes.
    22   Charlottesville anymore and needed support. So --       22       Q And you understood that you were required
    23       Q So just to be clear, the answer to my             23   to give us consent to all your Twitter accounts that
    24   question is you deleted this Twitter account, right?    24   concerned Unite the Right, right?
    25       A Based upon my understanding that I was            25       A Well like I had said, if I had



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                                                 Page 186                                                     Page 187
     1                M. HEIMBACH                                 1                  M. HEIMBACH
     2   misunderstood in relation to the secondary account, I    2   anyone about it and it wasn't even discussing the
     3   simply misunderstood and would be happy to amend         3   event itself.
     4   anything that needs to be amended.                       4       Q You agree with me that in the -- you did
     5        Q Right. So let's just answer my question           5   submit a Twitter consent form, right?
     6   first.                                                   6       A Yes.
     7           You understood that you were required to         7       Q And you agree with me that you did not
     8   give us content to all Twitter accounts that             8   include your @MatthewHeimbach Twitter account, right?
     9   concerned the events at issue in this case, right?       9       A No, @HeimbachMatthew. I did include
    10        A That concerned the events, yes, which to         10   @MatthewHeimbach.
    11   my understanding was only the account that was in       11       Q I'm sorry. You did include
    12   effect during the before and after period of Unite      12   @MatthewHeimbach, right?
    13   the Right.                                              13       A Yes.
    14        Q I'm sorry. Say that again.                       14       Q You did not include @HeimbachMatthew,
    15           What was your understanding?                    15   right?
    16        A My understanding was that related to the         16       A Yes, as I did not think that it fell
    17   account that was in use prior and post August 12th of   17   under the Plaintiffs' filings. But again, if that's
    18   2017, because that would have had the relation to it.   18   an issue, I'd be happy to fix it.
    19   And I didn t understand that these would be             19       Q Are you familiar with 8chan?
    20   considered falling under that umbrella. I would be      20       A I mean, I guess, yeah.
    21   happy to remedy that.                                   21       Q Are you familiar with 8chan?
    22        Q Why did you think these didn't fall under        22       A It has a website.
    23   the umbrella? Because they were created after Unite     23       Q And have you ever had an 8chan account?
    24   the Right?                                              24       A I don't believe so.
    25        A No, because they weren't discussing with         25           If I had, that would be news to me.


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     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2       Q Did you have an 8chan account, ever?               2       A Yes.
     3       A Not that I can recall.                             3       Q Does that -- what does that refer to?
     4       Q 8chan requires -- in order to see the              4       A I think that's probably in reference to
     5   content that's posted on 8chan, you need to have an      5   articles and podcasts I've done, specifically with
     6   8chan account?                                           6   Dr. Matthew Raphael Johnson, on the Daily
     7       A No.                                                7   Traditionalist where we cover the Russian Communist
     8       Q You can see 8chan from anywhere?                   8   Party.
     9       A Yes.                                               9           I don't recall ever having an account or
    10           (Heimbach Deposition Exhibit No. 26             10   posting on 8chan, but they have posted forum threads
    11       was marked for the record.)                         11   about me, generally bitching about me.
    12   BY MR. BLOCH                                            12       Q And, I mean, are you -- can you assure us
    13       Q I'm showing you Exhibit 26. And is this           13   with any level of certainty that you did not have an
    14   a Discord post -- withdrawn.                            14   8chan account?
    15           Is this a post that you posted on Discord       15       A I don't recall ever having one, but
    16   on October -- sorry -- November 29th, 2017?             16   they've had multiple threads in relation to me, which
    17       A Yes.                                              17   I've been notified of and read.
    18       Q And did you write I have 8chan bitching           18       Q Have you ever had a 4chan account?
    19   that I pointed out the Russian Communist Party isn't    19       A I don't believe so.
    20   Bolshevik anymore and it has basically NS policies      20       Q Other than the social media accounts that
    21   but that meets --                                       21   we discussed, have you ever had any other social
    22           And then there's a number?                      22   media accounts?
    23       A Yes.                                              23       A Not that I can think of.
    24       Q Did you write that on October -- sorry --         24       Q Now, you founded the Traditionalist
    25   on November 29, 2017?                                   25   Worker Party, right?



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                                                 Page 190                                                    Page 191
     1                M. HEIMBACH                                 1                M. HEIMBACH
     2       A Yes.                                               2   time of Unite the Right?
     3       Q And you were the chairman of it, right?            3       A I guess that would have been me.
     4       A Uh-huh.                                            4       Q And when you sent messages on behalf of
     5       Q And when was it founded?                           5   TWP about Unite the Right, how did you do so?
     6       A 2015, officially, I guess.                         6       A Generally through Mr. Parrott, in the
     7       Q And in 2017, who else, other than you,             7   ticket system.
     8   was in a leadership position in TWP?                     8       Q So you would send a message through the
     9       A Matt Parrott, Tony Hovater. I guess that           9   ticket system to Mr. Parrott?
    10   would be basically the brain trust. Right?              10       A No, not necessarily. I could just -- you
    11       Q Anybody else?                                     11   know, I'd walk over and tell him what I wanted said
    12       A Not that I can really think of.                   12   and then he would send it out.
    13       Q Derek Davis?                                      13       Q Meaning you would go to his house and he
    14       A Yeah, but not like at the -- the top              14   would type -- you would essentially dictate to him?
    15   level.                                                  15       A I mean, sometimes, yeah. He lived next
    16       Q Okay. But the answer is, yes, Derek               16   door. It was pretty easy.
    17   Davis was in a leadership position in TWP?              17       Q Were there times where you sent Mr.
    18       A Depends how -- you have to define                 18   Parrott e-mails that were on behalf of TWP, to be
    19   leadership position.                                    19   circulated?
    20       Q Jason Augustus?                                   20       A Not that I can recall.
    21       A I mean, he wasn't on our board or                 21       Q Who else within TWP participated in
    22   anything.                                               22   planning for the Unite the Right rally?
    23       Q Cesar Ortiz?                                      23       A In terms of, like, just the overall
    24       A He wasn't on the board.                           24   logistics?
    25       Q Did TWP have a spokesman at or around             25       Q Any part of planning?

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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2       A That mostly would have been me and                 2       A I can't recall the specifics.
     3   Parrott.                                                 3       Q You can't recall, as the chairman of TWP,
     4       Q How about Derek Davis?                             4   whether you had somebody producing propaganda for the
     5       A Somewhat, I guess.                                 5   Unite the Right rally?
     6       Q Jason Augustus?                                    6       A Well, I'm not a propagandist, so it would
     7       A No. His job was just to make pretty                7   have been outside of my wheelhouse.
     8   pictures.                                                8       Q You are the chairman of the party, right?
     9       Q For Unite the Right?                               9       A Uh-huh.
    10       A Just in general.                                  10       Q So wouldn't propaganda fall within your
    11       Q Did he also produce pictures or content           11   wheelhouse?
    12   of some sort that concerned Unite the Right?            12       A No. I'm primarily dealing with media and
    13       A I can t recall.                                   13   writing the newspaper.
    14       Q Did -- was somebody in charge of                  14       Q You?
    15   propaganda?                                             15       A Yeah.
    16       A I can t recall. A lot of things were              16       Q And so you don't know, as you sit here
    17   crowd funded, outside of even our organization.         17   today, who produced propaganda for the Unite the
    18       Q You're the chairman of the party, right?          18   right rally?
    19       A Uh-huh.                                           19       A I can't recall. Like I said, there were
    20       Q Is it fair to say Unite the Right is the          20   a lot of things created on the chans. There were a
    21   biggest rally that TWP has attended, ever?              21   lot of things created in the Discord by anonymous
    22       A Yeah.                                             22   users. There was a lot of content created by a lot
    23       Q And you can't recall -- and you know that         23   of people that I don't know.
    24   you had people in charge of propaganda for the rally,   24       Q But you did not have one person in charge
    25   right?                                                  25   or two people in charge of creating propaganda for



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                                                Page 194                                                   Page 195
     1                 M. HEIMBACH                              1                M. HEIMBACH
     2   the rally?                                             2       Q Why not?
     3       A I don t recall.                                  3       A I mean, friends can grow apart.
     4       Q Do you recall anything about the planning        4       Q Is that what happened?
     5   of the Unite the Right rally?                          5       A Essentially.
     6       A Just primarily that we worked to network         6       Q When?
     7   as much as possible with local and state police to     7       A I mean, over the last year.
     8   ensure that we had a designated parking area and       8       Q Is it fair to say that you communicated
     9   everyone could get in safe. That was primarily the     9   with Tony Hovater on regular basis in the lead-up to
    10   planning that happened.                               10   Unite the Right rally?
    11       Q That's all you did to plan the Unite the        11       A I can't recall.
    12   Right rally, is coordinate with the police?           12       Q Can you recall communicating at all with
    13       A That's the most of it. I can't really           13   Tony Hovater about Unite the Right rally?
    14   think of other specifics. But you have a handy        14       A No. Basically all my communications were
    15   refresher. That always helps.                         15   with Matt Parrott, that I can recall.
    16       Q Cesar Ortiz, was he involved in any part        16       Q Do you recall ever speaking to Tony
    17   planning Unite the Right?                             17   Hovater?
    18       A I can't recall.                                 18       A Ever?
    19       Q Was he involved with logistics?                 19       Q Ever.
    20       A I can't recall.                                 20       A Well, I was in his wedding, so I'd hope
    21       Q Tony Hovater, did he have any part in           21   so.
    22   planning Unite the Right?                             22       Q When was that?
    23       A I can't recall.                                 23       A 2017, maybe.
    24       Q Are you still in touch with Tony Hovater?       24       Q Other than Matthew Parrott, Derek Davis,
    25       A We don t talk.                                  25   Jason Augustus, Cesar Ortiz, Tony Hovater, is there

                                                Page 196                                                   Page 197
     1                 M. HEIMBACH                              1                 M. HEIMBACH
     2   anyone else within TWP that had anything to do with    2   spoke to him?
     3   planning the Unite the Right rally?                    3       A Over a year.
     4       A Not that I can think of.                         4       Q What's his phone number?
     5       Q You'd agree with me that Derek Davis was         5       A He didn't have one last time.
     6   referred to as Commander Davis on Discord, right?      6       Q Do you have a phone number for him in
     7       A If that was his handle, then that was his        7   your phone?
     8   handle.                                                8       A I don't know.                    .
     9       Q Well, wasn't that his handle?                    9            Should I just keep this out?
    10       A I don't recall.                                 10       Q I think you're good.
    11       Q When is the last time you communicated          11            Who is Augustus Sol Invictus?
    12   with Derek Davis?                                     12       A He's a former Libertarian candidate for
    13       A I believe over a year.                          13   Senate.
    14       Q How did you communicate with him?               14       Q Is he a different person from Jason
    15       A I'm trying to think. By phone, maybe.           15   Augustus?
    16       Q Text?                                           16       A Yes. Both Roman pagans, though, so
    17       A I might have spoken on the phone.               17   there's that.
    18       Q What's his phone number?                        18       Q What's Tony Hovater's number?
    19       A                                                 19       A You told me to put my phone away.
    20       Q He attended Unite the Right, right?             20       Q Sorry. One more.
    21       A I mean, yeah, you've got the picture of         21       A
    22   him right behind me.                                  22            Now can I put it away?
    23       Q So is the answer yes?                           23       Q Maybe one more.
    24       A Yes.                                            24            Are you familiar with Allison Denver?
    25       Q Jason Augustus, when's the last time you        25       A No.



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                                                 Page 198                                                    Page 199
     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2        Q Did TWP have a website?                           2   before.
     3        A Yes, tradworker.org.                              3       Q And is there content on there -- was
     4        Q And when was that created?                        4   there ever content on there that concerned Unite the
     5        A 2015, I guess.                                    5   Right?
     6        Q And who created it?                               6       A I don't recall.
     7        A Matt Parrott.                                     7       Q Didn't you post content to the website?
     8        Q Who updated it and monitored it?                  8       A Yes.
     9        A Matt Parrott.                                     9       Q Wasn't there a section on Traditionalist
    10        Q Do you agree that there's content posted         10   Worker Party website, tradworker.org, that was
    11   on that website that concerned Unite the Right?         11   explicitly devoted to Unite the Right rally?
    12        A I assume so.                                     12       A I can't recall.
    13        Q Do you know?                                     13           (Heimbach Deposition Exhibit No. 27
    14        A Not off the top of my head.                      14       was marked for the record.)
    15        Q As the chairman of Traditionalist Worker         15   BY MR. BLOCH:
    16   Party, you don't know if there was anything posted to   16       Q I'm showing you Exhibit 27.
    17   the Traditionalist Worker Party website that            17       A Uh-huh.
    18   concerned Charlottesville?                              18       Q This is a shot of Discord that includes
    19        A I don't recall it.                               19   posts by you, right?
    20        Q Did you ever look at the website?                20       A It looks like.
    21        A Well, it's been down for over a year, so         21       Q And on July 29, 2017, at 2:47 p.m., did
    22   it's kind of hard to refresh the old neurons.           22   you write on Discord: And so everyone knows, please
    23        Q My question was Did you ever look at             23   sign up at www.tradworker.org/Cville?
    24   the website?                                            24       A It looks like.
    25        A I have, indeed, viewed the website               25       Q Did you write that?


                                                 Page 200                                                    Page 201
     1                 M. HEIMBACH                                1                M. HEIMBACH
     2       A Yes.                                               2       A Matt Parrott would know.
     3       Q And what is Cville?                                3       Q My question is Is it possible there's a
     4       A Charlottesville.                                   4   code of conduct posted on the Cville section of
     5       Q And by Charlottesville, that means Unite           5   tradworker.org?
     6   the Right rally, right?                                  6       A I don't know.
     7       A That would be accurate.                            7       Q Do you have any recollection of any kind
     8       Q And you agree with me that there was a             8   of content on the Cville section of the
     9   section on the website devoted explicitly to Unite       9   tradworker.org website that concerned Cville?
    10   the Right rally?                                        10       A No.
    11       A I suppose so.                                     11       Q By that, I mean Charlottesville.
    12       Q And what was posted in that section of            12          We need an answer for the record.
    13   the website?                                            13       A Oh. I said no.
    14       A I can't recall.                                   14       Q Is that website still active?
    15       Q Were there instructions?                          15       A I don't believe so.
    16       A I can't recall.                                   16       Q Do you know whether it is or isn't?
    17       Q Was there a schedule?                             17       A To the best of my knowledge, it isn't.
    18       A I can't recall.                                   18       Q And when did it become inactive?
    19       Q Were there logistics?                             19       A I don't know.
    20       A I can't recall.                                   20       Q What makes you think it's not active?
    21       Q Was there a code of conduct?                      21       A Based on conversations with Matt Parrott.
    22       A I can't recall.                                   22       Q And what conversations?
    23       Q Is it possible that there was a code of           23       A Over the past year.
    24   conduct posted in the Charlottesville section of the    24       Q What did Matt Parrott tell you about the
    25   tradworker.org website?                                 25   website?



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                                                 Page 202                                                    Page 203
     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2        A He had fully archived all of the data to          2       A    Matt Parrott.
     3   be able to present it to Plaintiffs, and it was          3       Q    When?
     4   currently taking a nap.                                  4       A    I can't recall specifics.
     5        Q It was what?                                      5          (Heimbach Deposition Exhibit No. 28
     6        A Taking a nap.                                     6      was marked for the record.)
     7        Q What does that mean?                              7   BY MR. BLOCH
     8        A Well, the site was down.                          8      Q I'm showing you Exhibit 54 -- I'm sorry.
     9        Q Why is it down?                                   9   Withdrawn.
    10        A Because the Traditionalist Worker Party          10          I'm showing you Exhibit 28, Mr. Heimbach.
    11   isn t an active organization at this moment, due to     11          Do you see that?
    12   ongoing litigation, among other things.                 12      A Yup.
    13        Q So it's your understanding that Matt             13      Q Do you recognize that?
    14   Parrott has preserved the content on tradworker.org?    14      A It looks like it was on the TradWorker
    15        A To the best of my knowledge.                     15   website.
    16        Q Because he told you that?                        16      Q And it discusses different levels of
    17        A Yes, and he told you guys that.                  17   membership within TWP, right?
    18        Q I'm sorry?                                       18      A It looks like.
    19        A Well, and he's told you guys that.               19      Q Well, were there different levels of
    20        Q Oh, it's your understanding that Matt            20   membership within TWP?
    21   Parrott told us that?                                   21      A Well, you had to know the secret
    22        A I believe through Mr. Kolenich, yes.             22   handshake to get in the cool kids' club.
    23        Q Mr. Kolenich told you that?                      23      Q Is that a joke?
    24        A No.                                              24      A Yes.
    25        Q Who told you that?                               25      Q Were there different levels of membership

                                                 Page 204                                                    Page 205
     1                M. HEIMBACH                                 1                 M. HEIMBACH
     2   within TWP?                                              2       A I don't recall.
     3       A Yes. People become a supporter or a                3       Q According to this code of conduct,
     4   member.                                                  4   signing up allowed you to comment on articles, right?
     5       Q And if one was a supporter, what --                5       A It looks like.
     6   withdrawn.                                               6       Q Was that true?
     7           What sort of access would a supporter            7       A That would be a Matt Parrott question. I
     8   get?                                                     8   don't recall. I didn't manage anything involving the
     9       A Essentially, they could donate to support          9   website.
    10   our work. That's about it, to my understanding.         10       Q And as a supporter, you could participate
    11       Q Could they also comment on articles on            11   in the open section of the party forum, right?
    12   the website?                                            12       A Yes.
    13       A Well, anyone could, I believe.                    13       Q And what was the open section of the
    14       Q Well, didn't you have to sign up to               14   party forum?
    15   comment on the articles?                                15       A To the best of my knowledge, it never was
    16       A I don't recall.                                   16   actually finished.
    17       Q You don't -- as the chairman of the               17       Q What was the open section of the party
    18   Traditionist Worker Party, you don't know how one       18   forum?
    19   becomes a supporter of the Traditionist Worker Party?   19       A To the best of my knowledge, it was never
    20       A How we moderated comments on our website?         20   finished.
    21   No, that would be a Matt Parrott question.              21       Q What was it?
    22       Q Do you understand how one signs up to             22       A Matt Parrott was developing a party forum
    23   become a supporter?                                     23   that I don't believe ever got finished.
    24       A That would be a Matt Parrott question.            24       Q And you also -- this document also
    25       Q You don't have any idea?                          25   references an e-mail list, right?



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                                                Page 206                                                     Page 207
     1                 M. HEIMBACH                               1                  M. HEIMBACH
     2       A Uh-huh.                                           2        A Google Docs, I believe.
     3       Q What's the e-mail list?                           3        Q And on what computer?
     4       A I don't know. That would be a Matt                4        A My laptop.
     5   Parrott question.                                       5        Q And where is that laptop?
     6       Q As the chairman of the party, you don't           6        A In the tub, but all -- to the best of my
     7   know what the e-mail list is?                           7   knowledge, all of the e-mails and correspondence has
     8       A Delegation is very important when it              8   been preserved.
     9   comes to leadership. I'm a Luddite, I don't do          9        Q So your -- just to be clear, when you say
    10   technology, so, no, that would fall under Matt         10   it's in the tub, you mean the laptop that you used to
    11   Parrott's wheelhouse.                                  11   write e-mails to the Traditionalist Worker Party is
    12       Q Don't you speak regularly to Matt                12   in -- is gone, right?
    13   Parrott?                                               13        A Yes, but my gmail account, where the docs
    14       A Yes.                                             14   would have been hosted, is still active. And you
    15       Q Haven't you spoken regularly to Matt             15   guys have been provided the log-in credentials for
    16   Parrott since 2015?                                    16   that.
    17       A Yes.                                             17        Q You could also be a member, right, of the
    18       Q And you don't know, as you sit here              18   Traditionalist Worker Party?
    19   today, what the e-mail list for the Traditionalist     19        A Yes.
    20   Worker Party is?                                       20        Q And how does one become a member?
    21       A No, because I never managed it.                  21        A You sign up.
    22       Q Did you write e-mails to supporters on           22        Q And how do you sign up?
    23   the e-mail list?                                       23        A Through the on-line portal.
    24       A I wrote e-mails that went out, yes.              24        Q And if you become a member, you get
    25       Q And where did you write them?                    25   member's only access to official regional and local

                                                Page 208                                                     Page 209
     1                 M. HEIMBACH                               1                 M. HEIMBACH
     2   forums for networking in real world activism, right?    2       A Oh, the monkey at the switchboard.
     3       A That sounds about right.                          3   That's funny.
     4       Q Is that right?                                    4       Q Did you write, on September 1st, 2017
     5       A Yeah.                                             5   So our tech guys have built us a dashboard, private
     6       Q And what are those forums?                        6   forum (which we will use instead of here due to
     7       A Well, the forum was never created, to the         7   Discord shutting down WN chats)?
     8   best of my knowledge.                                   8       A Yes.
     9       Q Where do you get that knowledge?                  9       Q And then you write We will pay dues
    10       A By the fact that Matt Parrott was working        10   monthly, quarterly, et cetera in bit coin.
    11   on it for an extended period of time and it didn t     11           Right?
    12   get rolled out. That's out of my expertise.            12       A Uh-huh.
    13       Q When did Matt Parrott tell you that?             13       Q Is that right? Is that yes?
    14       A I can't recall.                                  14       A Yes?
    15       Q Where did you get that understanding?            15       Q And then you wrote And each member's
    16   From Matt Parrott?                                     16   profile on the forum will show if they are up to date
    17       A Yes.                                             17   as dues as a friendly reminder.
    18           (Heimbach Deposition Exhibit No. 29            18       A Yup.
    19       was marked for the record.)                        19       Q Do you agree that you had knowledge as to
    20   BY MR. BLOCH                                           20   what was going on with the private forums?
    21       Q I'm showing you Exhibit 29.                      21       A Well, it was never rolled out.
    22           Are those Discord posts by you?                22       Q That's not my question, Mr. Heimbach.
    23       A Yeah, it looks like.                             23       A Well, it never existed, so --
    24       Q And -- what did you find funny about             24       Q Mr. Heimbach.
    25   this?                                                  25       A Yes.



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                                                Page 210                                                      Page 211
     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2       Q What was my question?                              2   past tense, a dashboard private forum, was that true?
     3       A Your question was, was I aware of forums           3       A Well, it hadn't been finished.
     4   that never materialized.                                 4           (Heimbach Deposition Exhibit No. 30
     5       Q Do you have -- did you have awareness as           5       was marked for the record.)
     6   to the private forums?                                   6   BY MR. BLOCH:
     7       A Well, again, they never existed, so.               7       Q Mr. Heimbach, I'm showing you Exhibit 30.
     8       Q So --                                              8           Are those Discord posts?
     9       A The project was never completed for use,           9       A They are.
    10   which is why we were still using Discord six months     10       Q And at the top, there's a post from
    11   later, after these posts.                               11   Odalman, right?
    12       Q So why didn't the forums materialize?             12       A Uh-huh.
    13       A It's a lot of work. We only had one guy           13       Q And Odalman says at -- on December 24th,
    14   that knows how to code.                                 14   2017: Hey, Matt. Do you have any idea how the TWP
    15       Q Didn't you say our tech guys, plural,             15   chat and forums are coming along.
    16   have built us a dashboard private forum?                16           Right?
    17       A Uh-huh.                                           17       A Uh-huh.
    18       Q And when you wrote that, did you mean             18       Q And you wrote, about eight seconds later:
    19   that our tech guys had built a dashboard private        19   Basically done, actually.
    20   forum?                                                  20           Right?
    21       A Well, it hadn't been completed yet. I             21       A Yes.
    22   kept getting promised that it was only a week away.     22       Q Did you write that?
    23   It was never just a week away. It was very              23       A I did.
    24   frustrating.                                            24       Q And did you write that because the TWP
    25       Q So when you said that they had built,             25   chat and forums were, quote, basically done?


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     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2        A They weren't actually basically done,             2   right, that you wrote that? Right?
     3   basically.                                               3       A It sounds right.
     4        Q So are you saying that when you wrote             4       Q And you are the chairman of the
     5   that, it wasn't true?                                    5   Traditionalist Worker Party, right?
     6        A Well, no, to the best of my knowledge, it         6       A Uh-huh.
     7   was true. But the project was not completed at that      7       Q And you don't know, as you sit here
     8   time.                                                    8   today, whether or not your party had a forum at which
     9        Q So it's your testimony that the private           9   people could post messages?
    10   forums -- there was never a message posted on any TWP   10       A Nope.
    11   private forum; is that right?                           11       Q Members also got a quarterly print
    12        A I don't know. The project was ongoing            12   publication called Action, right?
    13   and, as you can see, from September to December, from   13       A Yes.
    14   it being, as I said -- that it was built, that it was   14       Q And who wrote Action?
    15   still being built three months later.                   15       A I wrote most of the articles.
    16            So I can't recall any specifics of beta        16       Q And some of the articles concerned the
    17   testing or anything like that because that was out of   17   Unite the Right rally, right?
    18   my wheelhouse.                                          18       A I can't recall.
    19        Q But you're testifying that there was             19       Q How many did you write?
    20   never a public or private forum at which people could   20       A Articles overall?
    21   post messages on the TWP website?                       21       Q Action articles.
    22        A I don't know.                                    22       A I don't recall.
    23        Q You don't know the answer to that?               23       Q Well, it was quarterly, right?
    24        A No.                                              24       A Yeah.
    25        Q Well, this was a year and a half ago,            25       Q So between, say, mid 2017 and right now,



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                                                 Page 214                                                 Page 215
     1                  M. HEIMBACH                               1                  M. HEIMBACH
     2   how many did you write?                                  2       Q Yeah.
     3       A Well, it hasn t been published in over a           3       A I mean, I guess in members' homes, trash
     4   year and a half. So --                                   4   bins.
     5       Q So, one?                                           5       Q Where did you write that paper?
     6       A I don't recall.                                    6       A I wrote my articles on Google Docs, which
     7       Q Well, it hasn t -- let's do the math.              7   I believe I've shared my articles with you guys.
     8            It hasn't been published in a year and a        8       Q You believe you've shared all of the
     9   half, right?                                             9   Action publications that you've ever written?
    10       A Right.                                            10       A To the best of my knowledge.
    11       Q And it came out quarterly, right?                 11       Q How did Action get printed?
    12       A Yes -- well, quarterly was more of a goal         12       A The local print shop.
    13   than a reality due to funding problems.                 13       Q And was the printer also a nationalist?
    14       Q I see. So it came out less than                   14       A No. Not initially, at least. In terms
    15   quarterly?                                              15   of the first edition, maybe -- I don t recall.
    16       A Yeah. Quarterly was the benchmark we              16       Q Who was the first printer of the first
    17   were aiming for.                                        17   edition?
    18       Q Okay. So between mid 2017 and the end of          18       A The Copy Trolley in Paoli, Indiana.
    19   2017, how many Action publications were written?        19       Q And at some point was there a nationalist
    20       A I think one.                                      20   who printed out Action for you?
    21       Q And did that concern the Unite the Right          21       A I don't recall.
    22   rally?                                                  22           (Heimbach Deposition Exhibit No. 31
    23       A I don't recall.                                   23       was marked for the record.)
    24       Q Where is that?                                    24   BY MR. BLOCH
    25       A In terms of the papers?                           25       Q I'm showing you Exhibit 31.

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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2            Are those Discord posts?                        2       Q Discussing TWP's e-mail system, you
     3       A It looks like.                                     3   referred to a ticket system.
     4       Q Did you write, on June 25th, 2017: It              4       A Uh-huh.
     5   was coming out quarterly due to costs, but we found a    5       Q Is the e-mail system the same thing as
     6   printer who is a nationalist who will give it to us      6   the ticket system?
     7   at cost, which is huge?                                  7       A I believe so.
     8       A Uh-huh, looks like.                                8       Q There were e-mail addresses with the
     9       Q Is that because you found a printer who            9   domain @tradworker.com, right?
    10   was a nationalist?                                      10       A Yes.
    11       A I don't recall.                                   11       Q And you had one, right?
    12       Q Well, why else would you have written             12       A I believe so, yeah.
    13   that?                                                   13       Q And what was your e-mail address at
    14       A I don't recall.                                   14   tradworker.com?
    15       Q Who was the printer?                              15       A I don't know.
    16       A I don't recall.                                   16       Q Well, how would you figure that out?
    17       Q Where would you look that up?                     17       A Matt Parrott would know. He set them all
    18       A I don't recall.                                   18   up.
    19       Q So you had a printer who printed out one          19       Q You had an e-mail address at
    20   version of your quarterly publication that you wrote    20   tradworker.com and you don't know what it was?
    21   and you don't know who that is?                         21       A Uh-uh.
    22       A Uh-uh. No.                                        22       Q Would it be on that slip of paper next to
    23       Q How did you get the publication to the            23   your computer?
    24   printer?                                                24       A No.
    25       A That's a good question. I don't recall.           25       Q Why not?



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                                                 Page 218                                                     Page 219
     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2       A Well, because Matt Parrott set it all up.          2   address, right?
     3   He had all the information.                              3       A Well, no, because I don't have it. But
     4       Q Didn't you have to log-in to it to use             4   Matt Parrott does.
     5   it?                                                      5       Q Have you taken any steps to figure out
     6       A Once you're logged in once.                        6   what your @tradworker.com e-mail address is?
     7       Q Matt Parrott also had an @tradworker.com           7       A I was simply assured that all the data
     8   address, right?                                          8   was actively preserved. So --
     9       A I assume so.                                       9       Q So my question is: Have you taken any
    10       Q Well, do you know?                                10   steps to figure out what your @tradworker.com e-mail
    11       A I assume so.                                      11   address was?
    12       Q Did you ever receive an e-mail from Matt          12       A Well, no, because you're going to be
    13   Parrott on a tradworker.com e-mail address?             13   given it anyway with all the other information that's
    14       A I don't recall. I mean, you guys should           14   being provided by Matt Parrott, who had access to it
    15   have it all, so -- I don't recall.                      15   and set up the accounts.
    16       Q When you say we should have it all, it's          16       Q Do you understand that you have a
    17   because you believe, based on some conversation with    17   discovery obligation that is separate from Matthew
    18   somebody, that somebody else might get that to us; is   18   Parrott's?
    19   that your testimony?                                    19       A The information is being provided.
    20       A Yes.                                              20       Q Mr. Heimbach, listen to my question.
    21       Q You have not provided us access to your           21           Do you understand that you have an
    22   tradworker.com e-mail address, right?                   22   obligation in discovery that is separate from
    23       A I don't have it.                                  23   Mr. Parrott's obligation in discovery?
    24       Q My question is: You have not in any way           24       A My understanding was the information is
    25   provided us access to your @tradworker.com e-mail       25   going to be provided. I had no access to it.


                                                 Page 220                                                     Page 221
     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2        Q Do you understand that you have an                2       A It's a memo to call people to come to the
     3   obligation to provide us with responsive content that    3   event on August 12th.
     4   is in your possession, custody and control? Do you       4       Q And the event, you mean Unite the Right,
     5   understand that?                                         5   right?
     6        A Yes, but it is neither of those things or         6       A Yes.
     7   all three of those things.                               7       Q Was this a press release you put out
     8        Q Do you understand that -- well, did you           8   about Unite the Right?
     9   have a conversation with Matt Parrott about what he's    9       A I don't recall exactly. I think it went
    10   going to produce in discovery?                          10   out to party supporters.
    11        A Just all of the back end information             11       Q And how did that go out?
    12   from --                                                 12       A Through Matthew Parrott.
    13        Q Mr. Heimbach.                                    13       Q How did Matthew Parrott send that out?
    14        A Yes.                                             14       A I don't know.
    15        Q Listen to my question.                           15       Q How do you know it went out through
    16        A The answer is, yes.                              16   Matthew Parrott?
    17        Q Okay. When was that?                             17       A Well, because if it went out at all, it
    18        A Sometime in the last year.                       18   went out through Matthew Parrott.
    19           (Heimbach Deposition Exhibit No. 32             19       Q Well, did it go out at all?
    20        was marked for the record.)                        20       A I don't know.
    21   BY MR. BLOCH:                                           21       Q So you, as the chairman of TWP, you just
    22        Q I'm showing you Exhibit 32.                      22   write press releases and have no idea whether or not
    23           Do you recognize that?                          23   they actually go out?
    24        A I wrote it, yeah.                                24       A I assume my team does their job.
    25        Q And what is it?                                  25       Q But you don't follow up?



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                                                Page 222                                                      Page 223
     1                 M. HEIMBACH                                1                M. HEIMBACH
     2       A There's lots of responsibilities.                  2       A I can't recall.
     3       Q Is the answer to my question, yes?                 3       Q You can't recall whether, as the chairman
     4       A I don't know specifically if this one              4   of Traditionalist Worker Party, you had access to the
     5   went out, but I have a strong belief that it did.        5   e-mail account that members and supporters could
     6       Q And at the bottom, there is an e-mail              6   write to?
     7   address, right?                                          7       A That's why we had a team. I didn't
     8       A Yes.                                               8   handle that.
     9       Q And that's contact@tradworker.org, right?          9       Q You don't know whether you had access to
    10       A That'd be right.                                  10   the contact@tradworker.com?
    11       Q And was that your e-mail address?                 11       A No.
    12       A No.                                               12       Q .org.
    13       Q What was that?                                    13           Do you agree with me that you did
    14       A That was the general mail filter that             14   communicate over the tradworker e-mail account?
    15   things went through.                                    15       A I believe so.
    16       Q And why did you list that e-mail address          16       Q Is the answer, yes?
    17   on that?                                                17       A To the best of my knowledge.
    18       A Because I wasn't actively responding to           18       Q When you used the ticket e-mail system,
    19   e-mails. I was doing other things.                      19   were the e-mails -- how did you get into it,
    20       Q Who gets those e-mails?                           20   yourself?
    21       A Matt Parrott.                                     21       A Matt Parrott logged me in on my laptop,
    22       Q You have -- withdrawn. At the time,               22   and then --
    23   you -- withdrawn.                                       23       Q I'm sorry?
    24           At the time of the Unite the Right event,       24       A You go to the -- to the website and I
    25   you also had access to contact@tradworker.org, right?   25   bookmarked it, and I just click it.

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     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2       Q I see. And you didn't log in yourself?             2   themselves at Unite the Right, right?
     3       A No.                                                3       A I can't recall the specifics.
     4       Q You needed Matt Parrott to log you into            4       Q Do you recall anything you actually said
     5   your e-mail address as the --                            5   over the TradWorker ticket e-mail account?
     6       A Well, he created all the accounts.                 6       A No.
     7       Q So the answer to my question is you                7           (Heimbach Deposition Exhibit No. 33
     8   needed Matt Parrott to help you log in to your           8       was marked for the record.)
     9   computer?                                                9   BY MR. BLOCH:
    10       A To get into the account that he set up,           10       Q I'm showing you Exhibit 33. This -- is
    11   yes, that would be accurate.                            11   this a printout of the TradWorker ticket e-mail
    12       Q And when you read the e-mails, did you            12   system?
    13   read them on your computer?                             13       A It looks like.
    14       A Yes, when I read them.                            14       Q And there is a request from a reporter to
    15       Q And were the e-mails downloaded to your           15   talk about a lawsuit brought by two women who were
    16   computer?                                               16   injured at the Unite the Right rally?
    17       A I don't know why they'd be downloaded.            17       A Sure.
    18       Q Well, did they exist on a -- well,                18       Q Isn't that true?
    19   withdrawn. We'll get into that.                         19       A It looks like.
    20            You agree that you communicated on the         20       Q And Allison Denver, the TWP admin
    21   TradWorker e-mail account about the events at issue     21   secretary, says, I'll forward your inquiry, right?
    22   in this case, right?                                    22       A Yes.
    23       A I believe so.                                     23       Q And the next post is: Media inquiries
    24       Q And you communicated over the ticket              24   forwarded to Heimbach's e-mail as per his request.
    25   e-mail account about how people ought to conduct        25           Right?



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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2       A Yes.                                               2   Exhibit 32?
     3       Q Did you request that media inquiries get           3       A I did.
     4   forwarded to your e-mail?                                4       Q When did you send that to us?
     5       A I don't recall.                                    5       A I mean, I can look. It's in our e-mail
     6       Q Who is Allison Denver?                             6   conversation between you and I.
     7       A An activist.                                       7       Q Oh, you think you e-mailed it to me?
     8       Q Who is she?                                        8       A I believe so. Along with, like, hundreds
     9       A I don't recall.                                    9   of pages of writings.
    10       Q Have you ever talked to her?                      10       Q Okay.
    11       A I don't know. I don't recall.                     11       A Did that not happen?
    12       Q Have you ever gotten an e-mail from her?          12       Q Well, it's your testimony that you sent
    13       A I don't recall. You guys would have the           13   us that document, 32?
    14   records better than me.                                 14       A To the best of my knowledge. We can look
    15       Q When -- well, we don't have -- when you           15   it up right now, if you'd like.
    16   say that Mr. Heimbach, you agree that we don t          16       Q Okay. We'll do that at a break.
    17   actually have any records from you at all, right?       17       A Okay. Yeah, I mean, I even gave you guys
    18       A Well, in terms of this, I mean, that              18   my 200 pages book in progress. Like, you guys got a
    19   falls into Mr. Parrott's wheelhouse.                    19   lot of paperwork from me.
    20       Q But my question is We don't have any              20       Q Did TWP have its own server that hosted
    21   documents from you, right?                              21   the tradworker.com e-mails?
    22       A Yes -- well, I mean, you guys have a lot          22       A I have no idea.
    23   of documents from me. We just looked at one that I      23       Q You have no idea?
    24   sent you.                                               24       A Nope.
    25       Q Is it your testimony that you sent us             25       Q Did you ever have any idea?

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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2       A Not about this stuff. But if you want to           2       A It looks like.
     3   talk about German agrarian policy in the mid 1930s, I    3       Q And did you post on February 4th, 2018:
     4   can help you.                                            4   Quote, We literally encourage everyone who wants to,
     5       Q So you don't know whether there was a              5   to sign up under whatever name they want?
     6   server that related to tradworker.com documents?         6       A Yes.
     7       A I can't recall.                                    7       Q And then you posted: We pay dues in
     8       Q And you don't know where that -- you               8   secure crypto currency?
     9   don't know whether it's a physical server or an          9       A Yes.
    10   on-line server, right?                                  10       Q And then you posted on Discord, on
    11       A No.                                               11   February 4th, 2018: Our server is literally under
    12       Q You're sure about that, right?                    12   armed guard by TWP comrades in a secure location.
    13       A To the best of my knowledge. All the              13           And the next post says: And we've
    14   server stuff would have gone through Matt Parrott.      14   explained that to them.
    15       Q And you didn't have any information about         15           Did you post that on February 4th, 2018
    16   that?                                                   16   on Discord?
    17       A It's not my wheelhouse.                           17       A I guess, yeah.
    18       Q My question is: You didn't have any               18       Q Did you?
    19   information about the server?                           19       A I'm looking at it, so, yeah.
    20       A I don't recall anything.                          20       Q So you agree with me that you did
    21           (Heimbach Deposition Exhibit No. 34             21   actually have knowledge about the TWP server?
    22       was marked for the record.)                         22       A Well, this has refreshed my memory. All
    23   BY MR. BLOCH:                                           23   the tech stop is in Matt Parrott's house. So that
    24       Q I'm showing you Exhibit No. 34.                   24   would be whatever that is.
    25           Are these Discord posts?                        25       Q So the -- when you said a secure



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     1                  M. HEIMBACH                              1                 M. HEIMBACH
     2   location, where was that?                               2       Q And you understand that this deposition
     3       A Matt Parrott's house.                             3   concerns your discovery obligations, right?
     4       Q And when you said it's literally under            4       A Right, but if --
     5   armed guard by TWP comrades, who is that referring      5       Q Do you know where that server is?
     6   to?                                                     6       A No. I assume Matt Parrott has it.
     7       A Matt Parrott is a Second Amendment                7       Q You didn't take any steps to preserve the
     8   supporter in Indiana. So --                             8   server, I take it?
     9       Q So when you said armed guard, you meant           9       A Well, it was never in my possession, so
    10   Matt Parrott?                                          10   no.
    11       A Well, yeah.                                      11       Q Did TWP have any presence on the dark
    12       Q Because he had guns?                             12   web?
    13       A Yeah.                                            13       A In terms of what? Like Tor, like using
    14       Q Where is that server now?                        14   Tor?
    15       A I assume at Matt Parrott's.                      15       Q Were there -- did -- this is my question.
    16       Q Well, I don't want you to assume. I want         16           Did TWP have any presence on the dark
    17   to know if you know where that server is.              17   net?
    18       A I don't know.                                    18       A I don't recall.
    19           Perhaps, in terms of the line of               19       Q Well, weren't you the chairman?
    20   questioning, we should ask Mr. Kolenich, who is on     20       A Right.
    21   the call, in regards to what discovery has been        21       Q You didn't know if there was a site on
    22   provided by his clients.                               22   the dark net that TWP utilized?
    23       Q Mr. Heimbach, you understand this is your        23       A I don't recall.
    24   deposition, right?                                     24       Q Do you know if there was a site for which
    25       A I understand.                                    25   you needed to use a Tor browser?

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     1                  M. HEIMBACH                              1                 M. HEIMBACH
     2        A I don't know.                                    2   start with that.
     3        Q Do you know what the dark web is?                3       Q You don't know anything about the dark
     4        A Yeah.                                            4   web?
     5        Q What is it?                                      5       A Nope.
     6        A It's things like Tor that doesn't go             6       Q You don't know anything about whether TWP
     7   through mainstream internet sources.                    7   had -- members were set up on the dark web?
     8        Q And why would one use the dark web?              8       A I don't recall.
     9        A Certain individuals with a political ax          9           (Heimbach Deposition Exhibit No. 35
    10   to grind like getting service providers to remove      10       was marked for the record.)
    11   people they don't agree with from the internet.        11   BY MR. BLOCH:
    12        Q Is it to remain anonymous?                      12       Q I'm showing you Exhibit No. 35.
    13        A It's to deal with deplatforming.                13           Are these posts by you on Discord?
    14        Q Is -- do you know if TWP had any presence       14       A Looks like.
    15   on the dark net?                                       15       Q On September 1st, 2017, did you write:
    16        A I don't recall.                                 16   Now we have our own stuff, which is totally immune?
    17        Q Did you check, in your -- withdrawn.            17       A It looks like.
    18            In your attempt to produce documents in       18       Q Do you know what that refers to?
    19   this case, did you check whether you or TWP had any    19       A Matt Parrott's planned project for a
    20   documents that were posted on the dark web?            20   forum and backup site, I suppose.
    21        A Well, considering I don't know how to           21       Q And then did you write at 1:53 at
    22   utilize said things, if there were any, Matt Parrott   22   September 1st: And everyone is already set up on the
    23   would have created them.                               23   dark web, even if they pulled our website?
    24        Q So is the answer to my question, no?            24       A I guess I wrote that, yeah.
    25        A Yeah, because I don't even know where I'd       25       Q And did you also write, right below that:



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                                                 Page 234                                                    Page 235
     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   So at no point will we lose contact with one another.    2   know or everything you have said concerning Unite the
     3   Just got to make sure that everyone has Tor.             3   Right has run through Matt Parrott?
     4        A Sounds right. But I don't know anything           4       A Essentially.
     5   in terms of the specifics. That would have been set      5       Q Have you ever spoken yourself,
     6   up by someone other than myself.                         6   independent of Matt Parrott?
     7        Q Well, how did you know that everyone is,          7       A When it comes to technology? No. To the
     8   quote, already set up on the dark web?                   8   best of my knowledge.
     9        A A verbal conversation with Matt Parrott.          9           Again, that agrarian policy, though, I
    10        Q You remember that?                               10   can speak for myself on that.
    11        A Based on this, I'm assuming that's what          11       Q Were there documents that you created
    12   happened because I don't really know anything about     12   specifically for planning Unite the Right?
    13   technology.                                             13       A Exhibit 32.
    14        Q I see. Well, what does it mean, everyone         14       Q What else?
    15   is already set up on the dark web?                      15       A I don't recall.
    16        A I don't know.                                    16       Q Can you name every document that you
    17        Q Well, you wrote it, didn't you?                  17   could think of that you created specifically for
    18        A Based on a potential conversation I had          18   Unite the Right?
    19   with someone two years ago on something in terms of     19       A No.
    20   technology I don't particularly understand or have      20       Q So sitting here today, you recall one
    21   mastery of, yeah, I don't know any specifics.           21   document that you wrote for Unite the Right?
    22        Q So you were just repeating on Discord            22       A Well, off the top of my head, yeah.
    23   what you were told by Matt Parrott?                     23       Q How many rallies have you attended?
    24        A That would be accurate.                          24       A In this country or in general?
    25        Q Is it accurate to say that everything you        25       Q Since Unite the Right, in this country.


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     1                  M. HEIMBACH                               1                  M. HEIMBACH
     2        A Two, I believe. Well, hold on. Two.               2       A     It looks like an e-mail.
     3   No, three. Three.                                        3       Q     Did you write it?
     4        Q And Unite the Right was the biggest,              4       A     I believe so.
     5   right?                                                   5       Q     But you're not sure?
     6        A Yes.                                              6       A     I believe I did.
     7        Q Did people die at any of the other                7           THE WITNESS Do you want to break
     8   rallies?                                                 8       again or --
     9        A No.                                               9           MR. BLOCH Can we finish this
    10        Q Were you sued for your behavior in any           10       line?
    11   other rallies?                                          11   BY MR. BLOCH
    12        A A Donald Trump rally I was at, which was         12       Q In the fifth paragraph down, did you
    13   unrelated to white nationalism.                         13   write Our exact plans and meet-up points for
    14        Q And you were the chairman of Traditionist        14   Saturday for operational security will be released on
    15   Worker Party, right?                                    15   Friday morning, 24 hours ahead of the event?
    16        A Yeah.                                            16       A It looks like.
    17        Q And sitting here today, you can only             17       Q What does that refer to?
    18   remember one document that you wrote about Unite the    18       A Where we were going to be meeting to
    19   Right?                                                  19   convoy into the rally location.
    20        A Off the top of my head, yeah.                    20       Q And is that a document that describes
    21            (Heimbach Deposition Exhibit No. 36            21   your exact plans and meet-up points?
    22        was marked for the record.)                        22       A I don't know if one of those was ever
    23   BY MR. BLOCH:                                           23   created.
    24        Q I'm going to show you Exhibit 36.                24       Q Well, the content of the e-mail that you
    25            Do you recognize that?                         25   wrote is referring to a document that you believed



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                                                Page 238                                                     Page 239
     1                 M. HEIMBACH                               1                 M. HEIMBACH
     2   would be released; isn't that true?                     2           Right?
     3        A Document or showing up in a parking lot          3       A Right. Which was to meet up at a
     4   of a Jo-Ann's Fabric, I mean, that's kind of two        4   Jo-Ann's Fabric. So the plan would have been, show
     5   different things, I think.                              5   up at Jo-Ann's Fabric.
     6        Q So when you wrote our exact plans and            6       Q Was there a document ever created that
     7   meet-up points will be released on Friday morning,      7   included our exact plans and meet-up points for
     8   you meant you wanted people to meet you in a parking    8   Saturday for operational security?
     9   lot of Jo-Ann's Fabric to tell them where to go?        9       A I don't know.
    10        A Well, yeah.                                     10       Q You don't know that?
    11        Q That's what you meant?                          11       A Well, I mean, basically all this is
    12        A Yeah -- well, no, no. To where we were          12   saying we're not going to tell you to show up at
    13   going in, is we rallied at the parking lot and then    13   Jo-Ann's Fabric until Friday, and then you know where
    14   we convoyed in to go to the rally location.            14   to show up on Saturday.
    15        Q You agree with me that this doesn't say,        15       Q How were people to know to show up at
    16   Meet us in the parking lot of a Jo-Ann's and I'll      16   Jo-Ann's Fabric?
    17   tell you where to go, right?                           17       A I believe Matt Parrott sent an e-mail.
    18        A Well, because we were going in to               18       Q Okay. And have you seen that e-mail?
    19   Charlottesville.                                       19       A No.
    20        Q Listen to my question.                          20           MR. BLOCH: Okay. We can break.
    21        A Yes.                                            21           THE VIDEOGRAPHER: Stand by. This
    22        Q Does it say that?                               22       marks the end of Media Number Two in the
    23        A No.                                             23       deposition of Matthew Heimbach. The time
    24        Q Okay. What it says is: Our exact plans          24       would be 12:35 p m.
    25   and meet-up plans will be released.                    25                (Brief pause.)


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     1                  M. HEIMBACH                              1                 M. HEIMBACH
     2           THE VIDEOGRAPHER We are now back                2        A I do not, not this exact second.
     3       on record in the deposition of Matthew              3        Q Is it possible that you created this on
     4       Heimbach. The time is 12 45 p m.                    4   Microsoft Word?
     5   BY MR. BLOCH                                            5        A No, no. Who wants to pay for Word?
     6       Q Mr. Heimbach, we were talking about               6   Google Docs is free.
     7   Exhibit 36.                                             7        Q Well --
     8       A Yes.                                              8        A No, if I wrote it on a computer, it's
     9       Q Did you -- at the time of Unite the               9   going to be on Google Docs.
    10   Right, did you send this document anywhere?            10        Q And you don't know if you wrote this,
    11       A I believe Matt Parrott sent it.                  11   right?
    12       Q My question is Did you send this                 12        A No, I believe I did, after rereading it.
    13   document anywhere?                                     13   It sounds like me.
    14       A I believe I gave it to Matt Parrott.             14        Q Well, other than it sounding like you,
    15       Q And in what form did you give this to            15   you don't actually have a recollection of actually
    16   Matt Parrott?                                          16   drafting this?
    17       A I don't recall.                                  17        A Not off the top of my head, but I'm
    18       Q Did you walk over to his house and               18   willing to say I wrote it.
    19   dictate it to him?                                     19        Q No, but let's be clear for the record.
    20       A I think I probably shared it in Google           20           You don t have a recollection, as you sit
    21   Docs.                                                  21   here right now, of actually writing this document,
    22       Q So your belief is that you created this          22   right?
    23   on Google Docs?                                        23        A Not the exact day, but I believe I did.
    24       A I believe so.                                    24        Q And do you see a part of this document
    25       Q Do you know that for sure?                       25   where you say Please add Cesar's e-mail,



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                                                Page 242                                                     Page 243
     1                 M. HEIMBACH                               1                 M. HEIMBACH
     2   region2@tradwork.org --                                 2       A No.
     3       A Uh-huh.                                           3       Q And you don't have a recollection as sit
     4       Q -- to your e-mail white list?                     4   here today whether there was a document that referred
     5       A Yes.                                              5   to your exact plans and meet-up points for
     6           MR. BLOCH Did somebody just join?               6   operational security, right?
     7           MR. DINUCCI It's John DiNucci. I                7       A No.
     8       got cut off before. I'm back.                       8       Q And you said in this document: Anyone
     9   BY MR. BLOCH                                            9   volunteering to be a part of our medic team or
    10       Q Mr. Heimbach, who is Cesar that you're           10   security detail, please contact Cesar ASAP.
    11   referring to in that letter?                           11           Right?
    12       A Cesar Ortiz.                                     12       A Uh-huh.
    13       Q And what's region2@tradwork.org?                 13       Q And what is the medic team?
    14       A I believe that was an e-mail address             14       A Doctors and RNs who volunteered.
    15   created by Matt Parrott for the ticket system.         15       Q And who was on the medic team?
    16       Q And was that Cesar's e-mail?                     16       A I don't recall.
    17       A I assume so.                                     17       Q Did you have a medic team?
    18       Q You don't know though, right?                    18       A Yes.
    19       A I can't recall.                                  19       Q And you don't know who was on it?
    20       Q Even though you wrote Cesar's e-mail, you        20       A No.
    21   don't actually know if that's Cesar's e-mail, right?   21       Q Did you ever talk to Cesar about who was
    22       A I'm inferring that that was his e-mail.          22   on the medic team?
    23       Q But you don't actually have a                    23       A I don't recall having that conversation.
    24   recollection as you sit here today that that was his   24       Q What is the security detail?
    25   e-mail?                                                25       A People that were there for security.


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     1                  M. HEIMBACH                              1                 M. HEIMBACH
     2       Q Who was on the security detail?                   2        A Well, I -- that wasn t in my wheelhouse
     3       A I don't recall.                                   3   delegation.
     4       Q You don't recall who was on the security          4        Q You wrote There will be a series of
     5   detail for the Traditionalist Worker Party for the      5   chants given in rounds of threes that will be given
     6   Unite the Right event?                                  6   to rally attendees prior to the event.
     7       A No.                                               7        A Yes.
     8       Q You can t recall a single name of a               8        Q Was there a document that discussed those
     9   single person who was on the security detail for        9   chants?
    10   Traditionalist Worker Party?                           10        A I don't believe we ever got around to
    11       A Nope.                                            11   one.
    12       Q How many people were on the security             12        Q Do you know?
    13   detail?                                                13        A I don't recall.
    14       A I don't recall.                                  14        Q You don't recall whether there was a
    15       Q What did the security detail do?                 15   document that said that?
    16       A Protect themselves against hoards of             16        A No, I don't recall.
    17   antifascists waving weapons.                           17        Q Do you recall telling people what the
    18       Q Were there -- well, did you actually see         18   chants would be?
    19   your security detail doing that?                       19        A I can recall one.
    20       A I don't recall.                                  20        Q Well, my question was Do you recall
    21       Q Was there a document that discussed              21   telling people what the chants would be?
    22   security at Unite the Right?                           22        A I can recall telling people one chant,
    23       A I don't recall.                                  23   yes.
    24       Q You don't recall whether there was a             24        Q And where were you when you told people
    25   document discussing security at the Unite the Right?   25   that?



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                                                 Page 246                                                     Page 247
     1                 M. HEIMBACH                                1                  M. HEIMBACH
     2        A Parking lot of Jo-Ann's Fabric.                   2   putting together an agenda?
     3        Q And when was that?                                3       A Well, in terms of we were supposed to go
     4        A An hour before we arrived in                      4   to the rally and then kind of figure it out from
     5   Charlottesville.                                         5   there.
     6        Q On?                                               6       Q Did anybody discuss preparing a written
     7        A The 12th.                                         7   agenda for the largest rally in Traditionalist Worker
     8        Q And what was the chant?                           8   Party history?
     9        A National socialism. Well national, beat,          9       A I don't recall.
    10   socialism.                                              10       Q And do you recall if there was a written
    11        Q And that's the only chant you recall from        11   agenda for the weekend?
    12   Unite the Right?                                        12       A I don't believe there was, but I don't
    13        A Yes.                                             13   recall.
    14        Q Even though you said there will be a             14       Q How many people from Traditionalist
    15   series of chants given in rounds of threes?             15   Worker Party went to the rally?
    16        A Yes.                                             16       A I don't recall.
    17        Q And you don't recall whether there's any         17       Q You don't recall how many members of your
    18   documentation of those chants?                          18   party that you were the chairman of attended the
    19        A No.                                              19   largest rally in Traditionalist Worker Party history?
    20        Q Was there an agenda for the weekend, at          20       A As I say in the document, that there were
    21   all?                                                    21   people that were coming, they just wanted to be added
    22        A There was supposed to be, but didn't             22   to the e-mail list. So no, I can't recall.
    23   really come together.                                   23       Q Would it be fair to say there were
    24        Q And when you say there was supposed to           24   hundreds?
    25   be, what do you mean? There was discussion of           25       A In terms of members, supporters, random


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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   people that decided they wanted to march with us, is     2           There was an event scheduled for after
     3   that the kind of question? Just like the --              3   Unite the Right, right?
     4       Q I'm talking about people that you led to           4        A There was, yes.
     5   the Unite the Right rally on behalf of Traditionalist    5        Q And what was that?
     6   Worker Party, approximately how many people?             6        A Just pizza.
     7       A Somewhere perhaps in the triple digits.            7        Q Where?
     8       Q And you did not have any written document          8        A At a house we had rented outside of
     9   discussing where they should go?                         9   Charlottesville.
    10       A Just to show up at Jo-Ann's Fabric.               10        Q And are you aware of any document that
    11       Q My question is Is there a written                 11   tells people where they should go for the event after
    12   document saying where people should go?                 12   Unite the Right?
    13       A I don't believe so.                               13        A No.
    14       Q Is there a written document saying what           14        Q Did people show up?
    15   the schedule was throughout the weekend?                15        A People who were staying there, friends.
    16       A Not that I recall.                                16        Q How many people showed up to that event?
    17       Q Well, there were events scheduled for the         17        A Thirty or 40, maybe.
    18   Traditionalist Worker Party other than the Unite the    18        Q Any idea how they knew how to get there?
    19   Right rally on Saturday, August 12th, right?            19        A No.
    20       A I believe so.                                     20        Q Any idea how they knew where to go for
    21       Q And there was no document telling people          21   that event?
    22   where they should go for that?                          22        A Well, most of them were staying there.
    23       A I don't think so.                                 23   So --
    24       Q There was an event scheduled for after            24        Q There were 30 to 40 people staying at a
    25   the Traditionalist Worker Party -- withdrawn.           25   house?



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                                                 Page 250                                                   Page 251
     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2       A Over -- around two dozen, I believe.               2       Q Including e-mails, right?
     3       Q Where was the house?                               3       A Yes.
     4       A Outside of Charlottesville, in the hills.          4       Q Including documents created on your
     5       Q And was there any document, ever, that             5   Google Doc, right?
     6   discussed staying -- where people would stay during      6       A Sure.
     7   Unite the Right, that you're aware of?                   7       Q And was there any document that you
     8       A No.                                                8   wrote, anywhere, of the address where you would be
     9       Q Do you think people just showed up at the          9   staying during the Unite the Right rally?
    10   same house by coincidence?                              10       A I don t recall.
    11       A I don't recall how it was organized.              11       Q Do you recall coordinating, in writing,
    12       Q Do you have any idea -- well, did you             12   in any way with the 30 to 40 people or so that were
    13   stay at that house?                                     13   staying at that address during the Unite the Right
    14       A Yes.                                              14   rally?
    15       Q And what was the address of that house?           15       A I don t recall.
    16       A I don't know.                                     16       Q Can you venture a guess as to how dozens
    17       Q You don't know the address of the house?          17   of people showed up at the exact same house at the
    18       A I didn't rent it.                                 18   exact same time?
    19       Q Did you write it down anywhere?                   19       A Someone else organized the booking, so --
    20       A Not that I recall.                                20   I believe.
    21       Q You understand that when I say document,          21       Q Do you -- what booking?
    22   I mean any written communication, right?                22       A For the house.
    23       A Yes.                                              23       Q Who booked it?
    24       Q Including text messages, right?                   24       A I don t know.
    25       A Yes.                                              25       Q Do you believe you received any sort of

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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   document saying what house people were to go to?         2       A I have no idea.
     3       A I don't know.                                      3       Q How did you get there?
     4       Q Do you recall receiving any sort of                4       A In a vehicle.
     5   document saying where you should go to stay that         5       Q Whose vehicle?
     6   weekend?                                                 6       A I believe it was a rental.
     7       A I wasn't driving. I don't really recall.           7       Q Did you rent it?
     8       Q My question is: Do you recall receiving            8       A I don't recall.
     9   any document saying where you were going to be           9       Q Did you drive it?
    10   staying that weekend?                                   10       A At certain points.
    11       A I don't recall.                                   11       Q Who was in the vehicle?
    12       Q Were you surprised, when you showed up at         12       A Cesar Ortiz, Matt Parrott, maybe. I
    13   a house, that two dozen people showed up at the same    13   don't know.
    14   house?                                                  14       Q How did you get the car?
    15       A Not particularly.                                 15       A I don't recall.
    16       Q Why not?                                          16       Q You don't recall -- how did you get in
    17       A When you put 15 people in a hotel room to         17   the car?
    18   go to an event, two dozen showing up is nothing.        18       A I don't recall.
    19       Q But, I mean, was it surprising to you             19       Q Who procured the car?
    20   that you all happened to come up with the same place    20       A Like, I know you don't believe me, but I
    21   to stay without any written coordination of any kind?   21   actually don't remember.
    22       A Well, I wasn't in charge of coordinating.         22       Q You don't recall if you personally rented
    23       Q Was the booking done through Airbnb?              23   a car that weekend?
    24       A I don't recall.                                   24       A No. I've rented dozens of cars
    25       Q What was the address?                             25   throughout my activism career and I can t recall.



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     1                 M. HEIMBACH                                1                  M. HEIMBACH
     2       Q Can you recall a single document                   2   that does not concern Unite the Right, correct?
     3   coordinating any sort of planning of any kind that       3        A Indeed.
     4   you have seen concerning the Unite the Right rally?      4        Q Did you apply any search terms to your
     5       A No.                                                5   Google terms document?
     6       Q Where did Exhibit 36 come from?                    6        A No.
     7       A I believe I sent it to you.                        7        Q Sorry. Did you apply any search terms to
     8       Q Where did you find it?                             8   your Google Docs search?
     9       A In my Google Docs.                                 9        A No.
    10       Q How did you find it?                              10        Q You just looked at documents that you
    11       A I went back to 2017 and looked for all            11   thought were relevant?
    12   the documents that were there.                          12        A In addition to giving a third-party
    13       Q How many documents were there?                    13   vendor access the Google account in question to go
    14       A Everything I sent you.                            14   over all of them.
    15       Q You sent me every single document in your         15        Q How many Google docs are saved in there,
    16   Google Docs?                                            16   total?
    17       A Well, no. The ones that I thought were            17        A I don t know.
    18   relevant and related to Unite the Right.                18        Q Approximately?
    19       Q How did you decide what was relevant to           19        A I don t know.
    20   Unite the Right?                                        20        Q Is there fewer than a million?
    21       A Well, if they mentioned Unite the Right.          21        A There are fewer than a million but more
    22       Q And just to be clear, you think a Twitter         22   than two. Somewhere between two and a million.
    23   post that talks about the Charlottesville prisoners     23        Q So you have -- the best you can estimate
    24   of war -- meaning the people that were arrested at      24   is that there is somewhere between two and a million
    25   Charlottesville -- you, in your estimation, believe     25   Google docs in your Google Doc drive?

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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2       A A couple dozen.                                    2   on the ticket system that Matt Parrott has.
     3       Q So there's somewhere between two and a             3           I sound like a broken record.
     4   couple dozen documents?                                  4       Q You sent me about, you say, 12 documents
     5       A That would be accurate.                            5   on July 7th?
     6       Q Do you have any document that shows any            6       A That sounds about right.
     7   metadata associated with that e-mail?                    7       Q And just to be clear, you posted on
     8       A No.                                                8   Discord, that we know of, more than 4,000 times,
     9       Q So all we have to go on to understand              9   right?
    10   that you created that document and disseminated it is   10       A Oh, that I posted?
    11   your memory?                                            11       Q Yes.
    12       A Well, then when the third-party vendor            12       A That sounds about right.
    13   gets to get into it and look at it to see its           13       Q And you've posted on approximately ten
    14   creation date and such. I trust them to do a good       14   different social media accounts, right?
    15   job.                                                    15       A I guess.
    16       Q Do you have any -- withdrawn -- other             16       Q You've published a number of articles,
    17   e-mails that you found that concern Unite the Right?    17   right?
    18       A Well, if I didn't send them to you. I             18       A Yes.
    19   didn't see any rough drafts or anything.                19       Q You've written in Action, a quarterly TWP
    20       Q Okay. So that document, Exhibit 36, is            20   publication, right?
    21   the only document that you preserved concerning the     21       A Uh-huh.
    22   Unite the Right rally?                                  22       Q You had at least three e-mail accounts
    23       A No, I have the other one. Is that 32,             23   that may have responsive documents, correct?
    24   maybe? Thirty-two, along with the other documents I     24       A One that I have access to, yes.
    25   sent you. And all the e-mails that would have been      25       Q And fair to say you are a prolific



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     1                  M. HEIMBACH                              1                 M. HEIMBACH
     2   writer, right?                                          2   reading all my ramblings that I've ever written that
     3        A I used to be.                                    3   have nothing to do with Charlottesville. I mean, I'm
     4        Q And your search of your Google Docs              4   sure I could dig up more articles.
     5   system for responsive documents turned up about ten     5       Q Can you answer my question?
     6   documents; is that fair to say?                         6           Do you agree with me that your search of
     7        A It's still like 300 pages, though.               7   your electronic devices turned up approximately ten
     8        Q Right. And when you say 300 pages, that          8   documents that you believed were responsive to this
     9   also included a manuscript that you were writing        9   case, right?
    10   called White Juche?                                    10       A That sounds about right.
    11        A Juche.                                          11       Q There was a blog on the Traditionalist --
    12        Q Juche?                                          12   withdrawn -- a blog on the TradWorker website, right?
    13        A Yeah, you've gotta give welcome to North        13       A Yes.
    14   Korean stuff.                                          14       Q Called the TradWorker Blog?
    15        Q Okay.                                           15       A Yes.
    16        A It's wild.                                      16       Q That blog included posts about the events
    17        Q And that doesn't concern Charlottesville,       17   in Charlottesville?
    18   right?                                                 18       A I can't recall.
    19        A It concerned in terms of your request on        19       Q You posted articles to that blog, didn't
    20   anything involving white separatism.                   20   you?
    21        Q But you agree with me that your search          21       A I have, yes.
    22   for responsive documents, that you performed for the   22       Q Did you take any steps to preserve
    23   first time in the last month or two, turned up         23   anything that was posted on the TradWorker blog?
    24   approximately ten documents, right?                    24       A No. I was informed by Matt Parrott that
    25        A Well, unless you want to go back to             25   he had preserved all said information.


                                                Page 260                                                     Page 261
     1                 M. HEIMBACH                               1                 M. HEIMBACH
     2       Q When did Matt Parrott tell you that?              2   off the hook?
     3       A Sometime over the past year.                      3       A There would be no way for me to get them.
     4       Q And tell us specifically what Matt                4   So --
     5   Parrott told you about preservation efforts.            5       Q Did you take any steps to preserve
     6       A That he had preserved all of the data in          6   anything on the TradWorker blog?
     7   relation to the website and the ticket system.          7       A Well, I didn't have any of the back end
     8       Q And did Matt Parrott tell you that                8   information, so I couldn't.
     9   because he preserved data that you didn't need to       9       Q So the answer is, no?
    10   preserve -- withdrawn.                                 10       A Well, because it's all been preserved
    11           Did Matt Parrott tell you that, because        11   anyway. So --
    12   he had preserved certain data, that you did not need   12       Q Is the answer to my question, no?
    13   to produce documents in this case?                     13       A The answer to the question is more of a I
    14       A Well, I mean, how would I get them?              14   didn't have the ability to do that. So --
    15       Q Did he tell you that?                            15       Q All right. Listen carefully to my
    16       A No.                                              16   question.
    17       Q Did you ask your attorney whether Matt           17       A Uh-huh.
    18   Parrott's production of documents could satisfy your   18       Q Did you take any steps to preserve
    19   discovery obligations?                                 19   content from the TradWorker blog?
    20       A I don't recall.                                  20       A No, because I would have no idea how to
    21       Q You don't recall whether you asked your          21   even start.
    22   attorney that?                                         22       Q Traditionalist Worker Party also had an
    23       A No.                                              23   account on Gab, right?
    24       Q You just assumed when Matt Parrott told          24       A I guess.
    25   you I've got the documents preserved, that you were    25       Q Did they or didn't they?



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                                                 Page 262                                                    Page 263
     1                M. HEIMBACH                                 1                 M. HEIMBACH
     2      A I don't recall.                                     2       was marked for the record.)
     3      Q Were you the chairman of Traditionalist             3   BY MR. BLOCH:
     4   Worker Party?                                            4       Q I'm showing you Exhibit 37.
     5      A Uh-huh.                                             5           Do you recognize that?
     6      Q You don't know whether they had an                  6       A I don't recognize it, per se, but it
     7   account on Gab?                                          7   looks like a TradWorker affiliated Twitter account.
     8      A I don't recall.                                     8       Q And you don't think -- withdrawn.
     9      Q Did TWP have an account on Twitter?                 9           Matt Parrott would never discuss with
    10      A I don't recall.                                    10   you, the chairman of the party, what would be posted
    11      Q You didn't talk to anybody about whether           11   on any social media site?
    12   TWP had an account on Twitter?                          12       A I trusted people that managed social
    13      A Well, if they did, I wasn't managing it.           13   media to manage social media.
    14      Q Did you ever see a Twitter post from TWP?          14       Q Is the answer to my question, no, Matt
    15      A I don't recall.                                    15   Parrott never discussed with you any of the content
    16      Q You don't recall whether you have seen a           16   posted on any TWP social media site?
    17   Twitter post on behalf of TWP in the last two years?    17       A I can't recall.
    18      A Yeah, it would have been a long time ago.          18       Q Is this a Twitter post from August 19th,
    19      Q Who would know whether TWP had a Gab               19   2017 that states: Note that Heimbach, Richard
    20   account?                                                20   Spencer and the rest of Nationalist Rights stood
    21      A Matt Parrott.                                      21   their ground and led their men in Charlottesville?
    22      Q Who would know that TWP had a Twitter              22       A Looks like it.
    23   account?                                                23       Q You've never seen this before?
    24      A Matt Parrott.                                      24       A Not that I can recall.
    25          (Heimbach Deposition Exhibit No. 37              25       Q Did you have credentials to any TWP

                                                 Page 264                                                    Page 265
     1                M. HEIMBACH                                 1                M. HEIMBACH
     2   social media account?                                    2       Q Did you care what was posted on the TWP
     3       A Not that I can recall.                             3   social media accounts?
     4       Q You didn't have any credentials to the             4       A Well, I delegated and trusted people to
     5   TWP Gab account?                                         5   be able to manage things.
     6       A Not that I can recall.                             6       Q And you never looked, ever, at the TWP
     7       Q You didn't have credentials to the TWP             7   Twitter account to see what was being posted on
     8   Twitter account?                                         8   behalf of your organization?
     9       A Not that I can recall.                             9       A I can't really recall.
    10       Q Do you recall any social media account            10       Q You never looked at the Gab account to
    11   that TWP had?                                           11   see what was being posted on behalf of the
    12       A The YouTube account.                              12   organization that you were the chairman of?
    13       Q The one that we've already -- I've shown          13       A Not that I can recall.
    14   you a picture of?                                       14       Q Did you ever -- who -- who ran the TWP VK
    15       A Yes.                                              15   page?
    16       Q Other than the one that -- other than the         16       A I don't know.
    17   account that I showed you a picture of today, do you    17       Q You don't know?
    18   as the chairman of Traditionalist Worker Party recall   18       A Not that I can recall.
    19   any social media accounts that TWP had?                 19       Q When you say I don't recall, do you mean
    20       A No.                                               20   you don't remember or do you just mean, no?
    21       Q Do you recall a single post by TWP on any         21       A I mean I don't recall.
    22   social media account?                                   22           (Heimbach Deposition Exhibit No. 38
    23       A Not that I can recall.                            23       was marked for the record.)
    24       Q Did TWP have a VK account?                        24   BY MR. BLOCH:
    25       A Not that I can recall.                            25       Q I'm showing you 38. What is that?



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                                              Page 266                                                    Page 267
     1                M. HEIMBACH                              1                 M. HEIMBACH
     2       A It looks like a VK page.                        2   were doing theirs.
     3       Q Is that a TradWorker VK page?                   3       Q And as the chairman, you didn't -- were
     4       A Looks like.                                     4   there meetings?
     5       Q Is this the first time you've seen a            5       A Yes.
     6   TradWorker, TWP account on VK?                        6       Q When did meetings happen?
     7       A I can't recall.                                 7       A When local groups decided to meet.
     8       Q Who would know?                                 8       Q Did you ever have internal meetings with
     9       A Probably Matt Parrott.                          9   the Traditionalist -- withdrawn.
    10       Q Why didn t you care what was being posted      10           Did you ever have meetings with the TWP?
    11   on behalf of your organization on any social media   11       A Yes.
    12   account?                                             12       Q How often?
    13       A Well, I couldn't manage everything.            13       A Depended on the region, membership in
    14       Q Well, what did you manage?                     14   that area.
    15       A Writing the paper, networking for              15       Q Approximately how often did you meet as a
    16   activism.                                            16   party?
    17       Q And that's it?                                 17       A Well, I mean people were spread out over
    18       A Media interviews. Yeah.                        18   a pretty big distance. So the question is, like, how
    19       Q And other than media interviews,               19   often did I meet up to go bowling with TWP members in
    20   activism -- what was the third thing you said?       20   my local region, or how often did we have like a big
    21       A Networking.                                    21   hootenanny?
    22       Q Other than those things, you don t have        22       Q Did you have meetings as a party about
    23   any idea what anybody else in the Traditionalist     23   the operation of the party?
    24   Worker Party was doing?                              24       A Well, in terms of the operation of the
    25       A I mean, I was doing my job. Other people       25   party, that would have been conversations between


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     1                M. HEIMBACH                              1                  M. HEIMBACH
     2   myself, Matt Parrott and Tony Hovater.                2       A I don't know. It depends if it's a
     3       Q And did the three of you ever have              3   workday, if I was spending time with my kids, if I
     4   discussions about TWP?                                4   was traveling, if I was doing activism. I mean,
     5       A Yes.                                            5   that's a pretty wide range between zero time and a
     6       Q And in your discussions about TWP, did          6   really lazy Saturday.
     7   you ever discuss social media for TWP?                7       Q Did you take any steps to preserve any of
     8       A Not that I can recall.                          8   the content from any TWP social media account?
     9       Q And you don't recall ever having                9       A Well, considering I wasn't running them,
    10   reviewed, ever, any social media account that        10   no.
    11   belonged to TWP?                                     11       Q And as you sit here today, you don't know
    12       A I don't recall.                                12   whether anybody has taken any steps to preserve the
    13       Q You don't actively review Iron March,          13   content of any social media account on behalf of TWP?
    14   right?                                               14       A Not in my wheelhouse.
    15       A Like, I've read the website?                   15       Q Is the answer to my question, no?
    16       Q Sure.                                          16       A Yes.
    17       A Sometimes.                                     17       Q In your supposed conversation you had
    18       Q How much time a day would you spend on         18   sometime in the last year with Matt Parrott about
    19   social media?                                        19   preservation efforts, you did not discuss any TWP
    20       A I don't know. Depended on the day,             20   social media accounts?
    21   right?                                               21       A Nope, not to my knowledge.
    22       Q Yeah. Approximately.                           22       Q How long did that conversation last?
    23       A I don't know.                                  23       A I don't recall.
    24       Q Approximately how many hours a day would       24       Q When did that conversation take place?
    25   you spend on social media?                           25       A Sometime in the last year.



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                                                 Page 270                                                  Page 271
     1                M. HEIMBACH                                 1                 M. HEIMBACH
     2      Q Sometime in 2018, fair to say?                      2        Q Is it fewer than 500?
     3      A Probably.                                           3        A For TYN, yes.
     4      Q What's Traditionalist Youth Network?                4        Q Is it fewer than 250?
     5      A An organization that existed for, like, a           5        A I don't know.
     6   year and a half.                                         6        Q Is it somewhere between zero and 500?
     7      Q Who founded it?                                     7        A Between at least two and 500.
     8      A I did.                                              8        Q Between two and 500?
     9      Q What is tradyouth.org?                              9        A Yeah.
    10      A A website.                                         10        Q When I asked you if you could estimate,
    11      Q Who else was involved in Traditionalist            11   is there any reason you couldn't have said between
    12   Youth Network?                                          12   two and 500?
    13      A Matt Parrott.                                      13        A It just seems overly broad. I wouldn't
    14      Q Anybody else?                                      14   want to disrespect you.
    15      A Well, like membership, yeah.                       15        Q To be clear, tradyouth.org is the
    16      Q How many members?                                  16   Traditionalist Youth Network's website, right?
    17      A I don't know.                                      17        A It was.
    18      Q Can you approximate?                               18        Q And that -- and who is the intended
    19      A Not really.                                        19   audience for that website?
    20      Q Is it fewer than a million members?                20        A College students.
    21      A Fewer than a million.                              21        Q And that website -- did you run the
    22      Q Would it be fewer than 10,000?                     22   website?
    23      A Yes.                                               23        A Nope.
    24      Q Is it fewer than 1,000?                            24        Q Matt Parrott?
    25      A Yes.                                               25        A Uh-huh.

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     1                M. HEIMBACH                                 1                  M. HEIMBACH
     2       Q And did that audience include people that          2       A It does, yes.
     3   you were aware would attend Unite the Right?             3       Q And does it also look like, to you, that
     4       A Well, no, because TYN was shut down                4   there's an article posted there?
     5   before Charlottesville.                                  5       A Yeah, it looks like it.
     6       Q So is it your testimony that there was no          6       Q And does it also look like to you that
     7   content on tradyouth.org that concerned the Unite the    7   the article concerns Unite the Right?
     8   Right rally?                                             8       A Yeah, I totally forgot this is still even
     9       A I don't think that website even existed            9   up.
    10   past 2014, to the best of my knowledge.                 10       Q Would it be fair to say, Mr. Heimbach,
    11       Q And just to be clear, that's based on             11   that your memory is not entirely reliable?
    12   your recollection, right?                               12       A Oh, certainly not.
    13       A Yes, that's based on my recollection.             13       Q Certainly not reliable, right?
    14       Q And your recollection is that                     14       A Oh, no.
    15   tradyouth.org was shut down by 2014, right?             15       Q Do you actually have a diagnosed issue
    16       A Well, by 2015-ish.                                16   with your memory?
    17           (Heimbach Deposition Exhibit No. 39             17       A Oh, no, I don't.
    18       was marked for the record.)                         18       Q Have you suffered any brain trauma of any
    19   BY MR. BLOCH:                                           19   kind?
    20       Q I'm showing you Exhibit 76 -- sorry --            20       A I did get hit with a bat in
    21   sorry -- Exhibit 39.                                    21   Charlottesville.
    22           Do you recognize that?                          22       Q So this is an article that says Proud
    23       A It looks like the website.                        23   boys are cordially invited to Unite the Right.
    24       Q And when you say it looks like the                24           Right?
    25   website, do you mean it looks like tradyouth.org?       25       A Looks like.



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                                               Page 274                                                    Page 275
     1                  M. HEIMBACH                              1                 M. HEIMBACH
     2       Q    And that was posted on tradyouth.org?          2       Q That's based on your memory, though,
     3       A    By Matt Parrott, yes.                          3   right?
     4       Q    I'll take the exhibit back for a second.       4       A Yes. That's all I've got.
     5           Were there videos posted on                     5       Q And did you take any steps to preserve
     6   tradyouth.org?                                          6   any of the content of tradyouth.org?
     7       A I think so.                                       7       A Considering I didn't run the site, no.
     8       Q And were there podcasts posted?                   8       Q You were also a member of Nationalist
     9       A I believe so.                                     9   Front, right?
    10       Q And the videos concerned Unite the Right,        10       A It wasn't really a member thing, per se.
    11   didn't they?                                           11       Q You were not a member of Nationalist
    12       A Not that I can recall.                           12   Front?
    13       Q But that's based on your memory, right?          13       A Well, I mean, the Nationalist Front was
    14       A Indeed.                                          14   more of an idea.
    15       Q And are there podcast on tradyouth.org?          15       Q Right. So my question is Were you a
    16       A I believe so.                                    16   member of the Nationalist Front?
    17       Q And did those concern Unite the Right?           17       A No. The Traditionalist Worker Party was.
    18       A I don't recall.                                  18       Q Well, you were not a leader of
    19       Q Does tradyouth.org still exist?                  19   Nationalist Front?
    20       A Not to the best of my knowledge.                 20       A I'm just a guy.
    21       Q When was it taken down?                          21       Q My question is Were you a leader of the
    22       A I don't recall.                                  22   Nationalist Front?
    23       Q Did -- you had an e-mail account                 23       A I don't really -- I mean, were there
    24   associated with Traditionalist Youth Network?          24   really leaders, though? More of a coalition sort of
    25       A Not that I recall.                               25   thing.

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     1                  M. HEIMBACH                              1                M. HEIMBACH
     2            I did lead an organization that was            2   website?
     3   affiliated with an umbrella, a coalition idea.          3       A Yes.
     4       Q Would you describe yourself as one of the         4       Q You remember that?
     5   leaders of the Nationalist Front?                       5       A Yes.
     6       A It doesn't exist anymore.                         6       Q And what was the website?
     7       Q Are you going to answer my question?              7       A NFunity.org.
     8       A Yeah.                                             8       Q And there were documents posted on the
     9       Q Would you describe yourself as a leader           9   website, right?
    10   of the Nationalist Front?                              10       A I assume so.
    11       A The leader of an organization that was a         11       Q Well, do you recall if there were
    12   member to the Nationalist Front coalition.             12   documents posted on the website?
    13       Q Okay. So is the answer to my question,           13       A There was a unifying statement of
    14   no, you would not call yourself a leader of the        14   principles.
    15   Nationalist Front coalition?                           15       Q Anything else?
    16       A I was the leader of the Traditionalist           16       A Member organizations.
    17   Worker Party, which was a member group. So there was   17           (Heimbach Deposition Exhibit No. 40
    18   no, like, head honcho of NF. There were different      18       was marked for the record.)
    19   organizations that had their own leadership            19   BY MR. BLOCH
    20   structure.                                             20       Q Okay. I'm showing you Exhibit 40.
    21       Q I see.                                           21           Do you recognize that?
    22            Is your testimony about your role in          22       A Yes.
    23   Nationalist Front, is that based on your memory?       23       Q You do recognize that?
    24       A Yeah.                                            24       A Yes.
    25       Q Okay. And did Nationalist Front have a           25       Q What is that?



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                                                 Page 278                                                    Page 279
     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2        A It looks like a list of the different             2   say leadership of Nationalist Front?
     3   leaders of organizations that were in the Nationalist    3       A Well, if you read the descriptions, this
     4   Front.                                                   4   identifies Jeff Schoep as being the leader of
     5        Q Does the -- it's a document, right?               5   National Socialist Movement, myself as being the
     6        A It is indeed.                                     6   leader of Traditionalist Worker party, Dylann being
     7        Q And at the top of the document -- have            7   the leader of Vanguard America, and Dr. Michael Hill
     8   you seen this document before?                           8   being the leader of League of the South.
     9        A Not in a while.                                   9           So leaders of different organizations
    10        Q At the -- but, yes?                              10   that were united together, yes.
    11        A Yes, now that it's in front of me.               11       Q But you agree that you were listed as one
    12        Q The top of the page says The Nationalist         12   of the persons under Leadership under this document,
    13   Front, right?                                           13   right?
    14        A Yes.                                             14       A Like, but what does that mean.
    15        Q And then under that it says Leadership,          15       Q I'm not asking you what it means, am I?
    16   right?                                                  16       A Well, I feel like it kind of matters.
    17        A Yes.                                             17       Q My question is: Are you listed as one of
    18        Q And would it be fair to assume that              18   the people on this document under the word
    19   leadership means leadership of the Nationalist Front?   19   Leadership?
    20        A Well, I feel like you're -- your argument        20       A Of an organization that was part of a
    21   is six of one,half dozen of another.                    21   coalition.
    22           Leadership of various organizations that        22       Q I'm going to try it one more time.
    23   were equals to one another.                             23       A I understand what you're saying, but I
    24        Q Does your copy of the document say               24   think these distinctions do matter to get to the
    25   leadership of various organizations or does it just     25   heart of the matter, right?

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     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2       Q Mr. Heimbach, you understand that you are          2       A No. Is it, though?
     3   required to answer my questions, right?                  3       Q Do you have reason to believe the website
     4       A Yes, and I'm trying to the best of my              4   is no longer on-line?
     5   ability, but I feel like you're not exactly listening    5       A I believe it most likely was taken down
     6   of what I'm saying.                                      6   when Matt Parrott took down the Traditionalist Worker
     7       Q All right. So let me be very clear.                7   Party website.
     8       A Yes, I'm in the document as -- as a                8       Q Well, do you have a recollection of the
     9   leader, right, which means that I was a leader of an     9   website being taken down?
    10   organization that was part of a coalition.              10       A Not directly.
    11       Q Was there content on the website                  11       Q Did you take any steps to preserve any
    12   NFunity.org that concerned the Unite the Right rally?   12   content that existed on NFunity.org at any time?
    13       A I don't recall.                                   13       A I didn't control the back end of the
    14       Q And that's based on your memory, right?           14   website, so I'd have no ability to do so, to the best
    15       A I didn't write the website.                       15   of my knowledge.
    16       Q My question is: That's based on your              16       Q Did Nationalist Front have its own e-mail
    17   recollection?                                           17   system?
    18       A Based on my recollection.                         18       A I believe Matt Parrott had created a
    19       Q And did you check in any way in your              19   ticket system that was similar to the one for the
    20   production efforts in this case?                        20   Traditionalist Worker Party.
    21       A I don't believe the website is still              21       Q So is the answer to my question, yes?
    22   on-line.                                                22       A I believe so.
    23       Q Is it still on-line?                              23       Q And you had a Nationalist Front e-mail
    24       A I don't think so.                                 24   address, right?
    25       Q Did you check whether it's still on-line?         25       A I don't recall. I think it was tied in



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                                                 Page 282                                                   Page 283
     1                M. HEIMBACH                                 1                 M. HEIMBACH
     2   with the TradWorker system, if memory serves me          2       A That's what it looks like.
     3   right.                                                   3       Q And do you see that there's a message on
     4       Q Well, do you recall or don't you recall            4   August 16th, 2017 from Commander Schoep?
     5   whether you had an e-mail address on the Nationalist     5       A Yes.
     6   Front e-mail system?                                     6       Q And do you understand that to be Jeff
     7       A No, I don't recall.                                7   Schoep?
     8       Q And who controlled the Nationalist Front           8       A Indeed.
     9   e-mail system?                                           9       Q And do you see that the content of that
    10       A Matt Parrott.                                     10   message includes a reference to the battle in
    11           (Heimbach Deposition Exhibit No. 41             11   Charlottesville?
    12       was marked for the record.)                         12       A Yes.
    13   BY MR. BLOCH                                            13       Q And do you understand that to be a
    14       Q I'm showing you Exhibit 41.                       14   reference to what took place at the Unite the Right
    15           Do you recognize this, Mr. Heimbach?            15   rally?
    16       A Well, I don't recognize it, but I                 16       A I suppose so.
    17   understand what it is.                                  17       Q And do you see that at the top of that
    18       Q And what is it?                                   18   e-mail, there is a CC, right?
    19       A It looks like a ticket.                           19       A Yes.
    20       Q From?                                             20       Q And it CCs you, TWP Leader Matt Heimbach,
    21       A NFunity.org, I suppose.                           21   right?
    22       Q Is this a ticket that is part of the              22       A Uh-huh.
    23   Nationalist Front e-mail ticket system?                 23       Q Does that refresh your recollection that
    24       A I assume so.                                      24   you had an e-mail account on the Nationalist Front
    25       Q Is that what it looks like to you?                25   ticket e-mail system?


                                                 Page 284                                                   Page 285
     1                 M. HEIMBACH                                1                M. HEIMBACH
     2       A I still think they were integrated with            2       Q And so you did not check?
     3   the TradWorker one. I don't -- I believe.                3       A No, I did not check. It's hard to check
     4       Q Do you know whether -- when you sit here           4   for things you don't remember.
     5   today, whether or not you had a separate e-mail          5       Q Did you talk about Charlottesville or
     6   account for the Nationalist Front?                       6   Unite the Right on your Nationalist Front e-mail
     7       A No.                                                7   system?
     8       Q You might have, you might not have; is             8       A I don't recall.
     9   that your testimony?                                     9       Q Do you still have access to your
    10       A Matt Parrott would know.                          10   Nationalist Front e-mail account?
    11       Q I'm asking what you know, Mr. Heimbach.           11       A I assume not.
    12       A I don't know.                                     12       Q Do you know?
    13       Q Do you know whether you had an e-mail             13       A No.
    14   account associated with the Nationalist Front's         14       Q Where are the documents stored that were
    15   ticket e-mail system?                                   15   generated by the Nationalist Front ticket e-mail
    16       A No.                                               16   system?
    17       Q And you didn't take any steps to check            17       A I assume in Matt Parrott's house.
    18   that when you were ordered to produce documents in      18       Q I don't want you to assume, Mr. Heimbach.
    19   this case?                                              19           Do you know?
    20       A I mean, I even forgot this existed.               20       A Nope. I was never in charge of them.
    21       Q So is the answer to my question, no, you          21       Q You also had meetings in real life to
    22   did not check to see whether you had a Nationalist      22   discuss planning for Charlottesville, and by that I
    23   Front e-mail account when you were ordered to produce   23   mean Nationalist Front meetings, right?
    24   documents in this case?                                 24       A We had a rally in Pikeville, Kentucky.
    25       A Yes, I didn't remember that this existed.         25       Q Well, apart from the rally in Pikeville,



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                                                Page 286                                                     Page 287
     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   Kentucky, isn't it also true you had a meeting with      2   events, network and do a flash demo. Come meet great
     3   the Nationalist Front to discuss planning for            3   comrades and let's make history.
     4   Charlottesville?                                         4           Do you see that?
     5       A I don't recall.                                    5       A I do.
     6       Q Do you recall anything you did in your             6       Q Did you post that on Discord on July 8th,
     7   capacity as a Nationalist Front leader related to the    7   2017?
     8   Unite the Right event?                                   8       A I assume so.
     9       A No.                                                9       Q Were there notes taken at that meeting of
    10       Q Nothing?                                          10   any kind?
    11       A Not off the top of my head.                       11       A I don't believe so.
    12            (Heimbach Deposition Exhibit No. 42            12       Q Do you see, Mr. Heimbach, that in your
    13       was marked for the record.)                         13   capacity as a leader you sent out a document that
    14   BY MR. BLOCH:                                           14   included logistical details for the meeting that you
    15       Q I'm showing you Exhibit 42. Is that a             15   wanted people to attend?
    16   Discord post by you?                                    16       A To show up at Rick Tyler's family-run
    17       A Yes.                                              17   restaurant, yeah.
    18       Q And did you post on Discord, on July 8th,         18       Q Right. So you agree with me that you
    19   2017: Reminder to all comrades in the area. We will     19   sent out a document that included details, such as
    20   be hosting a Nationalist Front meeting, TWP and         20   address, time, for an event that was just to meet and
    21   allies in Ocoee, Tennessee this weekend, on Saturday    21   discuss Charlottesville, right?
    22   at 1:00 p.m. at the famous Whitewater Grill. The        22       A Yes. I don't recall really getting
    23   address is 1224 US 64, Ocoee, Tennessee 37361. The      23   around to discussing Charlottesville.
    24   purpose of the meeting is to plan for the upcoming      24           I mean, the whole meeting is covered in a
    25   Charlottesville event car pool, plan for future         25   journalist Vegas Tenold's book, Everything You Love


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     1                   M. HEIMBACH                              1                 M. HEIMBACH
     2   Will Burn. So that's a pretty -- as close to notes       2       A Looks like.
     3   that exist, I think.                                     3       Q And is it your testimony that you didn't
     4       Q But you see, Mr. Heimbach, how you in              4   see or send out any sort of document like this,
     5   your capacity as one of the leaders sent out a           5   including logistics, with respect to the Unite the
     6   document that included these sorts of logistics so       6   Right rally that happened one month later?
     7   that people knew where to go, right?                     7       A I don't recall. The e-mails would have
     8       A Sure.                                              8   been sent out by Matt Parrott.
     9       Q And why did you think that was important           9       Q But you don't have any recollection of
    10   to do for this meeting?                                 10   anything like that, right?
    11       A So we could have fellowship and                   11       A Uh-uh.
    12   fraternity.                                             12       Q Now, fair to say Matt Parrott is a close
    13       Q But did you think it was important to             13   friend of yours?
    14   give people logistics about where to be and at what     14       A Yeah.
    15   time so that people knew where to go and where to be    15       Q And you were still friends with him in
    16   at what time? Did you think that was important for      16   February of 2018, right?
    17   that meeting in July?                                   17       A Uh-huh.
    18       A It's hard to have lunch without telling           18       Q And you talked to him every day?
    19   people when to show up.                                 19       A Close enough.
    20       Q Right. You sort of have to tell people            20       Q And you live -- in February 2018, how far
    21   where to be at what time if you want to have an         21   did you live from him?
    22   organized meeting, right?                               22       A Fifty yards.
    23       A Sure.                                             23       Q And you spoke to him about Unite the
    24       Q And that was important to you on                  24   Right, right?
    25   July 8th, 2017, right?                                  25       A I don't think I can really recall



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                                                 Page 290                                                    Page 291
     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   specifics.                                               2           (Heimbach Deposition Exhibit No. 43
     3       Q Is it your testimony, Mr. Heimbach, that           3       was marked for the record.)
     4   you did not discuss Unite the Right with Matthew         4   BY MR. BLOCH:
     5   Parrott?                                                 5       Q I'm showing you Exhibit 43.
     6       A I'm sure we did, I just can't recall               6           Do you recognize that?
     7   specifics.                                               7       A No.
     8       Q But you talked to him about Unite the              8       Q Is that a post from Mr. Parrott's
     9   Right, right?                                            9   Facebook page?
    10       A Sure.                                             10       A Looks like.
    11       Q And you had conversations with                    11       Q And that's a post that Mr. Parrott posted
    12   Mr. Parrott about this lawsuit, right?                  12   on February 27, 2018, right?
    13       A I assume so.                                      13       A Yes.
    14       Q Well, I'm not asking you to assume,               14       Q And Mr. Parrott wrote: General note. If
    15   Mr. Parrott [sic].                                      15   you were involved in any altercation in Cville and
    16           You did have conversations about this           16   you haven't disabled your social media, you should do
    17   lawsuit, didn't you?                                    17   so. I know it's a bit late for some folks,
    18       A Again, I assume so, yeah.                         18   obviously, but just in case there's anybody out there
    19       Q Were you friends with Mr. Parrott on any          19   reading this who's out there who hasn't taken that
    20   social media accounts?                                  20   step, do so. It doesn't matter if you actually did
    21       A Facebook.                                         21   anything. Everybody's getting a ride, even if it's
    22       Q Okay. And as a friend of Mr. Parrott's            22   totally obvious that they're not convictable.
    23   Facebook, you are able to see the things he posts on    23       A Isn't that the truth.
    24   his page, right?                                        24           Am I supposed to have an opinion on
    25       A Yes.                                              25   Mr. Parrott's post?

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     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2       Q You saw that post, right?                          2       A I don't recall. I'm sure we can go back
     3       A Not that I can recall.                             3   in the archives, though.
     4       Q Did you ever have a conversation with              4       Q Approximately when did you start the
     5   Mr. Parrott about disabling social media accounts?       5   Daily Traditionalist podcast?
     6       A Not that I can recall.                             6       A I still don't recall, but we could check
     7       Q Even though you spoke to him every day,            7   the archives if you'd like.
     8   were friends with him on Facebook, lived 50 feet from    8       Q Was it after 1980?
     9   him and talked to him about Charlottesville and this     9       A I believe I was born, yes.
    10   lawsuit, it's your testimony that you did not see       10       Q So would it be fair to say it was after
    11   this Facebook page or have any conversation with        11   1980?
    12   Mr. Parrott about disabling social media accounts; is   12       A At least 1991.
    13   that your testimony, sir?                               13       Q And was it after the year 2000?
    14       A Not that I can recall.                            14       A Yes.
    15           He posts a lot. It's hard to keep up            15       Q Was it after the year 2010?
    16   with all that.                                          16       A Somewhere between the years of 2014 to
    17       Q You agree with me, Mr. Heimbach, that             17   2017.
    18   every single social media account that you were on      18       Q That's when you created the Daily
    19   that concerns the Unite the Right has been either       19   Traditionalist?
    20   disabled or deleted since you were sued in this case?   20       A Somewhere in there.
    21       A Yes. To the best of my knowledge.                 21       Q And who are the listeners of this
    22       Q You had a podcast -- we discussed this --         22   podcast?
    23   called Daily Traditionalist, right?                     23       A Well, I mean you guys. I mean that's
    24       A Uh-huh. Are you guys regular listeners?           24   been my biggest fans, right?
    25       Q When did you start that podcast?                  25           White nationalists.



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                                              Page 294                                                   Page 295
     1                 M. HEIMBACH                             1                  M. HEIMBACH
     2       Q And how many episodes would you say             2       A Yes, but you do a podcast everyday, it's
     3   you've appeared on?                                   3   hard to remember what you talked about from Tuesday
     4       A Oh, I don't know. I mean, I did it daily        4   to Friday, let alone two years ago.
     5   for a while. Over a hundred, if I were to give an     5       Q Did you say on a podcast on October 12th,
     6   estimate.                                             6   2017, you were incredibly restrained in
     7       Q And other Defendants have appeared on           7   Charlottesville?
     8   that podcast, too, right?                             8       A I assume you can play it, so I'm going to
     9       A Yes.                                            9   go ahead with yes, but I don't recall.
    10       Q Including Tony Hovater?                        10       Q Did you make -- sure. Whatever.
    11       A Yes.                                           11            I'm referring to Exhibit 1 at 8.45.
    12       Q Where are the recordings of this podcast       12            Podcast Recording Played:
    13   kept?                                                13            (Sounds like a wonderful idea.
    14       A On the archives of Radio Aryan.                14       It's -- well, if we can grow -- in every
    15       Q Does that website still exist?                 15       with respect, incredibly restrained. In
    16       A Yes.                                           16       our planning, in our talking with people,
    17       Q And so all of those podcasts are               17       in our actual actions. Incredibly
    18   available on that website, as far as you know?       18       restrained in Charlottesville. We
    19       A As far as I know.                              19       would --)
    20       Q Have you checked?                              20   BY MR. BLOCH:
    21       A No.                                            21       Q Is that your voice, Mr. Heimbach?
    22       Q Well, there are podcasts that discuss          22       A It is, and I stand by that comment.
    23   Unite the Right; isn't that true?                    23       Q And were you talking about Unite the
    24       A I assume so.                                   24   Right?
    25       Q Well, you were on the podcasts, right?         25       A I was.


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     1                 M. HEIMBACH                             1                M. HEIMBACH
     2      Q You also appeared on a podcast called the        2   The Radical Agenda?
     3   Daily Nationalist, right?                             3       A I think so.
     4      A Yes.                                             4       Q Have you taken any steps to preserve any
     5      Q And you discussed Unite the Right on that        5   episodes of any podcasts?
     6   pod cast, as well, right?                             6       A In regards to The Radical Agenda, given
     7      A I believe so, yes.                               7   that Chris Cantwell is a Codefendant, I understood
     8      Q You believe so or you did?                       8   that he would have a responsibility to preserve all
     9      A I believe so.                                    9   that information regardless. So --
    10      Q Do you not recall?                              10       Q Did you discuss that with Mr. Cantwell?
    11      A No. If you're referring to an episode           11       A I assumed he was going to fulfill his
    12   from -- I don t know -- a month ago, yes.            12   discovery obligations.
    13      Q So you do recall speaking about Unite the       13       Q I'm not asking for what you assumed,
    14   Right on a Daily Nationalist podcast about a month   14   Mr. Heimbach.
    15   ago, right?                                          15           Did you discuss that with Mr. Cantwell?
    16      A Yes.                                            16       A I don't recall discussing that, no.
    17      Q Have you appeared on any other podcasts?        17       Q Have you taken any steps to preserve any
    18      A Like, ever?                                     18   episodes of any of your podcasts?
    19      Q Yeah.                                           19       A No.
    20      A Like ever, ever? Yes.                           20       Q Have you made any efforts to produce any
    21      Q How about The Radical Agenda?                   21   of your podcasts to Plaintiffs in discovery in this
    22      A Yes.                                            22   case?
    23      Q And whose podcast is that?                      23       A I didn't know you guys wanted to hear
    24      A Chris Cantwell's.                               24   them.
    25      Q And have you discussed Charlottesville on       25       Q Do you recall looking at the document



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                                                 Page 298                                                   Page 299
     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2   requests earlier today?                                  2   nationalists. Really everybody. It's a family show.
     3       A Yes.                                               3       Q When did you create the first episode of
     4       Q And you agree that you've reviewed that,           4   Action?
     5   right?                                                   5       A Eight weeks before it ended, I guess.
     6       A I have now reviewed it, yes.                       6   Maybe January.
     7       Q Well, you reviewed it when I sent it to            7       Q Of what year?
     8   you, at least, on July 7th, 2019, right?                 8       A 2018.
     9       A It sounds accurate.                                9       Q You created it in January 2018?
    10       Q And you agree with me that one of the             10       A I believe so, to the best of my
    11   things we asked is podcasts, right? Didn't we talk      11   knowledge.
    12   about that?                                             12       Q And you appeared on the podcast with Tony
    13       A Yes, but I hadn't really thought of it.           13   Hovater?
    14   I'd be happy to go through the archives going forward   14       A Indeed.
    15   to fulfill any obligations.                             15       Q Any other Defendants?
    16       Q Do you have a podcast called Action?              16       A I'd have to look.
    17       A Not anymore.                                      17       Q You agree that you spoke about Unite the
    18       Q Have you ever?                                    18   Right on some of the episodes of that podcast?
    19       A Yes.                                              19       A Not that I recall, but if you've got a
    20       Q And how many episodes were there on               20   transcript I'm going to assume.
    21   Action?                                                 21       Q Well, I'm asking you. Do you recall?
    22       A Eight, I think.                                   22       A No, I don't recall.
    23       Q And who is the intended audience for              23       Q Did you take any steps to preserve the
    24   Action?                                                 24   audio files of Action?
    25       A Concerned soccer moms, and white                  25       A Well, the audio files were deleted in

                                                 Page 300                                                   Page 301
     1                  M. HEIMBACH                               1                  M. HEIMBACH
     2   March of 2018 by therightstuff.biz. I never had the      2       Q Who's Sven?
     3   files and they were deleted overnight by the hosts.      3       A A guy that's on the Daily Shoah.
     4       Q Where were they deleted?                           4       Q Is that Sven Longshanks?
     5       A An in-fight within white nationalism.              5       A No, different Sven.
     6       Q Tell me about that.                                6       Q Really?
     7       A They got upset, essentially, with the              7       A Really.
     8   podcast and with the Traditionalist Worker Party.        8       Q What is this Sven's last name?
     9   So, without any warning, they deleted the content.       9       A I don t know.
    10       Q And who is that, that you're referring?           10       Q Is this Sven a member of TWP?
    11   What's the name?                                        11       A No. No, the TRS crowd was never going to
    12       A The death panel. Mike Peinovich, Jazz             12   be wearing a TWP T-shirt.
    13   Hands, JO probably. I don't know. I don't really        13       Q Did you ever appear on a podcast called
    14   know who was involved in all that decision.             14   Nord Front?
    15       Q What's the death panel?                           15       A Yes.
    16       A It's the hosts of the Daily Shoah.                16       Q What is that?
    17       Q And why are they called the death panel?          17       A It's a Nordic resistance movement English
    18       A It's a joke.                                      18   language podcast.
    19       Q Who is JO?                                        19       Q And does that advocate white nationalism?
    20       A One of the guys that podcasts on                  20       A National socialism.
    21   therightstuff.                                          21       Q And did you appear on that podcast
    22       Q So Mike Peinovich deleted your                    22   shortly after the Unite the Right rally?
    23   podcasts --                                             23       A I don t recall.
    24       A Well, I don't know that it was him. It            24       Q Did you appear on that podcast sometime
    25   could have been Sven or any of the other guys.          25   on August 12th or 13th of 2017?



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                                                 Page 302                                                    Page 303
     1                  M. HEIMBACH                               1                  M. HEIMBACH
     2        A I don't recall.                                   2        A That's a blog done by Brad Griffin.
     3        Q Did you appear on a podcast on                    3        Q Did you have an account on Occidental
     4   August 12th?                                             4   Dissent?
     5        A I don't recall.                                   5        A One that Matt Parrott had set up.
     6        Q Did you appear on a podcast on                    6        Q So the answer is, yes?
     7   August 13th?                                             7        A Yes.
     8        A I don't recall.                                   8        Q By the way, what is Matt Parrott's actual
     9        Q Is your memory of August 12th so faulty           9   title within the Traditionalist Worker Party?
    10   that you don't remember whether or not you even         10        A I don't know. Secret Wizard of
    11   appeared on a podcast or not?                           11   Technology.
    12        A You know, faulty is one way to say it,           12        Q Is it fair to say he is lower on the
    13   but I think a more accurate thing would be I remember   13   hierarchy of TWP than you are?
    14   the defining moment of antifascists with assault        14        A No.
    15   rifles pointing them at me or being struck in the       15        Q Even though you're the chairman?
    16   head with a bat. Those kind of stick out far more       16        A Well, I know how to people. That's kind
    17   than if I did a podcast.                                17   of the big difference here. Can't technology to save
    18        Q And you don't know whether you appeared          18   my life, but I can people. More of a dynamic duo
    19   on a podcast on August 13th to discuss the rally?       19   sort of arrangement.
    20        A I do not. If you have a transcript, you          20        Q Is Matt Parrott related to Jessica
    21   could refresh your memory, but I honestly don't         21   Parrott in any way?
    22   recall. That was kind of a hectic couple days.          22        A They're ex-spouses.
    23        Q Are you familiar with Occidental Dissent?        23        Q Is Matt Parrott related to Brooke
    24        A Yes.                                             24   Heimbach in any way?
    25        Q What is that?                                    25        A Not biologically or adoption. He was

                                                 Page 304                                                    Page 305
     1                 M. HEIMBACH                                1                  M. HEIMBACH
     2   married to her biological mother for a period of         2       A Yes.
     3   time, but not actually related.                          3       Q And what kind of phone was that?
     4       Q Is Matt Parrott Brooke Heimbach's                  4       A I don't know.
     5   father-in-law?                                           5       Q You don't have any idea what kind of
     6       A Well, no.                                          6   phone it was?
     7       Q Withdrawn.                                         7       A Android.
     8           Is Matt Parrott Brooke Heimbach's                8       Q Is that phone identified on the
     9   step-father?                                             9   certification that you filled out?
    10       A Not legally. He never adopted her.                10       A I'd have to look at it.
    11   So --                                                   11           (Heimbach Deposition Exhibit No. 44
    12           THE WITNESS So about that coffee?               12       was marked for the record.)
    13           MR. BLOCH Why don't we go off the               13   BY MR. BLOCH
    14       record and take a 20-minute lunch break.            14       Q I'm showing you Exhibit 44.
    15           THE WITNESS Cool.                               15       A Yes, that would be the third one.
    16           THE VIDEOGRAPHER We're going off                16       Q So the third -- the notation on the
    17       the record. The time is 1 51 p m.                   17   certification that says Android?
    18                (Brief pause.)                             18       A Yes.
    19           THE VIDEOGRAPHER We're back on                  19       Q What does that say, the nature of
    20       the record. The time is 2 17 p m.                   20   responsive documents on device?
    21   BY MR. BLOCH                                            21       A Text, location data, device removed -- I
    22       Q Good afternoon, Mr. Heimbach.                     22   think -- as explained in submitted affidavit.
    23       A Good afternoon, Mr. Bloch.                        23       Q And so that notation refers to the cell
    24       Q Mr. Heimbach, you had a cell phone on             24   phone that you had on August 12th 2017, right?
    25   August 12th, 2017, right?                               25       A Yes.



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     1                 M. HEIMBACH                             1                 M. HEIMBACH
     2       Q And the phone number on that was                2   about four years up until August 12, 2017?
     3   (301)525-1474?                                        3       A I don't know.
     4       A Yup.                                            4       Q You certainly had that phone in 2017,
     5       Q When did you purchase that phone?               5   right?
     6       A I have no idea.                                 6       A I believe so.
     7       Q Approximately when did you get that             7       Q And is it fair to say that you had that
     8   phone?                                                8   phone at least by 2016?
     9       A I have no idea.                                 9       A I don't know.
    10       Q Well, was it in 2017?                          10       Q Is it fair to say you had that phone at
    11       A I don't know.                                  11   least by the start of 2017?
    12       Q Was it sometime after 2010?                    12       A I believe so.
    13       A Sometime after 2010.                           13       Q Between January 1st, 2017 and today, have
    14       Q Sometime after 2015?                           14   you ever had another phone number?
    15       A I don't know.                                  15       A Nope.
    16       Q So it's conceivable that you had that          16       Q And were you the only person that used
    17   phone for seven years; is that right?                17   that phone, that Android that's referred to on the
    18       A Sometime after college. I don't remember       18   certification?
    19   when I got it.                                       19       A Yes.
    20       Q And when did you graduate college?             20       Q And you sent and received text messages
    21       A 2013.                                          21   on that phone that related to the Unite the Right
    22       Q Okay. So are you testifying that you got       22   event, correct?
    23   that phone sometime after 2013?                      23       A Yes.
    24       A I believe so.                                  24       Q What sorts of things do you recall
    25       Q So you had that phone approximately for        25   texting people about Unite the Right on that phone?

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     1                M. HEIMBACH                              1                M. HEIMBACH
     2       A Looking forward to an exciting walk in          2       Q And did you send and receive text
     3   the park.                                             3   messages about Unite the Right on August 12th, 2017?
     4       Q Is that the only thing you recall texting       4       A I'm sure I did.
     5   on that phone?                                        5       Q Do you recall specifically what you
     6       A I don t recall.                                 6   texted on August 11th to anybody?
     7       Q Do you recall texting people about              7       A No.
     8   planning related to Unite the Right?                  8       Q Do you recall approximately, generally
     9       A I don t recall.                                 9   speaking, what you texted to anybody on August 11th?
    10       Q Do you recall actually saying to               10       A No.
    11   somebody, Looking forward to a walk in the park?     11       Q Do you recall, generally speaking, what
    12       A No, I said that in Charlottesville on          12   you texted about on August 12th, 2017?
    13   August 12th.                                         13       A No.
    14       Q And did you text people about how --           14       Q And you agree with me you sent and
    15   about a code of conduct at Charlottesville at all?   15   received text messages about Charlottesville after
    16       A I don t recall.                                16   August 12th, 2017, right?
    17       Q Did you text anyone about how anyone           17       A I assume so, yeah.
    18   ought to behave in Charlottesville?                  18       Q When is the most recent time you recall
    19       A I don t recall.                                19   sending a text about the events at issue in this
    20       Q Did you text anyone about what you had         20   case?
    21   hoped to accomplish at Charlottesville?              21       A I don't recall.
    22       A I don t recall.                                22       Q Can you approximate?
    23       Q Did you send or receive a text message         23       A Not with any reasonable certainty.
    24   about Unite the Right on August 11th, 2017?          24       Q Did you send a text that concerned
    25       A I'm sure I did.                                25   Charlottesville in any way, to anybody, in 2019?



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                                           Page 310                                                   Page 311
     1                 M. HEIMBACH                         1                 M. HEIMBACH
     2       A Not that I can recall.                      2       Q Are you aware of any backup system for
     3       Q You agree with me that it's possible?       3   texts you send on that Android?
     4       A Possible, yes.                              4       A No.
     5       Q Did you send a text message that            5       Q Did you take photo -- that phone has the
     6   concerned Charlottesville anytime in 2018?        6   ability to take photos, right?
     7       A I don t recall.                             7       A I believe it did, yeah.
     8       Q Do you think it's possible?                 8       Q And did you take photos on that phone
     9       A It's possible.                              9   that concerned the events in this case in any way?
    10       Q Do you think it's probable?                10       A No, I think I was busy.
    11       A Probably. Probably probable.               11       Q I'm sorry?
    12       Q When you send a message on that phone,     12       A I think I was a little busy getting hit
    13   does it get backed up anywhere?                  13   with a bat and pepper-sprayed.
    14       A I assume by the carrier.                   14       Q Putting aside for a moment August 12th,
    15       Q Do you know whether it does?               15   did you at any time take a single photograph related
    16       A No.                                        16   to the events in this case?
    17       Q Do you know whether it gets backed up to   17       A I can't recall.
    18   an on-line account?                              18       Q Did you take a photograph on August 11th,
    19       A No.                                        19   at all?
    20       Q Do you have access to an on-line account   20       A I can't recall.
    21   that contains your text messages?                21       Q You might have?
    22       A I don t believe so.                        22       A I can't recall.
    23       Q Do you know if it gets backed up to the    23       Q Did you take a photo, at all, on
    24   Cloud?                                           24   August 12th?
    25       A I don t know.                              25       A I don't know.

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     1                M. HEIMBACH                          1                 M. HEIMBACH
     2       Q But you might have?                         2       Q And how -- did you see the phone get
     3       A I mean, maybe, but doubtful.                3   busted?
     4       Q When did you stop using that phone?         4       A Just the end result.
     5       A I don't recall.                             5       Q Which was what?
     6       Q Well, what did you do with it after         6       A It was cracked.
     7   August 12th, 2017?                                7       Q The screen?
     8       A Continued to use it, I believe.             8       A Yeah.
     9       Q And how long did you continue to use it     9       Q And what did you do with it when --
    10   for?                                             10       A Put it in the tub full of other stuff.
    11       A The rest of the year, I think.             11       Q Just to be clear, do you know where the
    12       Q And -- and at some point after the --      12   phone is now?
    13   2017, you stopped using that phone?              13       A I assume somewhere in, like, Indonesia
    14       A Yes.                                       14   being pulled apart.
    15       Q Why?                                       15       Q Do you agree with me that the phone that
    16       A It busted.                                 16   you had on August 12th at Unite the Right rally is
    17       Q And how did it bust?                       17   gone?
    18       A Well, at the time, I had a two-year-old.   18       A Uh-huh.
    19   He busted it. I left it out. It was a stupid     19       Q And do you agree that you don't have
    20   mistake.                                         20   access in any way to any of the content that you had
    21       Q And that was sometime in late 2017?        21   at the Unite the Right rally and prior to that?
    22       A I believe so.                              22       A Correct, but I'm willing to sign anything
    23       Q Sometime in December of 2017, fair to      23   that needs to be done with the service provider so
    24   say?                                             24   they can provide you with any available information.
    25       A Sure.                                      25       Q As far as you know, there is -- you have



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     1                 M. HEIMBACH                               1                  M. HEIMBACH
     2   no access to any of content from that phone, right?     2       Q Are you referring to the subpoena that
     3       A Correct.                                          3   Plaintiffs issued to subpoena the call log from your
     4       Q And you don't have any reason to believe          4   phone?
     5   that any service provider has access to any of the      5       A Yes.
     6   content from that phone, right?                         6       Q And you're saying you did not object to
     7       A I mean, I don't know what Verizon's               7   that, right?
     8   policy is.                                              8       A Yes.
     9       Q So you would agree with me, you don't             9       Q And you don't have any idea what kind of
    10   have any reason to believe any service provider has    10   content you get from a subpoena like that, right?
    11   access to any of the content?                          11       A No idea.
    12       A Well, I would assume they would have             12       Q Other than not objecting to the subpoena
    13   access, however.                                       13   we issued, do you -- did you take any steps to try to
    14       Q I'm not asking you to assume,                    14   access the content of that phone, at all?
    15   Mr. Heimbach.                                          15       A Well, I don't even know how you would
    16           Do you have any idea what Verizon keeps        16   start when you don't use the same service provider
    17   in terms of content?                                   17   and it doesn't exist.
    18       A I have no idea.                                  18       Q Is the answer to my question, no?
    19       Q So you have no idea whether anyone has           19       A The answer, I suppose, would be, no.
    20   access to the content to any of that phone, right?     20       Q Where was -- why did you put it in a tub?
    21       A No.                                              21       A That's kind of where I put all my
    22       Q And you have not tried in any way to             22   assorted odds and ends.
    23   access the content of that phone, right?               23       Q And why didn't you just throw that phone
    24       A Besides not objecting to Plaintiffs'             24   away?
    25   motion to subpoena the records from Verizon.           25       A Because I would need it.

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     1                 M. HEIMBACH                               1                 M. HEIMBACH
     2       Q For what?                                         2   storing your cell phone in that tub?
     3       A For the lawsuit.                                  3       A No.
     4       Q And was the box labeled in any way, the           4       Q Did anyone advise you that storing the
     5   tub?                                                    5   con -- withdrawn.
     6       A No.                                               6           Did anyone advise you that storing the
     7       Q What else was in the tub?                         7   cell phone in that tub was a secure way to preserve
     8       A Birth certificate, Social Security card,          8   your documents in this case?
     9   stuff from my reenacting days, assorted paperwork,      9       A No.
    10   copies of the party newspaper, stuff I had gotten on   10       Q Did you send the phone to your attorney?
    11   my trips overseas.                                     11       A No.
    12       Q Anything else?                                   12       Q Why not?
    13       A A list of information for the accounts           13       A I don't think he asked for it.
    14   that have been since deleted.                          14       Q Did you ask anybody whether there was
    15       Q Any other electronic devices other than          15   anything you could do to preserve the contents of
    16   your phone?                                            16   that phone?
    17       A Laptop.                                          17       A I assumed it just existing would be
    18       Q And where were you living at the time?           18   sufficient.
    19       A 120 Paul Street.                                 19       Q So is the answer, no?
    20       Q By the way, what were you reenacting in          20       A Besides keeping it. So --
    21   your reenacting days?                                  21       Q Did you take any steps to have the
    22       A Oh, Civil War.                                   22   contents of the phone preserved, like having it
    23       Q And where did you put the tub?                   23   imaged forensically?
    24       A Near my computer.                                24       A Nope.
    25       Q And did you notify anybody that you were         25       Q Did you talk to your attorney at all



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     1                   M. HEIMBACH                              1                 M. HEIMBACH
     2   about doing that?                                        2       A Yes.
     3        A Not that I can recall.                            3       Q And what happened after March 13th?
     4        Q Did you backup the content in any way, or         4       A Well, I couldn't return home due to the
     5   try to, after it was damaged?                            5   protective order, so I left and went to Pennsylvania
     6        A No.                                               6   for a while and ended up in Tennessee.
     7        Q And did you tell anybody else in the              7       Q The protective order you refer to is a
     8   world that your cell phone and laptop were in this       8   no-contact order that prevented you from having
     9   tub?                                                     9   contact with Brooke, right?
    10        A I don't think so.                                10       A Or returning to the premises.
    11        Q And what happened to the tub?                    11       Q Is that right?
    12        A It was thrown out.                               12       A Yes.
    13        Q Do you know that?                                13       Q And that started on March 13th, right?
    14        A That's what I was told.                          14       A Yes.
    15        Q Who told you that?                               15       Q And was the term of the no-contact order
    16        A My ex-wife.                                      16   that you were not allowed to call her in any way
    17        Q So on March 13th, you were charged with          17   while the case was pending against you?
    18   domestic battery, right?                                18       A I'd have to look at it.
    19        A Uh-huh.                                          19       Q You don't recall the terms of the --
    20        Q And that was on your wife at the time,           20       A The exact specifics. I knew I wasn't
    21   Brooke Heimbach, right?                                 21   supposed to go back to the property or interact with
    22        A Not the best day ever.                           22   her, to allow the process to work its way through.
    23        Q Is that right, that you were charged with        23       Q And the -- did you plead guilty to that
    24   domestic battery against your wife, Brooke Heimbach     24   charge on September 18th, 2018?
    25   at the time?                                            25       A Only because Indiana doesn't have an

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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   Alford plea.                                             2       A Not that I can recall.
     3       Q So is the answer to my question, yes, you          3       Q When you pled guilty, one of the terms of
     4   pled guilty on September 18 of 2018 to domestic          4   your sentence was a continuation of the no-contact
     5   battery against your wife, Brooke Heimbach?              5   order, right?
     6       A Yes.                                               6       A With the exemption of what was agreed
     7       Q When you pled guilty, you were under               7   upon for a conditional divorce.
     8   oath, right?                                             8       Q So to be clear, you were ordered not to
     9       A Yes.                                               9   have any contact with her, other than through your
    10       Q And when you pled guilty, you said that           10   divorce proceedings; is that right?
    11   you were guilty of that charge?                         11       A Well, no. They would be modified
    12       A Indeed.                                           12   dependent upon what we agreed on in our divorce,
    13       Q And when you pled guilty under oath to            13   which was to allow full contact.
    14   being guilty of that charge, is that because you        14       Q When did you have that modified?
    15   were, in fact, guilty of what you were accused of?      15       A I mean, we discussed it with a
    16       A I was under oath, so, yes.                        16   prosecutor, Holly Hudelson, in September, I believe.
    17       Q And did you have any contact with Brooke          17       Q So is it your testimony -- is there a
    18   Heimbach between March 13th, 2018 and September 18th,   18   no-contact order in place right now?
    19   2018?                                                   19       A No.
    20       A Not that I can recall.                            20       Q And is it your testimony that there was
    21       Q Well, did you ever call Brooke Heimbach           21   no contact -- no no-contact order in place as part of
    22   between March 13th, 2018 and September 18th, 2018?      22   your plea in September 2018?
    23       A Not that I can recall.                            23       A Well, based upon what we agreed on for
    24       Q Did Brooke Heimbach ever call you between         24   the divorce.
    25   March 13th, 2018 and September 18th, 2018?              25       Q And did you take a -- an affirmative step



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     1                  M. HEIMBACH                               1                  M. HEIMBACH
     2   to have it modified in the divorce proceedings?          2       A Yes.
     3       A She had withdrawn it. To the best of my            3       Q And when did that happen?
     4   knowledge.                                               4       A I don't know exactly.
     5       Q Who withdrew it?                                   5       Q Wasn't that an event of some significance
     6       A Brooke Heimbach.                                   6   to you?
     7       Q You're saying Brooke Heimbach withdrew             7       A It was kind of a stressful time, all
     8   the no-contact order?                                    8   things considered. So --
     9       A I believe so.                                      9       Q So was it sometime in 2019?
    10       Q When did that happen?                             10       A No. I believe it was last year.
    11       A I can t recall exactly.                           11       Q And do you have a document that states
    12       Q Well, approximately when did that happen?         12   that Brooke Heimbach withdrew the no-contact order?
    13       A Sometime when everything was going on, in         13       A I believe she does. She had gone to -- I
    14   the last year.                                          14   don't. But she had told me that she had gone to the
    15       Q What does that mean?                              15   sheriff's office or the court building in downtown
    16       A Well, I can t recall exactly.                     16   Paoli and done that.
    17       Q Well, you pled guilty on September 18,            17       Q When you were arrested on March 13th, did
    18   2018, right?                                            18   you ever ask anyone for permission to retrieve your
    19       A Uh-huh.                                           19   belongings from your house?
    20       Q And that's about 11 months ago, right?            20       A No.
    21       A Okay.                                             21       Q And the belongings included your birth
    22       Q Isn't that right?                                 22   certificate, right?
    23       A I believe so.                                     23       A All my documents.
    24       Q And your testimony is, at some point,             24       Q And all your documents, right?
    25   Brooke Heimbach withdrew the no-contact order?          25       A Yup.


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     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2       Q And you never asked anybody if you could           2        Q When did you learn that that tub had been
     3   have permission to go retrieve those?                    3   disposed of?
     4       A Not to my knowledge. I mean, there was             4        A I don't recall.
     5   no one I could really ask.                               5        Q Approximately, when did you learn that
     6       Q Did you ever tell Mr. Kolenich that the            6   all of your 32 belongings were thrown away?
     7   documents and devices that were relevant to this case    7        A I was kind of focused on other things. I
     8   were in a house that you had no ability to enter?        8   don't recall.
     9       A I don't recall.                                    9        Q Were you upset when that happened?
    10       Q You don't recall having that conversation         10        A Yes.
    11   with Mr. Kolenich?                                      11        Q And tell me about how you learned that.
    12       A Uh-uh.                                            12        A I don't recall the specifics. Perhaps
    13       Q It's possible you did?                            13   through my mother.
    14       A I don't recall.                                   14        Q You don't recall who it was that told you
    15       Q Isn't there a procedure in Indiana that           15   that all of your 32 belongings had been thrown away.
    16   allows you to get your belongings with a police         16        A It's not like I had much to begin with.
    17   officer in a situation like this?                       17        Q Listen to my question.
    18       A I don't know. I'm not a lawyer.                   18        A The answer is, no.
    19       Q You didn t ask anybody whether there was          19        Q Do you recall when you were told your 32
    20   any way to get access to all of your 32 belongings      20   belongings had been thrown away?
    21   that were in that home?                                 21        A Uh-uh.
    22       A Well, I didn't assume she was going to            22        Q You agree with me this was an upsetting
    23   pick up and go to Texas, unannounced.                   23   thing to learn, right?
    24       Q What's the answer to my question?                 24        A Yup.
    25       A I don't recall.                                   25        Q And it happened sometime in the last year



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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   and a half, right?                                       2   don't know whether or not you ever had a conversation
     3       A Uh-huh.                                            3   like that?
     4       Q So tell us everything you can remember             4       A At some point I learned of it.
     5   about that conversation when you learned that your 32    5       Q How do you know that?
     6   belongings, including your cell phone in this case,      6       A It was something that had been brought up
     7   had been thrown away.                                    7   after September of last year with my ex-wife.
     8       A I don't recall it.                                 8       Q Who brought it up?
     9       Q Tell me everything you remember about              9       A She had.
    10   when you learned that that had happened.                10       Q Where?
    11       A I don't really remember who I was                 11       A When we were playing with our kids in the
    12   speaking with. I don't remember any of the              12   park.
    13   specifics. I mean, I was kind of busy with other        13       Q So sometime after September of last year,
    14   things.                                                 14   you were playing with your kids in the park and
    15       Q Like what?                                        15   you're saying Brooke Heimbach brought that up?
    16       A Having my probation revoked in the great          16       A Yes.
    17   Commonwealth of Kentucky and getting to go to jail.     17       Q What did she say?
    18       Q Do you even have a recollection of that           18       A That she was sorry that she went to Texas
    19   conversation happening where someone told you your 32   19   and everything kind of went sideways.
    20   belongings and the cell phone in this case were         20       Q What exactly did Ms. Heimbach tell you
    21   thrown away?                                            21   about that tub that had your devices and documents?
    22       A Not the initial time I found out, no.             22       A That she had left and told the neighbors
    23       Q You don't have any recollection of that?          23   to clean out the property in order to make room for
    24       A Uh-uh.                                            24   new tenants because she wasn't planning on returning.
    25       Q Would it be fair to say you actually              25       Q And who are the neighbors?


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     1                M. HEIMBACH                                 1               M. HEIMBACH
     2       A Ashley and Robert Edwards.                         2
     3       Q And how long had you lived at that                 3       Q Did you ever at any time go back to 120
     4   address?                                                 4   Paul Street to see if the box is still there?
     5       A I don't know. Six months, something like           5       A Not that I can recall.
     6   that.                                                    6       Q Why not?
     7       Q Did you know Ashley and Robert Edwards?            7       A Well, because it probably would have been
     8       A In passing.                                        8   a bad idea to start skulking around a property I
     9       Q Did you ever speak to Ashley or Robert             9   wasn't supposed to be at.
    10   Edwards about this incident?                            10       Q But you didn't try, right?
    11       A Nope.                                             11       A No.
    12       Q Do you know if they even actually did go          12       Q Did you have a landlord at the time?
    13   through and threw stuff away?                           13       A Yes.
    14       A I haven't had a conversation with them.           14       Q What was your landlord's name?
    15   I took my ex-wife's word for being truthful.            15       A Jessica Parrott. Who was not informed
    16       Q But you never called Ashley or Robert             16   that Brooke Heimbach was vacating the premises, and
    17   Edwards and asked if they found a tub that had a        17   was going through her own divorce at the time.
    18   number of electronic devices in it?                     18       Q Well, you were speaking with Ms. Parrott
    19       A Not that I can recall.                            19   at the time, right?
    20       Q Why not?                                          20       A Yes.
    21       A Well, I mean, first of all, I didn't have         21       Q Weren't you?
    22   their phone number. Second of all, I was living out     22       A I said yes.
    23   of state.                                               23       Q Did you ever ask Jessica Parrott to get
    24       Q Where did Ashley and Robert Edwards live?         24   your -- withdrawn.
    25       A                                                   25            Did you ever ask Jessica Parrott to give



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     1                  M. HEIMBACH                             1                 M. HEIMBACH
     2   you access to the house to get your 32 belongings?     2   June 10th, 2019 when you told anybody in the world
     3       A Not that I can recall.                           3   this story about the tub being thrown away?
     4       Q Why not?                                         4       A Not off the top of my head.
     5       A Because, to my knowledge at the time, my         5       Q When your phone was damaged by your child
     6   ex-wife was still living there. Jessica Parrott had    6   in December of 2017, it was just the cracked screen?
     7   also left the state of Indiana and had no knowledge    7       A I believe so.
     8   of what was going on at the property.                  8       Q And you didn't try to just get it
     9       Q When you learned that your electronics           9   repaired?
    10   were thrown away, did you notify anybody?             10       A No. You end up paying just as much for a
    11       A Not to my knowledge.                            11   new screen and all that as you do to just get a new
    12       Q Did you tell Mr. Kolenich that your             12   phone.
    13   electronic devices had been destroyed in this case?   13       Q Was your phone damaged at all at Unite
    14       A I can't recall.                                 14   the Right?
    15       Q Did you call Plaintiffs and say anything        15       A It did receive some damage, yeah.
    16   about your electronic devices?                        16       Q What damage?
    17       A I can't recall.                                 17       A Small cracks and things like that.
    18       Q Did you notify the Court that that              18       Q It didn't impair your ability to send
    19   happened?                                             19   text messages?
    20       A I can't recall.                                 20       A Not that I can recall.
    21       Q Is the first time you ever told this            21       Q Did you get it fixed?
    22   story about your tub getting thrown out when you      22       A No.
    23   e-mailed it to me on June 10th, 2019?                 23       Q When your phone was damaged in
    24       A I can't recall.                                 24   December 2017, you bought a new phone, right?
    25       Q Do you recall another time other than           25       A Yes.


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     1                M. HEIMBACH                               1                  M. HEIMBACH
     2       Q And when did you buy a new phone?                2        A Number one.
     3       A I mean, we'd have to look at the -- my           3        Q Is that the Blackview BV800 Pro?
     4   provider would know.                                   4        A Uh-huh.
     5       Q Shortly after it was damaged, fair to say        5        Q Where is that phone?
     6   that you bought a new phone?                           6        A My wife, Jessica Heimbach, had my -- the
     7       A Sure.                                            7   phone had kept shorting out and factory resetting
     8       Q So sometime probably in December of 2017         8   itself, so she had gotten me a new phone and replaced
     9   or thereabouts?                                        9   it for me.
    10       A Uh-huh.                                         10            I was without a phone for a significant
    11       Q And what kind of phone was that?                11   period of time, and she had replaced it and was
    12       A It was a Blackview 800 Pro.                     12   unaware of any discovery requirements as to
    13       Q Okay. And you sent text messages on that        13   preserving it.
    14   phone concerning the Unite the Right in some way,     14        Q And when did that happen?
    15   right?                                                15        A I don't know. March or April, whenever
    16       A Uh-huh.                                         16   this phone got turned on. It was an early birthday
    17       Q Is that a yes?                                  17   present.
    18       A Yes.                                            18        Q March or April of this year?
    19       Q And you agree with me -- is that phone          19        A Yeah.
    20   the same phone number?                                20        Q So the phone listed on Exhibit 44, on the
    21       A Yes.                                            21   first entry, was disposed of in March of this year;
    22       Q And that phone is listed on Exhibit 44?         22   is that right?
    23       A Yes.                                            23        A Yes.
    24       Q And which -- which phone on Exhibit 44 is       24        Q And can you just give us more detail
    25   that?                                                 25   about how that happened?



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     1                  M. HEIMBACH                              1                 M. HEIMBACH
     2       A Well, the phone was bricked, basically.           2   phone concerning Unite the Right?
     3       Q What does that mean?                              3       A Not that I can recall.
     4       A Well, it kept factory resetting itself,           4       Q But that phone you have submitted to the
     5   and it wasn't working. So I had just basically given    5   vendor?
     6   up on it and I was going to wait until either my tax    6       A Yes.
     7   check came or, you know, for my birthday, to get        7       Q And you did that yesterday?
     8   myself a new phone.                                     8       A Uh-huh.
     9           But Jessica had gone ahead and gotten me        9       Q And that's the BV9600?
    10   the newer model of that phone and wasn t aware that    10       A Yeah, or 9500. I've got doctor's
    11   we were supposed to keep the other one.                11   handwriting, unfortunately.
    12       Q And what is the newer model of that              12       Q That's the phone you currently still
    13   phone?                                                 13   have?
    14       A It is a BV9500.                                  14       A Yes.
    15       Q And is that listed on your certification?        15       Q Now, your wife -- withdrawn.
    16       A Yes.                                             16            Your ex-wife, Brooke Heimbach, filled out
    17       Q Is that the third phone listed on your           17   an affidavit on your behalf in this case?
    18   certification?                                         18       A Yes.
    19       A Second phone.                                    19       Q Right?
    20       Q I'm sorry.                                       20       A Yes.
    21           It is the second entry on Exhibit 44,          21       Q Can you describe how it came to be that
    22   right?                                                 22   she filled out this affidavit?
    23       A Yes. Uh-huh. Which was imaged                    23       A Sure. I had explained to her, during one
    24   yesterday.                                             24   of my visitations with our children, that there was
    25       Q And did you send text messages on that           25   probably going to be some questions in regards to

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     1                  M. HEIMBACH                              1                 M. HEIMBACH
     2   that, and she offered to try and help and explain a     2       A Not that I can recall, and then she
     3   very messy situation.                                   3   looked it over again and changed it more.
     4        Q So you approached her and asked her to           4       Q So she had you look it over, you had a
     5   fill out an affidavit?                                  5   conversation with her, and then she made some changes
     6        A No. She offered to do it.                        6   to the affidavit?
     7        Q Okay. And was this conversation you had          7       A Uh-huh.
     8   with her in-person?                                     8       Q And you don't know whether or not you
     9        A Yes.                                             9   personally made changes to the affidavit?
    10        Q And when did you have this conversation         10       A No. I was just giving my insight.
    11   with her?                                              11       Q You gave her your insight; is that what
    12        A I don't know. May. May, June, somewhere         12   you're saying?
    13   around there.                                          13       A Yeah.
    14        Q Of this year?                                   14       Q And was this document e-mailed back and
    15        A Yes.                                            15   forth between you and Brooke Heimbach?
    16        Q Who actually wrote the affidavit?               16       A I believe so, yeah.
    17        A She did.                                        17       Q Over your matthew.w.gmail --
    18        Q Did anybody assist her in writing the           18       A Uh-huh.
    19   affidavit?                                             19       Q -- account?
    20        A She asked me to look it over.                   20       A Yes.
    21        Q And when did you look it over?                  21       Q Did an attorney help Brooke Heimbach with
    22        A I don't know. A week or two before it           22   that affidavit?
    23   was submitted.                                         23       A Not that I know of.
    24        Q And did you make any edits at all to the        24       Q Did you consult with an attorney in any
    25   document?                                              25   way regarding Brooke Heimbach's affidavit?



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     1                M. HEIMBACH                                1                 M. HEIMBACH
     2       A I don't know.                                     2       Q And -- well, how long has she had this
     3       Q Is that a cell phone number?                      3        number?
     4       A Yeah. As opposed to a telegraph?                  4       A Over a year. I'm not exactly sure
     5       Q As opposed to a land line?                        5   specifically.
     6       A Yeah, that's a cell phone.                        6       Q What's the area code of the phone number
     7       Q And is that the only phone number you             7   she had before that?
     8   know Brooke Heimbach to have had?                       8       A I don't know. You just update the
     9       A Yeah.                                             9   contact in your phone.
    10       Q Ever?                                            10       Q Do you ever send text messages with
    11       A I mean, not ever.                                11   Brooke Heimbach?
    12       Q How long have you known Brooke Heimbach?         12       A Yup.
    13       A Since 2013.                                      13       Q Did you send text messages to her prior
    14       Q Has this       number you just gave been         14   to the last year -- withdrawn. Let me make that
    15   her cell phone number since you met her in 2013?       15   clear.
    16       A I don't believe so.                              16            You sent text messages to her from a
    17       Q You do believe so or you don't?                  17   phone number other than this       number?
    18       A I don't believe so.                              18       A I don't believe so.
    19       Q What other phone numbers do you know             19       Q Meaning you didn't text her --
    20   Brooke Heimbach to have had?                           20       A Like, ever?
    21       A I don't know.                                    21       Q Ever.
    22       Q Is it in your phone?                             22       A Well, yeah, I have.
    23       A No.                                              23       Q And are those text messages in your
    24       Q How long were you married to her?                24   phone?
    25       A Three years.                                     25       A No.

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     1                  M. HEIMBACH                              1                 M. HEIMBACH
     2        Q Why not?                                         2       Q Well, did you have it for all of 2017?
     3        A Because the phone is less than a year            3       A Yes.
     4   old.                                                    4       Q And where is that Asus laptop?
     5        Q You don't have any recollection as you           5       A Same place the other stuff is.
     6   sit here as to even the area code of any other phone    6       Q Did that laptop go in the tub?
     7   number Brooke Heimbach had?                             7       A Uh-huh.
     8        A Michigan, maybe.                                 8       Q Other than that laptop, are there any
     9        Q And what would that area code be?                9   other computers you've used to generate documents
    10        A I don't know.                                   10   related to Charlottesville?
    11        Q In addition to -- withdrawn.                    11       A I don't believe relating to
    12           Mr. Heimbach, you agree that every single      12   Charlottesville, no. I have a computer, currently,
    13   phone that you have had to communicate about the       13   but I don't believe there's any responsive documents
    14   events at issue in this case is gone, right?           14   that have been done on it.
    15        A Yup.                                            15       Q Did you check?
    16        Q Now, in addition to your phones, you used       16       A Yes.
    17   a computer to generate documents about                 17       Q When?
    18   Charlottesville, right?                                18       A Within the last month.
    19        A Yeah. My laptop.                                19       Q What did you do to check?
    20        Q And what kind of laptop did you use to          20       A Went through all the files that were on
    21   generate responsive documents?                         21   it.
    22        A I think it was an Asus. It was just a           22       Q What kind of files were on it?
    23   cheap thing from, like, Best Buy.                      23       A Just articles, the ones I sent you.
    24        Q And when did you buy that?                      24       Q Right. I see. So your review of your
    25        A I don't know.                                   25   current computer, the -- withdrawn.



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     1                 M. HEIMBACH                               1                 M. HEIMBACH
     2           The documents you sent from your current        2        A When I lost access to it in March of
     3   computer is based on your assessment of what you        3   2018.
     4   believe are responsive documents on your computer,      4        Q So in addition to storing historical
     5   right?                                                  5   artifacts and 32 documents, you also stored your
     6       A Yes, and since I've had the computer, I           6   current laptop in that tub?
     7   haven't been involved in any public white               7        A Uh-huh.
     8   nationalism.                                            8        Q How big was the tub?
     9       Q When did you put the Asus computer -- am          9        A I don't know. Like, that big
    10   I saying that right, Asus?                             10   (indicating).
    11       A I think. I don't know.                           11        Q You agree with me that that computer is
    12       Q The laptop that you had in 2017, when did        12   gone now?
    13   you put that in the tub?                               13        A I believe so, unless the Edwardses
    14       A Well, that's where I usually just keep           14   decided to keep a laptop.
    15   it.                                                    15        Q Unless what?
    16       Q You just store it in the tub?                    16        A The Edwardses decided to keep a laptop,
    17       A On top.                                          17   which to the best of my knowledge they did not.
    18       Q And so were you actively using it?               18        Q Well, you didn't even call them, right,
    19           How long did you actively use that             19   to see?
    20   computer?                                              20        A Well, I don t have their phone numbers.
    21       A I think that was the same one I had going        21        Q Did Brooke? Did you ask Brooke to call
    22   back to college. 2013, maybe. It was a piece of        22   them to see if they still had anything?
    23   garbage.                                               23        A It hadn't crossed my mind.
    24       Q And when did you stop actively using that        24        Q So is the answer, no?
    25   computer?                                              25        A No.

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     1                  M. HEIMBACH                              1                  M. HEIMBACH
     2       Q Is it fair to say, Mr. Heimbach, that             2        A Yes.
     3   every single electronic device that you used to         3        Q And you understood that the purpose of
     4   generate documents concerning the events at issue in    4   filling out that document is to identify for
     5   this case is gone?                                      5   Plaintiffs the sources of all documents you generated
     6       A Yes.                                              6   about the events in this case, right?
     7       Q And they were all gone by March 13th of           7        A Yes.
     8   2018, right?                                            8        Q And you knew that we would take whatever
     9       A To the best of my knowledge, yeah.                9   accounts and devices that you identified and give it
    10           MR. BLOCH We're going to take a                10   to a vendor to image those documents, right?
    11       five-minute break.                                 11        A Yes.
    12           THE VIDEOGRAPHER This marks the                12        Q And you understood that you were required
    13       end of Videotape Number Three in the               13   to disclose every single device or account that you
    14       deposition of Matthew Heimbach. The time           14   used to communicate about the events at issue, even
    15       is 3 03 p m.                                       15   if they had been deleted or disabled, right?
    16                 (Brief pause.)                           16        A Yes.
    17           THE VIDEOGRAPHER This marks the                17        Q And you're looking at your certification,
    18       beginning of Media Number Four in the              18   which is Exhibit 44, right?
    19       deposition of Matthew Heimbach. The time           19        A Yes.
    20       is 3 13 p m.                                       20        Q And you filled that out?
    21   BY MR. BLOCH                                           21        A Yes.
    22       Q Mr. Heimbach, on July 3rd, the judge             22        Q Under penalty of perjury?
    23   ordered you to complete a certification form           23        A Yes.
    24   regarding your electronic devices and social media     24        Q And you swore that those were all the
    25   accounts, correct?                                     25   accounts and electronic devices that contain



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     1                 M. HEIMBACH                               1                 M. HEIMBACH
     2   potentially relevant documents, right?                  2       Q You didn't disclose your second Twitter
     3       A In terms of all the ones that I could             3   account, right?
     4   even think of, yes, at the time that was a fully        4       A As I mentioned earlier, I didn t think
     5   accurate statement.                                     5   there was anything that fit within the Plaintiffs'
     6       Q You agree with me that you did not                6   requests.
     7   disclose your VK account?                               7       Q So your testimony is you actually did
     8       A I guess I had forgotten that.                     8   remember that second Twitter account, you
     9       Q Do you agree with me that you did not             9   intentionally left it off that certification?
    10   disclose your Daily Stormer account?                   10       A I believed based upon the document that
    11       A I didn't even remember that that existed.        11   there was nothing relevant in there.
    12       Q Do you agree that you did not disclose           12       Q Did you check in any way as to what that
    13   your YouTube account?                                  13   Twitter account contained?
    14       A That fell in under Google, I believe,            14       A No.
    15   because it's the same log-in credentials.              15       Q You agree you didn't disclose your
    16       Q You did not disclose therightstuff.biz,          16   TradWorker e-mail account?
    17   right?                                                 17       A Well, I did. That would have been the
    18       A No, I had forgotten that that existed.           18   internal ticket system.
    19       Q You did not disclose your Iron March             19       Q Did you identify a single podcast on that
    20   account, right?                                        20   certification?
    21       A I had forgotten that existed, as well.           21       A I didn't know that I had to.
    22       Q You didn't disclose your PayPal or               22       Q You're saying you didn't know that
    23   Hatreon account, right?                                23   podcasts were called for in our document requests?
    24       A I didn't remember those or even know that        24       A I must have missed that when I read the
    25   they would be relevant.                                25   request.

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     1                   M. HEIMBACH                             1                 M. HEIMBACH
     2       Q And you did not disclose the laptop that          2       A From my Google Docs account, yes.
     3   you have currently, now, that you testified contains    3       Q Every single one of them was from your
     4   responsive documents, right?                            4   Google Docs account?
     5       A That was mentioned in the e-mail that I           5       A Yeah. I downloaded them onto the
     6   had sent to you.                                        6   computer and then uploaded them and sent them to you.
     7       Q What was mentioned?                               7       Q Are you willing to have your computer
     8       A Where I mentioned the laptop and                  8   that you have right now imaged by the third-party
     9   everything else, I believe.                             9   vendor for potentially relevant documents?
    10       Q You said there's an e-mail that you sent         10       A Of course.
    11   to me that mentions a laptop that could be imaged?     11       Q An so you're prepared to add that to the
    12       A Well, it can't be imaged because it              12   certification?
    13   doesn't -- it's not around.                            13       A Yeah. Anything that I missed or made a
    14       Q The laptop that you have right now.              14   mistake on, I want to be able to comply as fully as
    15       A I don't have a laptop right now.                 15   possible, so I'd be happy to make any additions.
    16       Q Do you have a computer right now?                16       Q You did disclose a Signal account, right?
    17       A Yes.                                             17       A Yes.
    18       Q You did not list that computer that you          18       Q What is that?
    19   have -- withdrawn.                                     19       A It's a messaging app.
    20           You agree with me that the computer that       20       Q And are there documents on there that
    21   you have now is what you claim you searched for        21   concern the events at issue in this case?
    22   potentially relevant documents, right?                 22       A Not that I know of, but that would have
    23       A Yes.                                             23   been evaluated yesterday.
    24       Q And you sent us about ten to 12 documents        24       Q Okay. But so you left off about ten
    25   that you believed were potentially relevant, right?    25   social media accounts that had potentially responsive



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     1                  M. HEIMBACH                               1                  M. HEIMBACH
     2   documents, but you did include one account that you      2        Q And does that mean that it does not, in
     3   believe does not have responsive documents; is that      3   your view, have potentially responsive documents?
     4   correct?                                                 4        A To the best of my knowledge, but I
     5        A I was a little confused by everything, so         5   thought better safe than sorry.
     6   I was trying to put as much stuff as I could possibly    6        Q So, in your estimate of being better safe
     7   remember to anything that could possibly be relevant,    7   than sorry, you listed at least two accounts that you
     8   and that's been now imaged.                              8   believe do not have anything relevant, but you left
     9        Q And you agree that under the                      9   off about ten accounts that do have responsive
    10   certification -- where you wrote on the certification   10   documents; is that accurate?
    11   it says: The following are all the social media         11        A On accident and, like I said, I'd be
    12   accounts as defined in Paragraph 2, 11 of the           12   happy to make any additions going forward.
    13   stipulation order that could contain potentially        13        Q Now, if we could go back to your
    14   relevant documents, right?                              14   interrogatory responses, which are -- which is
    15        A Yes, and to the best of my knowledge at          15   Exhibit No. 7.
    16   the time, I listed everything I could possibly          16        A One, two, three, four, five, six and then
    17   remember. You guys have taken me down a trip down       17   it skips to eight.
    18   Memory Lane.                                            18            Seven. All right.
    19        Q Not very far, apparently.                        19        Q You've got it?
    20        A Far enough.                                      20        A I've got it.
    21        Q You listed a Skype account, right?               21        Q Is that your interrogatory responses?
    22        A Yes.                                             22        A Yes.
    23        Q And then in the Comments, you wrote, NA          23        Q The first question in the interrogatories
    24   but listed on a forum; is that right?                   24   asked you to identify all means of communication used
    25        A Yes.                                             25   by you to communicate concerning the events,


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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   including social media, e-mail, SMS messages -- which    2        Q Well, you agree with me that the request
     3   are text messages -- podcasts on-line video; isn't       3   calls for you to identify, among other things,
     4   that right?                                              4   in-person meetings, right?
     5       A Yes.                                               5        A Yes.
     6       Q And you knew that when you answered                6        Q Whether or not it could be verified, you
     7   these, that you were providing information concerning    7   were called to list it, right?
     8   the evidence that you generated in this case, right?     8        A When Mr. Kolenich was putting together
     9       A Sure.                                              9   the interrogatories, I guess he had never asked.
    10       Q You agree with me that you didn't list a          10        Q Well, you reviewed the interrogatories in
    11   single podcast, right?                                  11   April and swore under oath that they were true and
    12       A Yes.                                              12   correct to the best of your knowledge, right?
    13       Q You didn't list a single video, right?            13        A To the best of my knowledge.
    14       A Well, I hadn't written this response and          14        Q And do you agree with me you didn t list
    15   I hadn't thought of podcasts. I mean, I know it's       15   a single in-person meeting on that?
    16   right there, but I guess when I was reviewing it I      16        A I had forgotten.
    17   had glossed over it. I had forgotten to discuss that    17        Q So is this the answer, yes?
    18   with Mr. Kolenich when he had put it together.          18        A Yes, I had answered to the best of my
    19       Q But you agree that you didn't list a              19   knowledge, but I also miss things.
    20   single podcast, right?                                  20        Q And you would agree with me that your
    21       A Yes.                                              21   recollection was likely better in April of 2018 than
    22       Q You didn't list a single in-person                22   it is now?
    23   meeting, right?                                         23        A That's not saying much, but yes.
    24       A Well, I don't know how that would be              24        Q You didn't list your e-mail account, did
    25   verified one way or the other.                          25   you?



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     1                 M. HEIMBACH                                1                M. HEIMBACH
     2        A No.                                               2       Q You didn't include therightstuff.biz?
     3        Q In fact, you didn't list any e-mail               3       A Nope.
     4   account, right?                                          4       Q You didn't include the Iron March
     5        A The -- no, I guess not. I -- I had                5   account?
     6   understood that I had time, since being given the        6       A Nope.
     7   interrogatories, to review and resubmit them.            7       Q Didn't include PayPal or Hatreon or
     8        Q Where did you get that understanding?             8   GoyFundMe, right?
     9        A Well, I mean the fact that you guys sent          9       A No.
    10   them to me to review. So --                             10       Q Didn't include the TradWorker e-mail
    11        Q That was a week ago, right?                      11   ticket system, did you?
    12        A Yes.                                             12       A No. I guess Mr. Kolenich and I, when we
    13        Q But when you filled this out and swore to        13   had gone over it initially in April of last year, had
    14   its accuracy under oath in April of 2018, you agree     14   not fully gone over everything. I'm not blaming
    15   with me you didn't list a single e-mail account,        15   anyone for that, but I answered to the best of my
    16   right?                                                  16   knowledge.
    17        A Yeah, I hadn't thought of it.                    17       Q Do you actually have a recollection of
    18        Q And --                                           18   going over this with Mr. Kolenich?
    19        A I had answered to the best of my ability.        19       A I believe we had a phone conversation
    20        Q And you also didn't include your Daily           20   about it.
    21   Stormer account, right?                                 21       Q But do you recall a phone conversation
    22        A No, I didn't.                                    22   about it?
    23        Q You didn't include your YouTube account,         23       A Roughly, yes.
    24   right?                                                  24       Q And what was the content of that phone
    25        A Nope.                                            25   conversation?

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     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2       A Giving him all the log-in -- or all the            2       A I do not.
     3   details that are listed here, but I don't believe we     3       Q You posted on a server called IRL
     4   had spent an extensive amount of time, I guess going     4   Networking Events?
     5   over all this. But that's a shortcoming where I had      5       A I don't recall.
     6   answered to the best of my ability at the time. I'd      6       Q Do you recall posting in the server
     7   be happy to make additions.                              7   called TradWorker?
     8       Q You agree that you didn't disclose about           8       A Yeah.
     9   ten to 12 social media accounts in your sworn            9       Q Wade's Grooming Plantation?
    10   interrogatory response that had responsive documents?   10       A No. I don't recall.
    11       A On accident.                                      11       Q You didn't? Okay.
    12       Q So is the answer to my question, yes?             12           WhiteWaterBoyz?
    13       A Yes, on accident. I had answered                  13       A I don't recall.
    14   truthfully to the best of my knowledge at the time.     14       Q Interrogatory No. 3 asks you to identify
    15       Q Interrogatory No. 2 asked you to identify         15   all persons, natural or non-natural, with whom you
    16   any channel or server on Discord to which you had       16   communicated concerning the events, whether before,
    17   access, right?                                          17   during or after the events, right?
    18       A Yes.                                              18       A Yes.
    19       Q And do you agree with me that you posted          19       Q And a you listed a number of people,
    20   content in the Charlottesville 2.0 server?              20   right?
    21       A Yeah, a very small amount, I think.               21       A Yes.
    22       Q And a server called Hoosier Haters?               22       Q And do you agree with me, Mr. Heimbach,
    23       A I mean, maybe, I guess.                           23   that you left out James Fields, right?
    24       Q Do you recall posting on a server called          24       A Well, I didn't talk to James Fields.
    25   Hoosier Haters?                                         25       Q Well, isn't it true that by this time, by



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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   April 11th, 2018, when you swore under oath to the       2   letter?
     3   accuracy of this document, you had, in fact, sent        3        A Yeah, providing Christian moral support,
     4   Mr. Fields a letter?                                     4   which would be different than actively discussing the
     5       A I don't recall the date of when that               5   case.
     6   letter was sent.                                         6        Q Your view is that a letter that you wrote
     7       Q Do you agree with me that we discussed             7   to James Fields while he's in prison giving him
     8   earlier you posted a photograph of the letter that       8   support for his arrest involving the murder of
     9   you sent to Mr. Fields?                                  9   Heather Heyer at Charlottesville is not a document
    10       A What was the date on that?                        10   that concerns the Unite the Right rally; is that your
    11       Q Hold on a moment.                                 11   testimony?
    12           I'm showing you Exhibit 12. Do you agree        12        A Well, yeah, because I can't recall if
    13   with me, Mr. Heimbach, that the date of the post that   13   anything about the rally was even discussed.
    14   shows the photograph of your letter to Mr. Fields is    14        Q You also communicated with Alex Ramos by
    15   January 19, 2018?                                       15   April 11th, right?
    16       A Sure.                                             16        A Yes.
    17       Q And that's approximately the time that            17        Q And he was another person that was
    18   you sent the letter to Mr. Fields?                      18   convicted of violence at Unite the Right, right?
    19       A Yes.                                              19        A Yes.
    20       Q And January 2018 -- withdrawn.                    20        Q And you left him off of your
    21           And January of 2018 is before April of          21   interrogatory response, too, right?
    22   2018, right?                                            22        A Yes.
    23       A I don't remember the contents of letter           23        Q And you had communicated with Daniel
    24   discussing the case.                                    24   Borden, right?
    25       Q Well, didn't we discuss the contents of           25        A Yeah, I hadn't -- I guess I just I hadn't

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     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2   understood what the scope was in regards to this.        2   communicate about the events?
     3   I'm sorry I'm not an attorney.                           3       A I really feel like I mentioned something
     4        Q Well, the -- the request is to identify           4   in an e-mail and we ll have to go back and look at
     5   all persons with whom you communicated concerning the    5   the record.
     6   events.                                                  6       Q Please do.
     7           Is there something about that that's             7       A I will. If so, that's an oversight.
     8   difficult for you to understand?                         8       Q Fair to say, Mr. Heimbach, that your
     9        A I don't recall actively discussing the            9   sworn interrogatory responses were not accurate?
    10   events in a cell where I had asked James Fields for     10       A No, they were accurate at the time to the
    11   his best barbecue recipe. That wouldn't have any        11   best of my knowledge and ability.
    12   relation to the case.                                   12       Q You -- you believe these interrogatory
    13        Q And Interrogatory No. 4 asks you to              13   responses were accurate at that time?
    14   identify all electronic devices used by you to          14       A Yes.
    15   communicate concerning the events.                      15       Q Now --
    16        A Yes.                                             16       A They have to be amended, however. I'm
    17        Q And you didn't list a single computer,           17   happy to do so and I apologize for any shortcomings.
    18   did you?                                                18           But to the best of my knowledge at the
    19        A No.                                              19   time, which was a very stressful time in my life,
    20        Q You agree with me that you have not ever         20   with a lot of various factors going on, I guess
    21   disclosed the existence of computers that you used to   21   things had just slipped my mind or I had forgotten
    22   discuss the events in this case until today?            22   them.
    23        A I can't recall.                                  23       Q You also received document requests,
    24        Q Today is the first time you've ever              24   right? That's Exhibit No. 5?
    25   disclosed the existence of computers that you used to   25       A Yes.



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     1                  M. HEIMBACH                               1                   M. HEIMBACH
     2       Q And that document asked you to produce             2       Q And in response to Document Request
     3   all documents concerning the events in this case,        3   No. 1, which called for all documents, communications
     4   right?                                                   4   concerning the events, your answer was: Quote, None,
     5       A Yes.                                               5   unless in the possession of Traditionalist Worker
     6       Q Including any social media documents               6   Party itself. What I would have had was
     7   concerning the events, right?                            7   involuntarily removed by Facebook, Twitter, et
     8       A Yes.                                               8   cetera.
     9       Q And at the time that you filled out your           9            You wrote that, right?
    10   responses to this document, you knew that you had a     10       A Well, I didn't write it, no.
    11   number of documents in your possession that were        11       Q Well, you affirmed the accuracy under
    12   responsive to these requests, right?                    12   oath of that statement, right?
    13       A When -- when, specifically?                       13       A Yes.
    14       Q In April of 2018, you knew that you had           14       Q And you agree with me, Mr. Heimbach, that
    15   documents in your possession that were responsive to    15   that was not, in fact, true?
    16   these document requests, right?                         16       A It was true to my understanding at the
    17       A Which I had listed, yes.                          17   time.
    18       Q Sorry. Let's go step by step.                     18       Q Was it true that you had no documents in
    19            You knew at the time that you signed           19   your possession in April of 2018 that were responsive
    20   the -- that you signed these documents that --          20   to these requests?
    21   withdrawn.                                              21       A Well, I mean, essentially, I think what
    22            You knew when you signed the                   22   it boils down to is I have no idea what I'm doing in
    23   certification in April of 2018 that you had             23   terms of the legal field and was trusting my then
    24   responsive documents in your possession, right?         24   attorney at the time to actively work with me to
    25       A Yes.                                              25   fulfill all these responsibilities, and there seems


                                                Page 368                                                      Page 369
     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2   to be a large series of communication breakdowns and     2   about the Battle of Berkeley?
     3   failures that I don't think was really anyone's          3       A Not that I can recall.
     4   fault.                                                   4       Q Question 3 asks for documents concerning
     5           But I answered truthfully to the best of         5   a number of entities, including Traditionalist Worker
     6   my knowledge and ability at the time.                    6   Party, right?
     7       Q Did you tell Mr. Kolenich at the time              7       A Uh-huh.
     8   that you had documents on about ten different social     8       Q And would it be fair to say that you knew
     9   media accounts that you didn't disclose in this          9   at the time you filled this out in April of 2018 that
    10   document?                                               10   you had documents concerning communications with
    11       A I don't recall. I kind of trusted                 11   Traditionalist Worker Party?
    12   counsel to ask the questions to get the information     12       A No.
    13   to properly represent me.                               13       Q Why not?
    14       Q Question 2 asks for all documents and             14       A My understanding was that this was in
    15   communications concerning events and rallies prior to   15   reference specifically to the official things that
    16   the events that related to the events in any way.       16   were sent through the Traditionalist Worker Party
    17           And at the time you swore to the accuracy       17   related assets, which Mr. Parrott was going to
    18   of this document, you knew that you had documents       18   provide.
    19   concerning Charlottesville 1.0, correct?                19            So my answer is as truthful as I could in
    20       A I don't know if I had any documents in            20   understanding this.
    21   relation to Charlottesville 1.0.                        21       Q So you are now, under oath, affirming the
    22       Q You don't recall sending a single text            22   accuracy of the answer to Document Request No. 3?
    23   message regarding Charlottesville 1.0?                  23       A What I would say is I didn't properly
    24       A Not that I can recall.                            24   understand the question.
    25       Q You didn't post a single message anywhere         25       Q Is the answer accurate now that you



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     1                  M. HEIMBACH                               1                  M. HEIMBACH
     2   properly understand the question?                        2   that was a breakdown of communication.
     3       A I do not believe so, based on my                   3       Q Now, the -- your answer -- well --
     4   understanding. However, at the time I answered           4   withdrawn.
     5   truthfully to the best of my knowledge and ability.      5           Request No. 8 asks for all documents and
     6       Q Do you agree with me that every single             6   communications concerning the steps you have taken to
     7   one of your answers to each document request, with       7   preserve documents and communications relevant to
     8   the exception of No. 8, was: Quote, None, unless in      8   this lawsuit, including the documents and
     9   the possession of Traditionalist Worker Party itself.    9   communications responsive to these requests, right?
    10   What I would have had was involuntarily removed by      10       A Yes.
    11   Facebook, Twitter, et cetera?                           11       Q And what was your answer?
    12       A Yes.                                              12       A NA.
    13       Q And do you believe any of those responses         13       Q And what does NA mean?
    14   are accurate based on your understanding of the         14       A Not available.
    15   document requests?                                      15       Q And is it not available or not applicable
    16       A Based upon my understanding as of this            16   or what's your --
    17   moment or at the time?                                  17       A Or not applicable.
    18       Q Right now.                                        18       Q And why did you write Not Applicable?
    19       A As of right now, I would say that I               19       A To the best of my knowledge at the time,
    20   believe all of these probably have to be modified,      20   that was the proper answer.
    21   based on an increased understanding of the requested    21       Q And is that because you had not, in fact,
    22   requirements.                                           22   taken any steps to preserve documents or
    23           Again, I was relying upon counsel, who I        23   communications relevant to this lawsuit?
    24   don't necessarily believe explored these in the         24       A Well, I mean, I feel that I have at the
    25   fullness to properly represent my best interests, and   25   time. I don't know. Again, this is -- this is a


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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   moment where, honestly, I should have been               2   requested by counsel.
     3   representing myself pro se from the get-go to at         3       Q And you didn't take any steps to preserve
     4   least, perhaps, be able to better represent my           4   anything you posted on any social media account,
     5   interests. And I'd answered as truthfully as I could     5   right?
     6   at the time.                                             6       A No, the vast majority of them were
     7       Q To be clear, Mr. Heimbach, other than              7   removed by the service providers. I didn't even know
     8   putting your electronic devices in the tub, did you      8   how to start that process.
     9   take any other steps to preserve any of your             9       Q Now, are you aware that, in October of
    10   communications in this case?                            10   2018, the Plaintiffs filed a motion to get the judge
    11       A All of the communications in terms of the         11   to order you to have your electronic devices imaged?
    12   Traditionalist Worker Party system were preserved by    12       A No.
    13   Matt Parrott.                                           13           (Heimbach Deposition Exhibit No. 45
    14       Q So focusing on your efforts to preserve           14       was marked for the record.)
    15   documents, did you take any other steps to preserve     15   BY MR. BLOCH:
    16   any of your communications in this case?                16       Q I'm showing you what is marked Exhibit
    17       A I would need to know how.                         17   No. 45. Do you recognize that document?
    18       Q So is the answer, no?                             18       A It all kind of looks the same.
    19       A Yes.                                              19           Not off the top of my head, no.
    20       Q You didn't image a single electronic              20       Q And so is it your testimony that you had
    21   device, right?                                          21   no awareness in October of 2018 that Plaintiffs had
    22       A I don't know how.                                 22   filed a motion to compel you to have your devices
    23       Q Your attorney never imaged a single               23   imaged?
    24   electronic device, right?                               24       A I don't recall.
    25       A I don't believe any of my devices were            25       Q That document was never sent to you?



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     1                 M. HEIMBACH                               1                 M. HEIMBACH
     2      A     I don't recall.                                2   document?
     3           (Heimbach Deposition Exhibit No. 46             3       A No, but I just don't remember it.
     4       was marked for the record.)                         4       Q And the declaration by you says:
     5   BY MR. BLOCH:                                           5   Mr. Matthew Heimbach, having been duly cautioned,
     6       Q Mr. Heimbach, I'm showing you what's been         6   declares and states as follow. One, this declaration
     7   marked Exhibit No. 46.                                  7   is based on personal knowledge. Two, I have been
     8           Do you recognize that document?                 8   advised by my attorney the third party ESI would cost
     9       A No.                                               9   upwards of $5,000 per device. And Three, I cannot
    10       Q Is that document a declaration by you?           10   afford to pay for third-party ESI vendor examinations
    11       A Looks like.                                      11   of any electronic devices. I declare under penalty
    12       Q And is there an electronic signature of          12   of perjury the foregoing is true and correct.
    13   yours?                                                 13   Executed on October 24th, 2018.
    14       A Yes.                                             14           Did you swear to the contents of this
    15       Q And did you provide the -- did you put           15   document?
    16   that electronic signature on there?                    16       A I mean, if it's in front of me, I must
    17       A I don't recall.                                  17   have.
    18       Q Did you authorize Mr. Kolenich or                18       Q Were you advised by your attorney that
    19   Mr. Woodard to put your electronic signature on that   19   third-party ESI vendors cost upwards of $5,000 per
    20   document?                                              20   device?
    21       A I don't recall.                                  21       A Again, if I swore to it, I must have
    22       Q Have you ever seen this document before?         22   been.
    23       A I don't recall.                                  23       Q Do you recall a conversation about this
    24       Q Do you doubt that you received and gave          24   with Mr. Kolenich?
    25   authorization to swear to the contents of this         25       A No.

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     1                 M. HEIMBACH                               1                M. HEIMBACH
     2       Q You don't recall any conversation where           2   statements.
     3   Mr. Kolenich discussed with you the cost of imaging     3       Q The current phone that you had imaged,
     4   your devices?                                           4   you would agree with me didn't -- was not in your
     5       A Not as I sit here, but if I swore to it,          5   possession at the time you signed this document,
     6   then I must have.                                       6   right?
     7       Q And isn't it true, Mr. Heimbach, that at          7       A Yes, but my other phone, which was
     8   the time you swore to the accuracy of this document,    8   functioning at the time, would have been available.
     9   you, in fact, did not have any electronic devices       9       Q Were you aware, Mr. Heimbach, that the
    10   with responsive content on it?                         10   Court ordered all Defendants in November of 2018 to
    11       A Yes.                                             11   submit your electronic devices to a vendor for
    12       Q Did you tell Mr. Kolenich that imaging           12   imaging?
    13   electronic devices would be too expensive to you,      13       A I don't recall.
    14   even though you didn't, in fact, have any devices to   14           (Heimbach Deposition Exhibit No. 47
    15   be imaged?                                             15       was marked for the record.)
    16       A He knew my economic situation, which             16   BY MR. BLOCH:
    17   would make -- I mean, any expense above $50, even, a   17       Q I'm showing you, Mr. Heimbach, what's
    18   formidable challenge.                                  18   being marked Exhibit No. 47.
    19       Q But if you didn't have any electronic            19           Do you recognize this document?
    20   devices to be imaged, was there any expense            20       A I don't recognize it, but I can read it
    21   associated with imaging your devices?                  21   real quick.
    22       A Well, for instance, we just had my               22       Q Well, do you believe you were ever shown
    23   current phone imaged, and which that would have        23   or explained the contents of this document?
    24   prohibitive. So anything that would have to be done    24       A I don't recall.
    25   for the process. So this would all be accurate         25       Q Are you aware that the Court -- were you



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     1                  M. HEIMBACH                               1                  M. HEIMBACH
     2   aware in November of 2018 that the Court ordered you     2       Q You don't have any recollection of any of
     3   to submit a consent form to Discord?                     3   this happening?
     4        A I don't recall. I believe I had                   4       A I've been going through a divorce. I've
     5   submitted a form for Discord, however, prior.            5   been dealing with a whole lot of stuff outside of
     6        Q All right. We'll talk about that.                 6   this. I know this is your guys' day-to-day, but, no,
     7            Were you aware that you were ordered to         7   I really don't recall.
     8   fill out a certification in November of 2018             8       Q And prior to July 7th, 2019, do you agree
     9   attesting to all of your devices and social media        9   that you didn't produce a single document in this
    10   accounts?                                               10   case?
    11        A I don't recall.                                  11       A Yes.
    12        Q After this order was issued, you did not,        12       Q Why not?
    13   in fact, submit any devices to a vendor, right?         13       A I suppose my own ignorance in a lot of
    14        A I don't believe so.                              14   ways. I wasn't able to pay for an attorney to retain
    15        Q And the device that you had in your              15   them to defend me. I'm not trained in any sort of
    16   possession at that time with responsive documents has   16   legalese and I was -- I was ignorant as to even begin
    17   since been disposed of, right?                          17   to fulfill my obligations and had no money to even
    18        A Yes.                                             18   ask an attorney to help.
    19        Q And you did not, at that time, in                19       Q Weren't you still represented by
    20   November of 2018, fill out a certification attesting    20   Mr. Kolenich at the time you were ordered to do this,
    21   to all of your devices and social media accounts,       21   in November of 2018?
    22   right?                                                  22       A I don't know.
    23        A I don't recall.                                  23            (Heimbach Deposition Exhibit No. 49
    24        Q Why didn't you?                                  24       (49A) was marked for the record.)
    25        A I don't recall these.                            25



                                                Page 380                                                      Page 381
     1                  M. HEIMBACH                               1                  M. HEIMBACH
     2   BY MR. BLOCH:                                            2       A Looks like it.
     3       Q Mr. Heimbach, I'm showing you Exhibit              3       Q Do you recall signing this?
     4   No. 49.                                                  4       A Not off the top of my head.
     5           Do you recognize that document?                  5       Q And --
     6       A I guess. I don't recall this off the top           6       A But I do remembering submitting something
     7   of my head, but I signed it, so, yes.                    7   to Discord, so I assume this is it.
     8       Q And did you -- is this document an                 8       Q And the consent form states: I, Matt
     9   e-mail -- it's a two-page document, right?               9   Heimbach, am the sole account holder for the Discord
    10       A Yes.                                              10   account associated with the user name Heimbach and
    11       Q And it's -- the top page is an e-mail you         11   the e-mail address -- and then there's a blank --
    12   received from Mr. Kolenich on November 20th, 2018,      12   from which I am sending this e-mail.
    13   right?                                                  13            Right?
    14       A Yes.                                              14       A Yes.
    15       Q And the subject is Please Tend to                 15       Q And do you agree with me that you did
    16   Immediately?                                            16   not, in fact, have a Discord account with the user
    17       A Looks like, yeah.                                 17   name Heimbach?
    18       Q And Mr. Kolenich says: Please send the            18       A It was Matthew Heimbach, I think.
    19   attached to SCA@bsfllp.com right away, right?           19       Q Right.
    20       A Yes.                                              20       A So that would have been an error.
    21       Q And attached to that is a -- what appears         21       Q Right. And so you agree with me that you
    22   to be a Discord SCA consent, right?                     22   did not actually have a Discord account with the user
    23       A Looks like.                                       23   name Heimbach, right?
    24       Q And is that your signature at the bottom          24       A Yeah, that was a mistake.
    25   of the page?                                            25       Q And then it says, And the e-mail address,



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                                                Page 382                                                    Page 383
     1                 M. HEIMBACH                               1                  M. HEIMBACH
     2   and there's a blank, right?                             2       Q Do you recall ever receiving an e-mail
     3       A Yeah.                                             3   from the court in Charlottesville?
     4       Q And you didn't fill in the e-mail address         4       A I don't recall.
     5   where you were called to fill in the e-mail address,    5           (Heimbach Deposition Exhibit No. 48
     6   right?                                                  6       was marked for the record.)
     7       A Yeah, I thought from -- that it was just          7   BY MR. BLOCH:
     8   spaced wrongly. From which I am sending this e-mail     8       Q And I'm showing you what is being marked
     9   would have covered it. Again, confusion on my part.     9   Exhibit No. 48.
    10       Q And isn't it true that you were                  10           Do you see that, Mr. Heimbach?
    11   subsequently informed that your SCA consent for        11       A Yes.
    12   Discord was defective?                                 12       Q What is this?
    13       A I don't recall.                                  13       A It look likes an e-mail.
    14       Q And isn't it true that prior to June 3rd,        14       Q And is this an e-mail that you received?
    15   2017, you never submitted another consent form to      15       A I don't recall.
    16   Discord?                                               16       Q Do you agree with me that the To line
    17       A I don't recall.                                  17   states that it went to matthew.w.heimbach@gmail.com?
    18       Q Now, on January 28th, 2019, you received         18       A Yes, but I don't know if I ever saw it.
    19   an e-mail from the court in Charlottesville, right?    19       Q But you agree that it went to that
    20       A I don't recall.                                  20   address, right?
    21       Q Do you recall ever receiving an e-mail           21       A Looks like.
    22   from the court in Charlottesville?                     22       Q And you don't recall ever having seen
    23       A My e-mail account has so much spam and           23   this document?
    24   random nonsense filling it up, it's really hard to     24       A I don't recall.
    25   keep track.                                            25       Q Did you attend the court conference


                                                Page 384                                                    Page 385
     1                 M. HEIMBACH                               1                 M. HEIMBACH
     2   that's being discussed in this e-mail?                  2       Q    Why is that?
     3       A I don't believe so.                               3       A    Very busy 32 life.
     4       Q Do you agree with me the e-mail says:             4           (Heimbach Deposition Exhibit No. 49
     5   Ms. Tenzer or Mr. Mosley, Mr. Heimbach, Judge Hoppe     5       (49B) was marked for the record.)
     6   would like to have a conference call regarding some     6   BY MR. BLOCH
     7   outstanding discovery issues. He's available the        7       Q Mr. Heimbach, I'm showing you what's
     8   following dates and times.                              8   being marked right now as Exhibit 49.
     9           Right?                                          9       A Okay.
    10       A Yes.                                             10       Q What's your last one? If you could just
    11       Q Then there's a list of dates and times?          11   turn to entry 402.
    12       A Yes.                                             12       A That was -- oh, there we go.
    13       Q And it says: Please let me know what             13       Q Docket entry 402 reads Clerk called and
    14   works for you and I'll set up the conference call.     14   e-mailed Elliott Kline, aka Eli Mosley, and Matthew
    15           Right?                                         15   Heimbach three times regarding setting a telephonic
    16       A Yes.                                             16   hearing on a -- on an outstanding discovery issue.
    17       Q Did you respond to that?                         17   After no response from either, clerk set hearing.
    18       A I don't recall.                                  18   Clerk called and left voicemail. He mailed an e-mail
    19       Q Do you recall sending an e-mail to a             19   notice of hearing to both Defendants.
    20   court setting up a conference call?                    20           Do you see that?
    21       A I don't recall.                                  21       A Yes.
    22       Q Is e-mailing with a court setting up a           22       Q And did I read that correctly?
    23   conference call concerning your discovery issues       23       A I believe so.
    24   something that you think you'd remember?               24       Q And did you receive voicemails from the
    25       A Not necessarily.                                 25   court?



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                                                 Page 386                                                     Page 387
     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2       A I don't recall. I haven't checked my               2   right?
     3   voicemail in a very, very long time.                     3       A Yes, but I don't answer calls from
     4       Q How long?                                          4   numbers I don't know.
     5       A A very long time. I don t need to                  5       Q Are you aware there was a conference
     6   constantly hear debt collectors on how much money        6   regarding your behavior in discovery on February 8th,
     7   they want from me, or threats, or other sorts of         7   2019?
     8   things.                                                  8       A I don't recall.
     9       Q Did you receive e-mails from the court?            9       Q Did you show up to a conference on
    10       A Not that I recall.                                10   February 8th, 2019?
    11       Q Did you respond to any calls or e-mails           11       A I don't believe so.
    12   from the court?                                         12       Q Well, isn't that something you would
    13       A Not that I recall. And I believe the              13   remember?
    14   court had the wrong physical address for me.            14       A It was a year ago, man.
    15       Q What address did the court have?                  15       Q February 8th, 2019.
    16       A I'm not sure, but I don't think it was            16       A Oh, 2019. No. I don't believe I did.
    17   the correct one.                                        17       Q But you're not sure?
    18       Q Why do you think that?                            18       A I don't believe I did.
    19       A Because when I called to give them my new         19       Q From January to June of 2019, do you
    20   address, they had to change it. I gave them my PO       20   agree with me you didn't respond to any e-mails from
    21   Box.                                                    21   the Plaintiffs?
    22       Q But you agree they had the correct e-mail         22       A Sure.
    23   address, right?                                         23       Q And do you agree with me that from
    24       A Yes.                                              24   January to June 2019 you didn't respond to any
    25       Q And they had the correct phone number,            25   e-mails from the court?


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     1                 M. HEIMBACH                                1                  M. HEIMBACH
     2       A I don't recall receiving them. I'm not             2       Q And did you learn that you are under
     3   doubting that they sent them, but in the -- in the       3   threat of getting arrested if you continue to ignore
     4   scrum of junk mail, I don't recall seeing them.          4   your discovery obligations?
     5       Q Do you now -- well, you've received                5       A Indeed.
     6   e-mails from the court since June of 2019, right?        6       Q And you heard that around June 3rd,
     7       A Yes.                                               7   right, 2019?
     8       Q And you see those, right?                          8       A That sounds accurate.
     9       A Yes.                                               9       Q And on June 4th, the day after, you
    10       Q Do you respond to those when you're               10   contacted Mr. Kolenich, right?
    11   called to?                                              11       A I believe so.
    12       A I believe so.                                     12       Q By the way, what social media did you
    13       Q And --                                            13   hear this on?
    14       A I hope I haven t missed anything.                 14       A Well, it was on anti-fa Twitter accounts.
    15       Q Well, on June 3rd of 2019, there was a            15   I don't have an account, but I still check them.
    16   hearing in Charlottesville, right?                      16       Q You check anti-fa Twitter accounts?
    17       A I guess.                                          17       A Yeah.
    18       Q Well, didn't you become aware of a                18       Q But you do not check the TWP Twitter
    19   hearing that happened in Charlottesville on June 3rd,   19   account?
    20   2019 regarding your behavior?                           20       A Uh-uh.
    21       A I believe after the fact.                         21       Q Do you agree with me that it was only
    22       Q And what did you hear after the fact?             22   after you heard that you were threatened with an
    23       A That the court was less than pleased.             23   arrest that you received court e-mails and responded
    24       Q And where did you hear that?                      24   to them?
    25       A The news media.                                   25       A Well, not about receiving, but actually



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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   going back and looking. I hadn't frequently utilized     2   produce a single document in this case until you were
     3   the e-mail.                                              3   threatened with arrest?
     4       Q But you are now able to view and receive           4       A I suppose one could say that.
     5   court e-mails when you receive them, right?              5       Q Did you make a tactical decision not to
     6       A Instead of not checking my e-mail for              6   participate in discovery in this case?
     7   days at a time, now I check my e-mail every day.         7       A No. I was simply brought into a better
     8       Q And is that all that has changed, is that          8   understanding of legal process again. Being not a
     9   you now check your e-mail more frequently?               9   lawyer, it's been an overwhelming situation.
    10       A Primarily, yes.                                   10       Q How did you come to a better
    11       Q Well, you say primarily. Is there                 11   understanding of your obligations?
    12   anything else?                                          12       A Well, primarily over the last month and a
    13       A Not that I can think of.                          13   half from speaking with you directly and working to
    14       Q Did you change any settings in your               14   fulfill my discovery obligations in a timely manner.
    15   e-mail account?                                         15       Q Did you tell Mr. Kolenich that you had
    16       A In terms of unsubscribing from a bunch of         16   made a, quote, tactical decision that you would
    17   the junk mail that fills up the account.                17   rather take a default than participate in discovery
    18       Q Did you do that?                                  18   in this case?
    19       A Yeah.                                             19       A I don't recall.
    20       Q Did you change any e-mail settings?               20       Q You never told Mr. Kolenich that?
    21       A Well, I would consider that changing what         21       A I didn't say that. I said I didn't
    22   I was getting, marking things that were spam as spam    22   recall.
    23   so they'd be filtered properly instead of just          23       Q So you might have told Mr. Kolenich that?
    24   ignoring them.                                          24       A Potentially.
    25       Q You agree, Mr. Heimbach, that you didn't          25       Q Well, did you make a tactical decision

                                                 Page 392                                                     Page 393
     1                 M. HEIMBACH                                1                M. HEIMBACH
     2   that you would rather take a default than participate    2       Q Is what Mr. Kolenich said true?
     3   in discovery in this case?                               3       A I can't recall an exact conversation
     4        A More of I was just overwhelmed with a             4   where I said that.
     5   variety of other factors and wasn't seeing the           5       Q You don't recall ever having -- saying --
     6   e-mails.                                                 6   withdrawn.
     7            (Heimbach Deposition Exhibit No. 50             7          You don't recall ever having said
     8        was marked for the record.)                         8   anything to Mr. Kolenich that would lead him to that
     9   BY MR. BLOCH                                             9   conclusion?
    10        Q I'm showing you, Mr. Heimbach, what's            10       A No. If anything, during conversations
    11   been marked as Exhibit 50 in this case.                 11   and overall assessment of how I was outgunned,
    12            Do you see that?                               12   metaphorically, in these endeavors and not knowing
    13        A Yup.                                             13   how to proceed, not being a lawyer, and not even
    14        Q Does that appear to be a transcript of a         14   knowing how to start, he might have drawn that
    15   court proceeding on June 3rd, 2019?                     15   inference. I don't recall an exact conversation,
    16        A Looks like.                                      16   however.
    17        Q And if you could turn to page 24.                17          (Heimbach Deposition Exhibit No. 51
    18        A Okay.                                            18       was marked for the record.)
    19        Q On line 14, do you see where it says             19   BY MR. BLOCH
    20            Mr. Kolenich I can reach Heimbach but          20       Q Mr. Kolenich [sic], I'm showing you
    21   he will not participate. He has made a tactical         21   what's been marked as Exhibit No. 51.
    22   decision that he would rather just take a default and   22       A Yes.
    23   let that happen.                                        23       Q Do you have that in front of you?
    24            Do you see that?                               24       A I do.
    25        A Yes.                                             25       Q Do you recognize that document?



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     1                 M. HEIMBACH                                1                   M. HEIMBACH
     2        A I wrote it.                                       2       A     Yeah.
     3        Q So do you recognize it?                           3       Q     Is that it?
     4        A I do.                                             4       A     I'll read it real quick.
     5        Q You stated, Mr. Heimbach, on page -- if I         5            No. That would have been one of the
     6   could direct your attention to page six of 12, in the    6   other dozen documents I sent you, I believe.
     7   fifth paragraph down?                                    7       Q So you believe that you have produced
     8        A Okay.                                             8   that document, right?
     9        Q You wrote: Quote, As Respondent Heimbach          9       A I believe so.
    10   wrote in a private Traditionalist Worker Party e-mail   10       Q And when do you believe you produced that
    11   prior to the event proposing our, quote, cultural       11   document?
    12   genocide through the removal of our monuments and       12       A When I sent you all the other documents.
    13   flags.                                                  13       Q And the documents -- well, withdrawn.
    14        A Uh-huh.                                          14            You were quoting from the actual document
    15        Q Where is that e-mail that you refer to in        15   itself that you believe you already produced in this
    16   that document?                                          16   case, right, where it says cultural genocide through
    17        A I think it's the one from earlier.               17   the removal of our monuments and flags?
    18        Q You think that you've produced that              18       A Yes.
    19   document to us in this case?                            19       Q And the documents that I recall you
    20        A I believe so. If you want to go back, we         20   sending were PDFs and Word documents, right?
    21   can look at it.                                         21       A I believe so, yes.
    22        Q Well, we'll check that, but where did you        22       Q Isn't it true, you didn't send --
    23   find that e-mail?                                       23   withdrawn.
    24        A Google Docs.                                     24            You didn't produce a single document that
    25        Q And is -- well -- do you have it?                25   appears to have been written in a private

                                                 Page 396                                                     Page 397
     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   Traditionalist Worker Party e-mail, right?               2       Q Do you actually have a copy of the
     3       A Well, that would have gone through Matt            3   document being sent through the Traditionalist Worker
     4   Parrott, to be sent out and distributed. I would         4   Party e-mail system?
     5   only have the rough drafts.                              5       A I'm sure we can get if from Mr. Parrott.
     6       Q Well, how do you know that one of the              6       Q But my question is: Do you have a copy
     7   documents that you say you produced was sent out over    7   of that e-mail?
     8   e-mail?                                                  8       A No. I would need to get it from my
     9       A I believe that it was.                             9   co-defendant.
    10       Q Based on what?                                    10       Q Your testimony is that, if it exists, you
    11       A Based on Matt Parrott sent out e-mails            11   believe the most likely place to find it is with
    12   prior to the event.                                     12   Mr. Parrott, right?
    13       Q Do you have a recollection as you sit             13       A Yes.
    14   here today of one of the documents you sent to me       14       Q And that's the extent to which you can
    15   being sent out over e-mail?                             15   testify about whether or not that was sent out over
    16       A I believe so.                                     16   e-mail, right?
    17       Q Is that because you have a recollection           17       A Yes.
    18   in your mind right now of a particular Traditionalist   18       Q You stated, Mr. Heimbach -- again, I'm on
    19   Worker Party e-mail?                                    19   page six of 12, and now I'm at the last full
    20       A Well, yeah, I had the rough draft.                20   paragraph: Respondent Heimbach specifically
    21       Q And it's just based on your recollection          21   instructed members of the Traditionalist Worker Party
    22   that the rough draft of one of the documents you say    22   to not attend the August 11th event because it was
    23   you sent us was sent out over the e-mail system,        23   not a permitted rally.
    24   right?                                                  24       A Yes.
    25       A I believe it was sent out, yes.                   25       Q Right?



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                                                 Page 398                                                     Page 399
     1                 M. HEIMBACH                                1                  M. HEIMBACH
     2           In what manner did you convey that               2   August 11th event?
     3   instruction?                                             3        A I don't recall.
     4       A To those that were at the cabin that we            4        Q So, is the answer -- well, do you recall
     5   were at, I told people not to go and to let anyone       5   a document that specifically instructs members of the
     6   else that they knew not to go.                           6   TWP to not attend the August 11th event?
     7       Q And when you say you were at the cabin,            7        A I just remember saying it verbally.
     8   what cabin are you talking about?                        8        Q And that was on August 11th?
     9       A The private cabin we had rented for the            9        A Yes.
    10   weekend.                                                10        Q What time did you get to that cabin?
    11       Q And when you say the weekend, you mean            11        A I don't know. It was evening.
    12   August 11th and 12th?                                   12   Dinnertime.
    13       A Yes.                                              13        Q And so the first time -- withdrawn.
    14       Q So you're saying that when you were at a          14            The only time you instructed members of
    15   cabin on Friday night, August 11th, you told the        15   the TWP not to go to the August 11th event was in the
    16   people who were at that cabin they should not go to     16   evening of August 11th, right?
    17   the torch march, right?                                 17        A Well, I don't believe anyone knew about
    18       A Yes, and to notify anyone else they knew          18   it prior to that, necessarily, but I believe
    19   not to attend.                                          19   Mr. Parrott had a potentially informed them through
    20       Q Was there any other manner in which you           20   other means.
    21   instructed members of TWP not to attend the             21        Q What makes you believe that?
    22   August 11th rally?                                      22        A Because he was always on top of things
    23       A I don't recall.                                   23   and he agreed with me, in our conversations earlier
    24       Q Are you aware of a document where you             24   in the day, that we shouldn't attend that event.
    25   instructed members of TWP not to attend the             25        Q Have you seen a document from anybody,


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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2   including Mr. Parrott, instructing members of TWP not    2   nine of 12, and if you go to the third full paragraph
     3   to attend the August 11th torch light march?             3   from the bottom?
     4       A No, but I know my own conversations I              4        A Uh-huh.
     5   had.                                                     5        Q You state: Respondent Heimbach and the
     6       Q And are you saying you were not aware of           6   Traditionalist Worker Party developed their own plan
     7   the torch light march prior to August 11thth?            7   for the event, ignoring Eli Mosley, Richard Spencer
     8       A I believe I had heard some rumblings, but          8   and others.
     9   I don't believe I had known that it wasn't going to      9           Right?
    10   be a permanent event until that day.                    10        A Yes.
    11       Q You didn't know until August 11th that            11        Q Was this a written plan?
    12   the torch light march was actually happening on         12        A Not that I can recall. We just blew them
    13   August 11th; is that right?                             13   off.
    14       A No, that it wasn't permitted.                     14        Q So when you say TWP developed their own
    15       Q Permitted.                                        15   plan for the event, you're saying the plan was just
    16           When did you learn about the August 11th        16   to blow them off?
    17   torch light march?                                      17        A Well, and to contact the Charlottesville
    18       A I can't recall. I wasn't really on                18   Police Department to let them know that we were going
    19   speaking terms with the identity or the click that      19   to be parking right near where the courthouse and
    20   were the ones organizing that.                          20   police station was, and got their approval for that.
    21       Q You were not on speaking terms with Eli           21        Q Did you contact the Charlottesville
    22   Kline?                                                  22   Police Department?
    23       A Not really, or Jason Kessler, for the             23        A I believe so, yes.
    24   most part.                                              24        Q In what format?
    25       Q You stated -- if you could go to page             25        A Phone.



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     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2        Q You called the Charlottesville Police             2   one need to park at a Jo-Ann's Fabric, drive to the
     3   Department?                                              3   police station parking lot, and then go to a
     4        A Yeah, there was a sergeant, I think, who          4   permitted rally. You don't have to be Sun Tzu to
     5   was in charge of organizing things. And I believe        5   figure that out.
     6   Mr. Parrott did, as well.                                6       Q And that's all you did to plan for Unite
     7        Q And what is the name of the sergeant who          7   the Right; is that right?
     8   you spoke to?                                            8       A In terms of what?
     9        A I don't know, man. I'm sure, looking at           9       Q That you have just described the extent
    10   the call logs, we could figure it out.                  10   of your planning for the Unite the Right event?
    11        Q You don't have a document that                   11       A I mean, in terms of a -- an overview. I
    12   demonstrates any communication with the                 12   know Mr. Parrott, to the best of my knowledge, I know
    13   Charlottesville Police Department, do you?              13   worked to communicate more than I did with CPD.
    14        A I mean, besides phone records that we can        14       Q And you know that because he told you
    15   get.                                                    15   that at some point?
    16        Q Have you seen any phone records that show        16       A Yes.
    17   communication with the Charlottesville Police           17       Q When did he tell you that?
    18   Department?                                             18       A In the lead-up to the event.
    19        A Well, no, but I know I was on the phone,         19       Q On that same page, you say -- well, I'm
    20   so they have to exist.                                  20   sorry. I'm at the fifth full paragraph from the
    21        Q But to be clear, the plan that you               21   bottom.
    22   discuss in that motion to dismiss was not written       22       A Okay.
    23   down anywhere?                                          23       Q It starts with Fact 71.
    24        A Not that I can recall. I mean, honestly,         24            You say: While Respondent Heimbach was
    25   like how much of a written-out document or plan does    25   involved in that Discord chat and had initially


                                                Page 404                                                      Page 405
     1                 M. HEIMBACH                                1                   M. HEIMBACH
     2   participated in it, Respondent Heimbach withdrew from    2   the last two weeks or so.
     3   active participation before the rally.                   3        Q In the last two weeks prior to the Unite
     4       A Yes.                                               4   the Right event, you did not participate on Discord?
     5       Q What did you mean, withdrew from active            5        A Well, on Discord, but not on that
     6   participation?                                           6   Discord, to the best of my knowledge.
     7       A I mean, essentially, the other groups              7        Q What is that Discord?
     8   were trying to come up with a plan, but all of them      8        A Well, like their server.
     9   were seemingly very inexperienced and not coming         9        Q Whose server?
    10   together with very good ideas.                          10        A The server that was set up by whoever did
    11           I mean, I've organized plenty of rallies.       11   it, either -- Jason Kessler, whoever organized the
    12   So that's why we realized that their plan to park at    12   Charlottesville Discord.
    13   one park and shuttle a van in was inefficient and       13        Q Are you talking about the Charlottesville
    14   potentially dangerous. So that's why we came up with    14   2.0 server?
    15   a different plan. I didn't -- I wasn't going to ask     15        A Yes.
    16   their permission, because it was a permitted rally,     16        Q And you're saying you did not post on the
    17   so we just came up with our own plan.                   17   Charlottesville 2.0 server two weeks prior to Unite
    18       Q So my question was: What did you mean,            18   the Right?
    19   "withdrew from active participation" from Discord?      19        A To the best of my knowledge, that seems
    20       A I stopped talking in chat and they had            20   like an accurate time line. And I only participated
    21   Discord calls that I was invited to that I didn't       21   in, I believe, one of the many calls that they
    22   participate in.                                         22   organized to try and come up with a plan, because
    23       Q And when did you -- in your words --              23   their plan was foolhardy and dangerous.
    24   withdraw from active participation in Discord?          24        Q The -- when you say their -- participate
    25       A Probably in the weeks leading up. Maybe           25   in their calls, are you referring to the Leadership



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     1                M. HEIMBACH                                 1                 M. HEIMBACH
     2   Channel on Discord?                                      2   chairman.
     3      A Yes.                                                3       Q So is the answer to that, yes?
     4      Q And you were, at some point, were a                 4       A If you say they posted it, that makes
     5   member of the Leadership Channel on Discord?             5   sense.
     6      A I believe so, yeah.                                 6           (Heimbach Deposition Exhibit No. 52
     7          MR. BLOCH: Let's take a                           7       was marked for the record.)
     8      three-minute break.                                   8   BY MR. BLOCH
     9          THE WITNESS: Three minutes. I can                 9       Q If I could show you what's been marked
    10      get more water.                                      10   Exhibit 52.
    11          THE VIDEOGRAPHER: Going off the                  11           Do you recognize that, Mr. Heimbach?
    12      record.                                              12       A Yeah, vaguely.
    13          (Proceedings recessed at 4:17 p m.)              13       Q That's the TWP VK account, right?
    14               (Brief pause.)                              14       A Okay. Yeah.
    15          THE VIDEOGRAPHER: We're on back on               15       Q Isn't it?
    16      record. The time is 4:23 p m.                        16       A Yeah.
    17   BY MR. BLOCH:                                           17       Q And the TWP VK account posted an article
    18      Q Mr. Heimbach, you testified earlier that           18   by you on November 6th, 2017, right?
    19   you were not aware that TWP had a VK account, right?    19       A Sure.
    20      A I don't recall it.                                 20       Q And is it still your testimony that you
    21      Q You don't recall the account, right?               21   weren't even aware that TWP had a VK account?
    22      A No.                                                22       A I mean, I can't recall it.
    23      Q And isn't it true, Mr. Heimbach, that the          23       Q Isn't it true, Mr. Heimbach, that you
    24   VK account, in fact, posted articles that you wrote?    24   were, in fact, one of the contacts for the VK TWP
    25      A Well, that makes sense. I was the                  25   account?

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     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2        A If it was on VK, I was almost never on            2       A Yes, which isn't even the right title.
     3   the service, so that would have been rather              3       Q And how does one become a contact for the
     4   unreliable.                                              4   VK account?
     5        Q I'm sorry. Can you explain that?                  5       A I don't know.
     6        A All right. VK is a horrible platform.             6       Q What does it mean to be a contact?
     7   It's incredibly buggy and garbage and not good, so I     7       A I don't know.
     8   never really used it.                                    8       Q Doesn't it mean you have to at least have
     9        Q Well, my question was: Weren't you one            9   credentials to the VK account?
    10   of the contacts for TWP listed on the TWP VK account?   10       A I don't know.
    11        A You would know better than me.                   11       Q Is there also on that VK account two
    12        Q Well, do you recall that?                        12   speeches by you?
    13        A I don't.                                         13       A Yes.
    14            (Heimbach Deposition Exhibit No. 53            14       Q And one is the Matthew Heimbach St.
    15        was marked for the record.)                        15   Paddy's Day speech, right?
    16   BY MR. BLOCH:                                           16       A Uh-huh.
    17        Q If I could show you Exhibit 53.                  17       Q And the other is the hash tag Death to
    18            Is that the TWP VK account?                    18   America, Matthew Heimbach speech, right?
    19        A Looks like.                                      19       A Uh-huh.
    20        Q And does it list two contacts?                   20       Q And how did those get on the VK account?
    21        A Yes.                                             21       A Can't recall.
    22        Q And who are the two contacts?                    22       Q You don't have any idea?
    23        A Matthew Parrott and myself.                      23       A No, I mean those were posted on YouTube,
    24        Q And are you listed as the chief executive        24   so whoever was an admin, I believe, could have just
    25   officer?                                                25   put the YouTube link in and uploaded them.



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     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2       Q Did you post those to the VK account?              2   being uploaded.
     3       A Not that I can recall.                             3           Right?
     4       Q Who was the admin?                                 4       A Uh-huh.
     5       A I don't know. I mean, all of these --              5       Q And you responded The episode?
     6   those two speeches were from 2014. So -- and that        6   @ghostofthevulk?
     7   was a long time ago.                                     7           Right?
     8       Q You also testified that you didn't have            8       A Uh-huh.
     9   familiarity with the YouTube account or the              9       Q And you wrote that on February 4th, 2018?
    10   tradworker.org website; is that right?                  10       A Yes.
    11       A Yeah, in terms of running them.                   11       Q And below that you wrote, on
    12       Q So is it your testimony that you didn't           12   February 4th, 2018 It will be on TRS, our YouTube
    13   know what content was on those accounts?                13   and our website.
    14       A I don't recall everything that was                14           Right?
    15   posted.                                                 15       A Yup.
    16           (Heimbach Deposition Exhibit No. 54             16       Q How did you know that the episode was
    17       was marked for the record.)                         17   going to be in those places if you didn't have any
    18   BY MR. BLOCH:                                           18   real familiarity with what content got posted to
    19       Q I'm showing you Exhibit 54.                       19   those accounts?
    20           Is that a Discord post that includes            20       A Well, that was handled by Tony Hovater, I
    21   posts on Discord by you?                                21   believe, in terms of for TRS. That's where the show
    22       A Yes.                                              22   was hosted. So he handled that.
    23       Q And at the top, somebody with the screen          23           And generally content, I believe, would
    24   name ghostofthevolk wrote on Discord, on                24   be handled by other people to upload it. I couldn't
    25   February 4th, 2018: @MatthewHeimbach, where is that     25   upload a podcast to a website to save my life.

                                                 Page 412                                                    Page 413
     1                 M. HEIMBACH                                1                 M. HEIMBACH
     2       Q And that's because you don't have the              2       Q -- when it comes to technology and
     3   technical wherewithal to do that?                        3   computer issues, right?
     4       A Well, essentially.                                 4       A I hate them so much, passionately.
     5       Q My question was: How did you know that             5       Q And what does a Luddite mean?
     6   that content would be posted to those TWP accounts if    6       A Oh, I mean, Luddites opposed
     7   you weren't the person that was dealing with those       7   technological advances that were, I mean, replacing
     8   accounts?                                                8   them in terms of jobs, but just in a more colloquial
     9       A Delegation. Other people have jobs. I              9   term, someone that doesn't particularly like
    10   don't know how to mix a podcast, but I know Tony        10   technology.
    11   Hovater was going to upload it to TRS. It's a           11       Q And that's how you would describe
    12   logical inference.                                      12   yourself, right?
    13       Q And you testified that you didn't really          13       A Essentially, yes.
    14   deal with the TWP e-mail system; is that right?         14       Q Do you know how to write computer code?
    15       A Yes.                                              15       A No.
    16       Q And that's because -- and you testified           16           (Heimbach Deposition Exhibit No. 55
    17   that Mr. Parrott dealt with that, right?                17       was marked for the record.)
    18       A Uh-huh.                                           18   BY MR. BLOCH
    19       Q And is that -- do I understand you                19       Q If I could show you Exhibit 20 --
    20   correctly, that's because you didn't have the           20   sorry -- 55, and is that a set of Discord posts?
    21   technical expertise to deal with that?                  21       A Yes.
    22       A Well, just also time.                             22       Q And the top post is a post by you on
    23       Q Okay. But I think you described yourself          23   August 4th, 2017, right?
    24   as a Luddite --                                         24       A Uh-huh.
    25       A Essentially.                                      25       Q And that would be seven days before the



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                                                 Page 414                                                    Page 415
     1                  M. HEIMBACH                               1                  M. HEIMBACH
     2   torch light march?                                       2      A     Probably.
     3        A Yes.                                              3      Q     If I could play Exhibit 1 from 3.15 to
     4        Q And you wrote: Quote, Everyone check              4   4.17.
     5   your e-mail again. If there's another problem, I'm       5           Podcast Recording Played
     6   breaking out the vodka and going back into the lines     6           (Welcome to Weimerica. So just
     7   of code.                                                 7       something that I think is really
     8            Right?                                          8       interesting is we are being sued, but not
     9        A Uh-huh. Well, that just means going to            9       only are we being sued. Let's see, the
    10   hang out with Matt Parrott's house and kind of poke     10       Pennsylvania Light Foot Militia, New York
    11   him with a stick to get stuff down.                     11       Light Foot Militia, Virginia Minutemen
    12        Q I see. so when you wrote, I'm going to           12       Militia, American Freedom Keepers,
    13   break into the lines of code, you meant you were        13       American Warrior Revolution, Red Neck
    14   going to go to Matt Parrott's house and poke him with   14       Revolt, Socialist Rifle Association,
    15   a stick?                                                15       Traditionalist Worker Party, Vanguard
    16        A Essentially. I wish I could write code.          16       America, and League of the South, Inc.,
    17   I really, really do.                                    17       National Socialist Movement, Jason
    18        Q Mr. Heimbach, have you ever referred to          18       Kessler, Elliott Kline, Christian
    19   the lawyers in the lawsuits against you related to      19       Yingling, and George Curbelo, Francis
    20   Charlottesville as, quote, fucking kikes?               20       Marion, Ace Baker (phonetic), Matthew
    21        A Probably.                                        21       Heimbach, Cesar Hess, Spencer Borum, Mike
    22        Q And did you, in fact, refer to the               22       Tubbs, and Jeff Schoep are all being sued
    23   lawyers related to the Charlottesville lawsuits as      23       by -- by a lot of fucking kikes.
    24   fucking kikes on the Daily Traditionalist podcast on    24           Pardon me. This is a family
    25   October 12th, 2017?                                     25       friendly show, but there's really not

                                                 Page 416                                                    Page 417
     1                  M. HEIMBACH                               1                  M. HEIMBACH
     2       much else I can say, but by the City of              2       Q I'm sorry.
     3       Charlottesville and a lot of individuals             3       A I mean, it's not bad. Not a bad line.
     4       associated with that.                                4       Q Did you also say: They have the gall --
     5           And who is leading the legal team                5   or the hutzpah, as their Yiddish leaders would say --
     6       in this lawsuit? You know, a bunch of                6   to sue us for defending ourselves because they got
     7       Jews. I didn t think that was going to               7   their asses whooped. This is absolute clown world.
     8       surprise me anyone.)                                 8   I hate this country and there's absolutely no amount
     9   BY MR. BLOCH                                             9   of justice in it. The fact that a single one of our
    10       Q Is that your voice, Mr. Heimbach?                 10   comrades, from Christopher Cantwell on down, is in
    11       A Uh-huh.                                           11   prison is absolute nonsense and shows that this is a
    12       Q And did you refer to the lawyers that are         12   Jewish-run Satanic system.
    13   suing you in this case as fucking kikes?                13           The justice system Lady Liberty and Lady
    14       A I did.                                            14   Justice and all the ladies that are used to symbolize
    15       Q And what does fucking kike mean?                  15   America should just have giant Talmuds in their hands
    16       A The fucking would be kind of a -- you             16   because that's the only law that seems to matter.
    17   know -- not a very nice person, and kike would be a     17           Do you say that?
    18   slur for Jews.                                          18       A I hope I did. That's a pretty good line.
    19       Q And did you also say, why don t you just          19       Q Did you say that?
    20   sue us in Israel, you filthy Yids? Why don't you        20       A Probably.
    21   just do that, because obviously American law doesn't    21       Q Let's just play it, to be sure.
    22   matter. Anglo-Saxon common law doesn't matter           22           Podcast Recording Played:
    23   anymore.                                                23           (You used it as a justification for
    24           Did you say that?                               24       physical violence, and then they decide
    25       A Yeah, probably. It's not bad.                     25       to have the gall, the hutzpah -- as their



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     1                  M. HEIMBACH                               1                 M. HEIMBACH
     2       Yiddish leaders would say -- to sue us               2      Q      And that -- withdrawn.
     3       for defending ourselves because they got             3           What's the Talmud?
     4       their asses whooped. This is absolute                4       A A collection of rabbinical writings,
     5       clown world. I hate this country and                 5   after the destruction of the temple, that essentially
     6       there is absolutely no amount of justice             6   governs Jewish society and Jewish law.
     7       in it. There is no justice in America                7       Q And why is it significant to you that
     8       right now. The fact that a single one of             8   Jewish people are suing you?
     9       our comrades, from Christopher Cantwell              9       A Racial animus against my people.
    10       on down, is in prison is absolute                   10       Q And do you believe that there's something
    11       nonsense. It shows this is really a                 11   illegitimate about this lawsuit because Jewish people
    12       Jewish-run Satanic system. And there's              12   are suing you?
    13       no justice. The justice system is --                13       A Well, I think, based on the statements of
    14       might as well, you know, Lady Liberty and           14   Ms. Roberta Kaplan, that she's being driven both
    15       Lady Justice, and all the ladies that               15   politically and ethnically/religiously by her
    16       symbolize American, should just have                16   background and her economic and social privilege that
    17       giant Talmuds in their hand because                 17   the members of the law firm come from to advance her
    18       that's the only law that seems to                   18   cause, yeah.
    19       matter.)                                            19       Q So my question is: Is there something to
    20    BY MR. BLOCH                                           20   you that is not legitimate about the lawsuit that
    21       Q Was that your -- I just played Exhibit 1          21   you're a Defendant in?
    22    from 11.44 to 12.27.                                   22       A Oh, I mean, let's not even talk about the
    23       A Uh-huh.                                           23   lawsuit. Let's just talk about, like, the entire
    24       Q Was that you, Mr. Heimbach?                       24   American legal system.
    25       A Yeah, and I stand by that comment.                25       Q My question is about this lawsuit.


                                                Page 420                                                     Page 421
     1                 M. HEIMBACH                                1              M. HEIMBACH
     2        A Yeah, I mean, fundamentally, this, in my          2        Does anybody on the phone have
     3   opinion, is a Nuremberg trial style kangaroo court,      3    questions?
     4   where it's already been decided long -- long before,     4        MR. KOLENICH Jim Kolenich. No
     5   because you guys have the money, the power, the media    5    questions.
     6   connections and all the abilities to levy those          6        MR. BLOCH I'm sorry,
     7   against constitution-abiding Americans, so yeah.         7    Mr. Kolenich. Did you say no questions?
     8        Q And is that why you have thus far refused         8        MR. KOLENICH Yes, sir.
     9   to participate in discovery?                             9        MR. BLOCH Mr. DiNucci,
    10        A No, I just haven't really known or               10    Mr. Campbell? Are you guys still on the
    11   understood how to do so.                                11    phone?
    12            Because, the thing is, Mr. Bloch,              12        MR. KOLENICH Mr. Campbell had to
    13   respectfully, I'm really looking forward to the         13    leave. I don't know about Mr. DiNucci.
    14   trial, because I believe that myself and my             14        MR. BLOCH Thanks. The only thing
    15   co-defendants are so painfully innocent, when the       15    we have is we wanted -- we marked two
    16   light of day is able to be exposed on everything,       16    exhibits the same. We marked the Docket
    17   while people might disagree with our political views,   17    Exhibit 49, and we also marked the
    18   we didn't do anything wrong. We didn't conspire. I      18    November 20th e-mail with the SEA consent
    19   mean, the far right can barely organize a barbecue      19    Exhibit 49.
    20   let alone a conspiracy. And truth is going to,          20        Can we go off the record for two
    21   hopefully, win the day.                                 21    minutes.
    22            So yeah. I'm looking forward to this           22        THE VIDEOGRAPHER Going off the
    23   process.                                                23    record. The time is 4 39.
    24            MR. BLOCH: I have no further                   24        (Discussion held off the record.)
    25        questions.                                         25        MR. BLOCH So back on the record.



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     1                M. HEIMBACH                                     1               M. HEIMBACH
     2          I am marking the Kolenich e-mail to                   2                _____________________________
     3      Mr. Heimbach from 11/20/2018 that                                          MICHAEL HEIMBACH
     4      contains the Discord consent -- I'm going                 3   Subscribed and sworn to before me
     5      to mark that Exhibit No. 49A.                             4   this_____ day of_________________, 2019.
     6          And the docket, which was also
                                                                      5   _______________________________________
                                                                      6
     7      erroneously marked Exhibit 49, I am going
                                                                      7
     8      to mark Exhibit 49B.                                      8
     9          And my hope is that it's clear from                   9
    10      context of the testimony which exhibit                   10
    11      was being referred to.                                   11
    12          And I believe that's it.                             12
    13          MR. KOLENICH This concludes the                      13
    14      deposition of Matthew Heimbach. The time                 14
    15      is 4 43 p.m.                                             15
    16
                                                                     16
    17         (Thereupon, the deposition was                        17
    18      concluded at approximately 4 43 p.m.)                    18
    19                                                               19
    20                                                               20
    21                                                               21
    22                                                               22
    23                                                               23
    24                                                               24
    25                                                               25



                                                          Page 424                                              Page 425
     1                                                                1
     2             DISCLOSURE
     3
                                                                      2           CERTIFICATE
     4   STATE OF TENNESSEE ) DEPOSITION OF:                          3
     5                                                                4   STATE OF TENNESSEE
     6   KNOX COUNTY            ) MICHAEL HEIMBACH
     7
                                                                      5   KNOX COUNTY
     8      Pursuant to Article 8.B of the Rules and                  6
         Regulations of the Board of Court Reporting of the           7         I hereby certify that the foregoing
     9   Judicial Council of Georgia, I make the following
         disclosure:
                                                                      8     deposition was reported, as stated in the
    10                                                                9     caption, and the questions and answers
            I am a Georgia Certified Court Reporter. I am
    11   here as a representative of TSG Reporting.
                                                                     10     thereto were reduced to written page
    12      TSG Reporting was contacted by the offices of            11     under my direction, that the preceding
         Kaplan, Hecker & Fink, LLP to provide court reporting       12     pages represent a true and correct
    13   services for this deposition. TSG Reporting will not
         be taking this deposition under any contract that is
                                                                     13     transcript of the evidence given by said
    14   prohibited by O.C.G.A. 15-14-37 (a) and (b).                14     witness.
    15      TSG Reporting has no contract or agreement to            15         I further certify that I am not of
         provide court reporting services with any party to
    16   the case, or any reporter or reporting agency from
                                                                     16     kin or counsel to the parties in the
         whom a referral might have been made to cover the           17     case, am not in the regular employ of
    17   deposition.
    18      TSG Reporting will charge its usual and
                                                                     18     counsel for any of said parties, nor am I
         customary rates to all parties in the case, and a           19     in any way financially interested in the
    19   financial discount will not be given to any party in        20     result of said case.
         this litigation.
    20
                                                                     21         Dated this 13th day of August,
    21                                                               22     2019.
    22
                                                                     23
    23              ______________________________
                    Tanya L. Verhoven-Page,
                                                                     24              _______________________________
    24              Certified Court Reporter,                                        Tanya L. Verhoven-Page,
                    B-1790.
    25
                                                                     25              Certified Court Reporter,



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     1
     2         ERRATA SHEET FOR THE TRANSCRIPT OF:
     3   Case Name:        Sines, et al. v. Kessler, et al.
     4   Dep. Date:       August 9, 2019
     5   Deponent:        Michael Heimbach
     6               CORRECTIONS
     7   Pg. Ln. Now Reads         Should Read Reason
     8   _____ _____ _______________ ______________ __________
     9   Pg. Ln. Now Reads         Should Read Reason
    10   _____ _____ _______________ ______________ __________
    11   Pg. Ln. Now Reads         Should Read Reason
    12   _____ _____ _______________ ______________ __________
    13   Pg. Ln. Now Reads         Should Read Reason
    14   _____ _____ _______________ ______________ __________
    15   Pg. Ln. Now Reads         Should Read Reason
    16   _____ _____ _______________ ______________ __________
    17   Pg. Ln. Now Reads         Should Read Reason
    18   _____ _____ _______________ ______________ __________
    19   Pg. Ln. Now Reads         Should Read Reason
    20   _____ _____ _______________ ______________ __________
    21                 ______________________________
                       Signature of Deponent
    22   SUBSCRIBED AND SWORN BEFORE ME
    23   This the_____ day of_________________, 2019.
    24   _______________________________
    25   (Notary Public) My Commission Expires:__________




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